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                        In The Matter Of:
                   R. Alexander Acosta, et al. vs.
                   WPN Corporation, and et al.




                           Dennis Halpin
                         September 27, 2017




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 1            PROCEEDINGS                                             1   A. I went through documents that I had had
 2                  -----                                             2   before and spent a portion of a day working with
 3               DENNIS HALPIN                                        3   Mike with the prep.
 4   a Defendant herein, having been first duly sworn,                4   Q. Okay. Well, let me ask you, going back in
 5   was examined and testified as follows:                           5   time to the time that this lawsuit is concerned with
 6                  -----                                             6   in 2008 and 2009, can you tell me, how did you
 7               EXAMINATION                                          7   become a member of the retirement committee?
 8   BY MR. STRAWN:                                                   8   A. Michael DiClemente, at some point in time,
 9   Q. Mr. Halpin, let me reintroduce myself for the                 9   invited me to become a member of the committee.
10   record. My name is John Strawn. I'm the attorney                10   Q. Okay. Do you recall when?
11   for the Department of Labor. I'll ask you questions             11   A. I'm going to say -- I'm going to say spring
12   today about the lawsuit we filed against a number of            12   of 2007. Somewhere around that time.
13   defendants, including yourself, back on October                 13   Q. All right. Let me show you a document that
14   31st, 2014.                                                     14   we'll get marked as Halpin 1.
15            I know Mike has prepared you and given                 15          (Halpin Deposition Exhibit No. 1 was
16   you ground rules, but let me just go over a few                 16   marked for identification.)
17   more. If you don't hear a question that I ask, just             17          (Witness reviews document.)
18   tell me, I'll repeat it. If you don't understand a              18   Q. Mr. Halpin, this looks like an e-mail. This
19   question that I ask, just ask me, and I'll rephrase             19   is from Michael DiClemente to Dennis Halpin, David
20   it.                                                             20   Luptak, Paul Mooney and Greg Pilewicz, July 28th,
21   A. Okay.                                                        21   2008. Does this indicate that you were on the
22   Q. If you need a break, just let us now. For                    22   retirement committee in July of 2008?
23   our court reporter, Connie's sake, you have to give             23   A. I was.
24   verbal answers, so no nodding or shaking of the                 24   Q. Okay. And let me refer you to the second
25   head, you have to say yes or no; and uh-huh and                 25   page, last paragraph, where it says "Transition to


                                                            Page 6                                                               Page 8

 1   huh-uh also don't look good on the transcript.                   1   Severstal"?
 2   A. I may slip on that.                                           2   A. Uh-huh. Sorry, yes.
 3   Q. If you know what your answer is, wait until I                 3            That's one for me.
 4   finish asking the question just so we're not talking             4   Q. Very good. That last paragraph's got --
 5   over each other on the transcript.                               5   let's see here -- "Unless advised otherwise, we
 6   A. Okay.                                                         6   should initiate discussions with Severstal regarding
 7   Q. I'm trying to think if there's anything else.                 7   a transition of responsibilities for this activity,
 8   Is there any circumstance today that would prevent               8   including determining how the 401(k) plan fits
 9   you from understanding my questions and giving                   9   within the future benefit program."
10   accurate answers?                                               10            I guess first question is: Has
11   A. No.                                                          11   Severstal acquired Wheeling-Pitt at that point?
12   Q. Okay. Mr. Halpin, could you state your full                  12   A. I'm not exactly sure what month they had
13   name for the record.                                            13   acquired us by. But they -- I believe at that point
14   A. Dennis Patrick Halpin.                                       14   in time, it was a very recent acquisition by
15   Q. Where is your -- where do you live?                          15   Severstal.
16   A. 1357 Falla Drive, Bethel Park, Pennsylvania                  16   Q. The next sentence, "Assuming the plan will
17   15102.                                                          17   continue, Severstal should, among other things,
18   Q. Sorry, didn't mean to talk over you.                         18   reconstitute the Retirement Committee membership."
19   A. That's okay. That's a strike against you.                    19            Can you just describe to me, was the
20   Q. And who is your current employer?                            20   retirement committee membership in flux at that
21   A. H.D. Advanced Manufacturing in -- I guess                    21   time?
22   it's Wexford, Pennsylvania.                                     22   A. I can't -- I can't recall. There may have
23   Q. Mr. Halpin, what did you do to prepare for                   23   been a few people that were moving out based on the
24   your deposition today? Don't tell me anything Mike              24   acquisition, may have left, so there may have been
25   told you, but --                                                25   some transition.


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 1   Q. Okay. So if this document was, like I said,               1   A. I don't -- I can't recall that.
 2   July 28th, 2008, so you think you became a member of         2   Q. Okay.
 3   the retirement committee about a year before that            3   A. I don't know.
 4   or --                                                        4   Q. Let me show you the next exhibit. We could
 5   A. I would say around a year before that.                    5   call it Exhibit 2.
 6   Q. Okay. And what was your background, or why,               6           (Halpin Deposition Exhibit No. 2 was
 7   if you know, did Mr. DiClemente ask you to join the          7   marked for identification.)
 8   retirement committee?                                        8           THE WITNESS: Do I just move this over
 9   A. I was a CPA, so I had an accounting                       9   or something? Just put it here? Make a difference,
10   background, and I believe that background probably          10   or do you get it back?
11   complemented the committee's membership.                    11           MR. STRAWN: No, no, you hold on to it,
12   Q. All right. I take it it was in the month                 12   but eventually we give it to Connie at the end.
13   before, in June of 2008, when you first got the word        13           MR. JOYCE: I'll flip it over so it
14   that Citibank was going to get out of the trust             14   stays in order.
15   business and require the commingled trust, Severstal        15           THE WITNESS: Okay.
16   trust and WHX trust, to be separated. Do you have           16   Q. Mr. Halpin, what's in front of you as
17   any recollection of that?                                   17   Exhibit No. 2 is an e-mail from David Riposo. For
18   A. I had heard at some point in time. I won't               18   the record, do you know who he is?
19   say it was June. I don't know what month it would           19   A. He was the WHX treasurer.
20   have been. But I knew there was some -- Citibank            20   Q. And it's to Ron LaBow. And in the body of
21   was exiting that -- that action. So I had heard             21   the e-mail, "Ron, I heard back from the Treasurer at
22   that there was going to be a need to have a                 22   Severstal Wheeling" -- who would the treasurer at
23   replacement, but I don't know what month it would           23   Severstal Wheeling have been at that time?
24   have been.                                                  24   A. Mike DiClemente.
25   Q. All right. And just looking again at the                 25   Q. -- "and they will be ready to divest their


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 1   people who received that e-mail from Mr. DiClemente,         1   portion of the Common Co-mingled Group Trust as of
 2   does that indicate that they were current members of         2   October 1 per our request. They have made
 3   the retirement committee, but --                             3   arrangements on a temporary basis to move the assets
 4   A. Yeah. I mean, I know -- I know each one of                4   to another Trust account they have at Citi until
 5   their positions. But I -- I can't say if they were,          5   they finalize selection of a new trustee. I also
 6   at that time, committee members or not. I don't              6   confirmed they will be taking their assets in cash."
 7   know. I don't recall.                                        7            So what was your understanding --
 8   Q. Okay. At some point, the retirement                       8   again, I'll say in the summer of 2008, leading up to
 9   committee, it was just you and Mr. DiClemente;               9   the separation, what was your understanding of how
10   correct?                                                    10   the Severstal trust would take its interests from
11   A. Yeah, that's correct.                                    11   the commingled trusts?
12   Q. Do you know about when that -- that was the              12   A. My understanding was it was going to be a
13   situation?                                                  13   proportional share of the WHX master trust.
14   A. I'm going to say fourth quarter 2008,                    14   Q. Did you ever have any discussions with
15   sometime probably there.                                    15   Mr. DiClemente or anybody else about taking it as
16   Q. All right. You recall in this case that the              16   cash?
17   trust -- the Severstal trust was set up                     17   A. No, I've never heard that before, that it
18   independently on November 3rd, 2008. Is that your           18   would be in cash.
19   understanding?                                              19   Q. Okay. Let me show you what we could mark as
20   A. There was -- yeah, I'd say November 3rd,                 20   Exhibit 3.
21   2008.                                                       21          (Halpin Deposition Exhibit No. 3 was
22   Q. Do you know, was there anybody else who had              22   marked for identification.)
23   any input on the decisions on the retirement                23   Q. That's a letter dated September 29th, 2008,
24   committee besides you and Mr. DiClemente? Was there         24   to Nancy Kronenberg, and I guess the second page
25   anybody else still in the picture?                          25   there is a part of an e-mail dated September 30th,


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 1   2008, and it looks to be from David Riposo to Nancy              1   what it may be. I would rather not do that.
 2   Kronenberg. For the record, who is Nancy                         2   Q. Right.
 3   Kronenberg?                                                      3   A. I know there was going to be a separation. I
 4   A. I believe she was with Citibank. No, it                       4   do believe that the date was told to us by Citibank.
 5   says -- yeah, she's Citibank.                                    5   We had to be out by the end of the year. So
 6   Q. In the body of the document there it looks as                 6   September 30th is before that. So I'm not exactly
 7   if they're going to separate the Wheeling-Pittsburgh             7   sure why that was the date that it was going to
 8   Steel Corporation -- sorry -- the Salaried                       8   happen.
 9   Employees' Pension Plan of Wheeling-Pittsburgh Steel             9   Q. Okay. Do you know why it was moved from
10   Corporation and the Wheeling Corrugating Company                10   September 30th?
11   Retirement Security Plan, and Mr. DiClemente signed             11   A. I don't.
12   for the Wheeling- Pittsburgh Steel Corporation                  12   Q. Okay. I'll show you what we can mark as
13   retirement committee.                                           13   Exhibit 4.
14            Do you know when the committee (sic)                   14          (Halpin Deposition Exhibit No. 4 was
15   became Severstal? When the company became                       15   marked for identification.)
16   Severstal?                                                      16   Q. It's a letter dated September 30th from
17            And just the letterhead at the top                     17   Mr. DiClemente to Mr. Kassan, and I see Mr. Kassan
18   says, "Severstal International," and down at the                18   has signed at the bottom as well. And in the body
19   bottom of the mailing address it's, "Severstal                  19   of the letter it says, in part -- about four lines
20   Wheeling, Inc."; I don't know if there's any light              20   from the bottom there -- "to transfer the assets set
21   you can shed on that.                                           21   forth on Schedule A, in the same percentage
22   A. I can't tell you when actually the name                      22   allocations as existed in the WHX Pension Trust, on
23   changed. It probably was a technical thing, because             23   or about September 30th, 2008 to" an account at
24   we were acquired by Severstal, but as to when the               24   Citibank "as trustee of the WPSC Pension Plan
25   name had changed, I don't recall.                               25   Trust."


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 1   Q. All right. So the date at the end of the                      1            The WPSC, that's
 2   first paragraph there is -- the letter on the first              2   Wheeling-Pittsburgh --
 3   page says, "This should be done on September 30th,               3   A. Steel Corporation.
 4   2008."                                                           4   Q. Steel Corporation, okay. And your
 5             Do you recall whether there -- there                   5   understanding was that when the trusts were
 6   was a target date for the separation of the trust                6   separated, as it says in this letter, that the new
 7   when you were preparing for this?                                7   Severstal trust, the stand-alone Severstal trust,
 8   A. I think that Citibank had said that they                      8   would have a percentage of the same investments that
 9   needed to get out by the end of the year. That kind              9   were in the commingled trust?
10   of was the target date.                                         10   A. That was always my understanding, that it
11             If I can just preface some of the                     11   would be a proportional share.
12   stuff, probably a lot of this stuff, my general                 12   Q. Okay. And your information, I guess up to
13   understanding was I was sort of like monitoring the             13   the date of this letter, September 30th, 2008, has
14   fund, if you will. On a quarterly basis we would                14   it -- was it all through Mr. DiClemente, or did you
15   get some information from Mercer, et cetera. The                15   have any discussions with anybody else up to this
16   actual mechanical stuff of the transfer and the                 16   point?
17   discussions, I probably did none of that, as a                  17   A. No, I think there was probably just general
18   participant. Michael really was the go-to guy that              18   discussions about what our expectation was, but I
19   worked with WHX, worked with Ron.                               19   can't recall anybody else I would have spoken to.
20             I had not had conversations with Ron                  20   Q. And Mr. Halpin, if I understood what you were
21   or WHX prior to December 30th. So I may be copied               21   saying a few questions back, that your job on the
22   on some of these items. There may have been general             22   committee was monitoring, and did you say quarterly,
23   discussions about what the expectation was, but in              23   the results of the --
24   terms of these kind of documents, sometimes I may               24   A. While I was part of the committee, there was,
25   be -- I'd almost have to say I'm going to guess at              25   I'm going to say, regular monitoring, and that was


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 1   typically done on a quarterly basis, yes.                        1   A. I've seen it recently, but back then I had
 2   Q. Okay. I just wanted to make sure I heard you                  2   not.
 3   correctly.                                                       3   Q. Okay. And the body of the e-mail there from
 4            Let me show you what's Exhibit No. 5.                   4   Ms. Kronenberg says, "Good Afternoon Gentlemen, I
 5           (Halpin Deposition Exhibit No. 5 was                     5   have contacted Russell" -- do you know how to
 6   marked for identification.)                                      6   pronounce --
 7   Q. On the first page there, it's an e-mail from                  7   A. I'm going to say Khanuk. I'm going to guess.
 8   Maureen McGrath to Michael DiClemente, and then it               8   Q. "Khanuk of Neuberger Berman to advise him of
 9   looks like the attachment is on the second page.                 9   a change of Account number and account registration
10   And that's a letter dated October 22nd from                     10   for the transfer of assets from WHX to Severstal."
11   Mr. LaBow to Mr. DiClemente indicating that the                 11   Also inform you of "documentation that will be
12   transfer had not gone through.                                  12   needed by Neuberger Berman to effect the change.
13           (Witness reviews document.)                             13   Gentlemen, would you be available at 3 p.m.,
14   A. Okay.                                                        14   11/3/2008, for a conference call with Neuberger
15   Q. Were you aware at the time that the transfer                 15   Berman? Please let me know. Thank you!"
16   didn't go through? Did you ever see this notice?                16            Are you aware of a conference call
17   A. I didn't. I haven't seen that notice, and I                  17   that happened on November 3rd, 2008, about the
18   don't recall this letter either.                                18   transfer?
19   Q. Okay. Do you recall speaking with                            19   A. I don't recall a conference call scheduled.
20   Mr. DiClemente at the time about -- that the                    20   Q. Are you aware of any -- any issue on or about
21   transfer had not gone through or the separation, I              21   November 3rd with the transfer of the assets from
22   should say, really, had not gone through?                       22   the WHX trust to the Severstal trust?
23   A. I don't recall talking to Mike that it didn't                23   A. Can you mention it -- like by way of an
24   go through.                                                     24   issue, you mean, or say that again?
25   Q. Do you recall whether it was an issue that                   25   Q. Are you aware of the transfer of the


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 1   the separation of the trust hadn't occurred?                     1   Neuberger Berman assets from the WHX trust to the
 2          MR. JOYCE: Objection to the form and                      2   Severstal trust around November 3rd, 2008?
 3   speculation, to the extent it's a legal or expert                3   A. I'm -- I'm aware that there was a transfer
 4   opinion.                                                         4   made on November 3rd. I don't know if I could say
 5           You can answer, if you know.                             5   more than that. I'm aware that there was a
 6   A. I'm sorry. Now -- short-term memory is bad.                   6   transfer. I'm probably not answering your question
 7   Q. I won't phrase the question the same way I'm                  7   right.
 8   sure. Were you aware at the time there was any                   8   Q. No, no, that's perfectly fine. So you
 9   issue with the fact that the separation of trusts                9   know -- you weren't CCed on any of this. Did you
10   hadn't gone through?                                            10   know at the time that there was -- that there were
11          MR. JOYCE: Same objections.                              11   discussions proposed at least with regard to
12   A. I can't say I was aware of any issue at the                  12   transferring the Neuberger Berman assets to the
13   time.                                                           13   Severstal trust?
14   Q. Okay. All right. We're up to Exhibit No. 6.                  14   A. I was not aware of what assets were going to
15          (Halpin Deposition Exhibit No. 6 was                     15   be transferred, no.
16   marked for identification.)                                     16   Q. How much did Mr. DiClemente -- again, up to
17   Q. Mr. Halpin, Exhibit 6 in front of you is an                  17   November 3rd here -- how much did he include you in
18   e-mail, just a one-page e-mail, from Nancy                      18   the, as you were saying, the mechanics of the
19   Kronenberg dated November 3rd, 2008, to                         19   separation of the trusts?
20   Mr. DiClemente. Some of these exhibits are a little             20   A. I mean, he would keep me up-to-date in a
21   choppy. There's an original message underneath                  21   general sense, but again, I think Mike's background
22   there from Ms. Kronenberg, November 3rd, 2008, to               22   clearly was proficient in committee activities on
23   Ron LaBow, Michael DiClemente, and Mr. Riposo                   23   the technical side, as well as he was, for the time
24   regarding the transfer of assets from WHX to                    24   I was in the committee, the somewhat exclusive link
25   Severstal. Have you ever seen this e-mail before?               25   to the WHX team and Ron. I don't think there was a


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 1   need to be redundant to that. I don't think we             1   November 3rd, all assets in the Neuberger Berman
 2   needed to have multiple people. Clearly, his role          2   account, number 312153, to our account number
 3   was, I would say, the link to the WHX, Ron LaBow.          3   312933."
 4            That's how Ron liked it. He didn't                4            Did you know at the time what the
 5   like to deal with too many people. He had one              5   assets were in the Neuberger Berman account?
 6   person. That's who he dealt with. If I tried to            6   A. I did not.
 7   get any info, he would probably say I don't need           7   Q. Did anybody -- well, I'll just ask you: Did
 8   another guy, I deal with Mike. Mike's background, I        8   you check to see what the assets were at the time in
 9   was very comfortable that he could handle that.            9   the Neuberger Berman account?
10            But in terms of generally what was               10   A. I didn't, and I wouldn't see a need to.
11   going on, there was going to be a separation. This        11   Q. Okay. And why would you not see a need to?
12   is what we expect it's going to be. I would say in        12   A. I think there was previous documents that
13   a general sense, he would keep me up-to-date.             13   told you that we said exactly how we wanted the
14   Q. When you say "this is what we expect it's              14   transfer to be. I would expect that to have been
15   going to be," do you mean a percentage of the             15   done as we instructed.
16   assets?                                                   16   Q. Okay. Do you know if Mr. DiClemente checked
17   A. Yes, some prorated allocation of the assets.           17   to see what was in the Neuberger Berman account that
18   Q. Up until, I guess, the date of this exhibit,           18   was transferred?
19   November 3rd, 2008, had you had any contact with          19   A. I honestly don't know what Mike did.
20   anybody from WHX about the separation of the trusts?      20   Q. Okay. Can you tell me, are there any
21   A. No.                                                    21   documents other than the ones we've looked at today
22   Q. And same question with regard to Mr. LaBow;            22   that describe what assets the Severstal trust was
23   had you had any contact with Mr. LaBow regarding the      23   going to receive when the trust was separated?
24   separation of the trusts?                                 24   A. Before November 3rd?
25   A. No.                                                    25   Q. Yeah, up to and including November 3rd.


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 1   Q. I think we're up to Exhibit 7.                          1   A. I -- I was not provided any documentation as
 2           (Halpin Deposition Exhibit No. 7 was               2   to -- or any communication as to what assets or even
 3   marked for identification.)                                3   any information as to what was in the Neuberger
 4   Q. This is a letter dated November 3rd to                  4   account.
 5   Ms. Kronenberg from Mr. DiClemente. Unfortunately,         5   Q. Okay. Are you aware of any document or other
 6   you're CCed on it, D. P. Halpin.                           6   writing from Mr. LaBow indicating what assets he
 7           (Witness reviews document.)                        7   planned to transfer to the Severstal trust?
 8   Q. Have you had a chance to look at that?                  8   A. Previous to the transfer, I received nothing
 9   A. Uh-huh, yes.                                            9   from Ron, or WHX, regarding what was being
10   Q. Have you ever seen this letter before?                 10   transferred.
11   A. I have seen it.                                        11   Q. Okay. Let me show you what's Exhibit 8.
12   Q. Okay. Do you recall at the time -- did                 12           (Halpin Deposition Exhibit No. 8 was
13   Mr. DiClemente discuss with you around November 3rd,      13   marked for identification.)
14   2008, about the assets coming into the Severstal          14   Q. And this is an e-mail and it's from
15   trust?                                                    15   Mr. DiClemente to Richard Bowness. Can you tell me,
16   A. I don't recall either way a conversation.              16   for the record, who Mr. Bowness was.
17   Q. Okay. Any other communication, e-mail,                 17   A. He was the director of -- I can't be exact,
18   something else?                                           18   but the director of benefits accounting at Wheeling-
19   A. Other than being copied on this, I can't say           19   Pittsburgh Steel, Severstal Wheeling.
20   I recall any communication.                               20   Q. So he was not, I take it, on the committee,
21   Q. Okay. In the second paragraph there it says,           21   the retirement committee?
22   "As part of transferring the assets of these plans        22   A. I don't believe he was a formal member of the
23   from the WHX Corporation trust to Severstal               23   retirement committee.
24   Wheeling's existing trust at Citibank, we direct          24   Q. All right. So the body of the letter here
25   Citibank to transfer, prior to market opening on          25   says, "Rick, Please review this letter, which was


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 1   drafted at Nancy K's request. I will be receiving           1   may give you a call if we have some questions.
 2   agreements from Neuberger Berman to directly                2   Mike."
 3   establish the investment management arrangement with        3           Do you know what the process was
 4   us. Mike."                                                  4   Mr. DiClemente was talking about getting an
 5           Are you aware at this time -- I guess               5   investment management agreement with Neuberger
 6   the e-mail is dated November 4th, 2008 -- of any            6   Berman?
 7   discussion regarding retaining Neuberger Berman as          7   A. Certainly at the time I did not know why
 8   an investment manager?                                      8   Neuberger Berman was being brought in as an
 9   A. At that time, like around that November time?            9   investment manager.
10   Q. Right.                                                  10   Q. Okay.
11   A. I can't recall any discussions with regard to           11   A. Subsequent documents I know a little bit
12   retaining Neuberger Berman as an investment manager.       12   more. But then, I would say I did not.
13   The only investment manager I knew was Ron.                13   Q. Right. "I may give you a call if I have any
14   Q. I'm just wondering, looking back at the last            14   questions." Did Mr. DiClemente ever discuss with
15   exhibit, Exhibit 7, that was the only one in these         15   you retaining Neuberger Berman?
16   documents that we were going through where you were        16   A. I can't recall either way. I'd say today I
17   CCed on it. Also CCed was Mr. Assetta. Say for the         17   don't remember that, but I can't say either way did
18   record, Mr. Assetta was?                                   18   he have a discussion with me at that time or not.
19   A. I get the titles a little bit off. I think              19   Q. Okay. It just sounds like from what you're
20   he was the controller.                                     20   saying and looking at the documents that he didn't
21   Q. We covered Mr. Bowness. We covered                      21   necessarily include you in all the communications
22   Mr. Halpin. T.S. Rogers?                                   22   or -- would that be a fair statement on the whole,
23   A. I want to say he was the assistant                      23   communications?
24   controller.                                                24   A. I would have would say, again, knowing his
25   Q. That's Tim Rogers?                                      25   background, he included me in those communications


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 1   A. Tim Rogers.                                              1   that he felt were appropriate to send me. I don't
 2   Q. And the last one, J.R. Sullivan?                         2   think he included me in every one of them,
 3   A. He was -- he had -- he worked in the benefits            3   obviously. I think any one that he felt had some
 4   department. I don't exactly know what his title             4   significance that he would CC me on it.
 5   was.                                                        5   Q. What about the decisions? Do you think he --
 6   Q. I know this isn't your letter, but do you                6   from looking at these documents that he included you
 7   know why you and the other individuals were CCed on         7   in the decisions as to the separation of the trusts?
 8   Exhibit 7 but -- I haven't seen a lot of other CCs          8   A. I would say we both had a consistent
 9   that included you or other individuals?                     9   expectation. And so did he consult with me? I
10   A. I'm not sure why they were on this one. I'm             10   think we -- you know, we were unanimous on the first
11   not sure why this was written to Rick. So I would          11   vote, so we clearly thought that it was going to be
12   say, no, I don't know why the copy variety.                12   a proportionate allocation. I think we talked to
13   Q. Okay. I got you. I believe we're up to 9.               13   all the right parties. Did he include me in that, I
14          (Halpin Deposition Exhibit No. 9 was                14   would say yeah.
15   marked for identification.)                                15   Q. When you say "we talked to all the right
16   Q. Mr. Halpin, it looks like Exhibit 9 here is             16   parties," do you mean we or him?
17   an e-mail from November 5th, 2008, from                    17   A. I mean the committee, based on instructions
18   Mr. DiClemente to Mr. LaBow. I don't see anybody           18   that Mike gave in an e-mail or a correspondence or a
19   else CCed on this. And there's an e-mail exchange,         19   letter regarding the expectation of the proportional
20   it looks like there's an e-mail from Mr. LaBow on          20   share, the committee spoke to all those people and
21   the bottom. Mr. DiClemente's e-mail to Mr. LaBow           21   gave that expectation. I may not have spoke to them
22   says, "Thanks, Ron. I'm not sure how you do it, but        22   directly.
23   I'm very appreciative of your talents. FYI, we're          23   Q. Okay. When do you recall -- and we have more
24   in the process of establishing an investment               24   documents to go, but when do you recall first
25   management agreement with Neuberger and Berman and I       25   hearing about Neuberger Berman?


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 1   A. I'm going to say -- I didn't hear about it in            1   other reason why --
 2   2008. It had to be sometime in 2009. When, I can't          2   A. I think -- the only thing I know is that Rick
 3   say.                                                        3   would somehow be involved in calculating pensioner's
 4   Q. All right. I'll show you what we can mark as             4   payments. So I think Rick, when somebody was
 5   Exhibit 10.                                                 5   looking to cash out -- again, I was a pensioner for
 6           (Halpin Deposition Exhibit No. 10 was               6   20 years there, so I'm a long-standing Wheeling-Pitt
 7   marked for identification.)                                 7   employee that was involved in this plan, and Rick
 8   Q. Mr. Halpin, that's an e-mail -- it looks like            8   was the guy that when somebody was looking to, you
 9   it's from Richard Bowness, posted to inbox. Do you          9   know, do something with their fund, he would do the
10   know what posted to inbox means?                           10   calculation.
11   A. I don't.                                                11   Q. Okay.
12   Q. And it says, "The documents that you                    12   A. That's what I think his role was. He may
13   requested are attached." And Mr. Bowness's                 13   have had a bigger role, but I know he did that.
14   signature line there. And then underneath it looks         14   Q. All right. Let's go for Exhibit 11.
15   like an e-mail chain that goes down to an e-mail           15          (Halpin Deposition Exhibit No. 11 was
16   from Mr. DiClemente to Mr. Bowness on November 4th.        16   marked for identification.)
17   "I will be forwarding copies of the documents (to          17   Q. And the -- this is a one-page document. The
18   you and others) that need to be completed to open up       18   e-mail on top is from Richard Bowness, November 12,
19   a new account with Neuberger and Berman, which Ron         19   2008, to Russell Khanuk, Michael DiClemente and CC
20   LaBow uses to manage some of the money in the DC           20   Charlie Diccianni. My understanding from
21   plans."                                                    21   yesterday's deposition is Mr. Diccianni worked at
22            I take it that's the defined                      22   Neuberger Berman?
23   contribution plans, DC plans?                              23   A. I didn't know that at the time. I'd say I
24   A. I would think that's what it is.                        24   know that now.
25   Q. Then "N&B is looking for the trust agreement            25   Q. Again, it seems as if Mr. Bowness is


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 1   with Citibank (which will soon have to be replaced          1   forwarding documents to Neuberger Berman and -- so
 2   with NatCity's) as well as the plan documents for           2   at the time, this is November 12, 2008, were you
 3   both plans. Would you please forward these                  3   aware that this exchange of information was going
 4   documents to me?"                                           4   back and forth?
 5            Do you know why Mr. DiClemente was                 5   A. I don't believe I was aware.
 6   asking Mr. Bowness about these documents and not you        6   Q. Okay. It seems to me like retaining another
 7   or not CCing you on this?                                   7   investment manager, that's something that's pretty
 8           MR. JOYCE: Object to the extent it                  8   significant for a retirement committee. If it's
 9   seeks speculation.                                          9   only two members, it wouldn't take too much effort
10   A. Yeah, I don't know why.                                 10   to let the whole committee know what was going on.
11   Q. Did Mr. Bowness have these documents and you            11   It sounds as if you weren't included in these
12   did not have these documents?                              12   actions?
13           MR. JOYCE: Same objection.                         13   A. I would say that that responsibility was
14   A. I can't say -- I don't know why he sent them            14   Ron's. Ron picked the investment managers. I would
15   to Rick or sent the e-mail to Rick.                        15   say the processing of that is a mechanical thing. I
16   Q. Got you. Would you have had the two plan                16   wouldn't need to know that. Ron picks who he wants.
17   documents for the two 401(k) plans at issue here?          17   You can question why he needed another one. To the
18   A. I had seen them. Did I have them? Again,                18   degree another one was needed, I'm sure it was based
19   I'm going to say I probably had them, but -- so why        19   on Ron wanting something, and Michael and Rick or
20   didn't he ask, I don't know. There must have been          20   whoever processing Ron's request for another
21   other things that he was asking for. I don't know.         21   investment manager. So I don't see a need for me to
22   Q. The trust agreement with Citibank, would you            22   know that Ron wanted another investment manager, per
23   have had that document at the time?                        23   se.
24   A. I don't recall. I don't recall that.                    24   Q. Okay. I think we're up to No. 12.
25   Q. Did Mr. Bowness work for DiClemente or some             25           (Halpin Deposition Exhibit No. 12 was


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 1   marked for identification.)                                  1   or looking at any of the documents?
 2   Q. Mr. Halpin, what's finally appropriately in               2   A. I believe there was an e-mail where I was
 3   front of you as Exhibit No. 12 is an e-mail dated            3   copied on that had asked -- I can't say if it was
 4   November 24th from Mr. DiClemente, and it's to               4   asking for my comments or not, but I believe it was
 5   Mr. LaBow, and I don't see you CCed on it. Take a            5   one of the drafts, let's say.
 6   look at it, but the gist of it seems to be                   6   Q. Okay. Let's see if I can find that. We're
 7   concluding an investment management agreement of             7   up to Exhibit 13.
 8   some sort with Mr. LaBow.                                    8          (Halpin Deposition Exhibit No. 13 was
 9          (Witness reviews document.)                           9   marked for identification.)
10   Q. I don't want to rush you. Have you had a                 10   Q. This exhibit, the first page is an e-mail
11   chance to take a look at that yet?                          11   from Mr. LaBow to Mr. DiClemente on December 3rd.
12   A. Uh-huh, yes.                                             12   This seems to be toward the end of the process here.
13   Q. So at the time, going back to November 2008,             13   Please fax to -- gives a number -- I will sign-date
14   were you involved in drafting or discussions of             14   as November 1st.
15   retaining Mr. LaBow as an investment manager to the         15            In the e-mail chain on the second page
16   Severstal plans?                                            16   there, it looks like Mr. DiClemente's sending the
17   A. There was some discussions about retaining               17   final version, and I don't -- I don't see you CCed
18   Ron subsequent to the separation.                           18   on it. There's a draft agreement behind it.
19   Q. Are you aware of any discussions about                   19   A. Uh-huh. Yes.
20   retaining Mr. LaBow as investment manager for the           20   Q. And then partway through there's another
21   Severstal plans before the separation occurred?             21   e-mail from Mr. LaBow to Mr. DiClemente. And
22   A. Yeah, yes.                                               22   another marked-up draft. Just having gone through
23   Q. And what do you recall?                                  23   all those pages in Exhibit 13 --
24   A. I recall discussing should we retain Ron                 24   A. Sure.
25   subsequent to the transfer. I think his prior               25   Q. -- I don't see your name on it. But you're


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 1   performance was astonishing. As a pensioner and              1   pretty sure that at some point during the drafting
 2   fiduciary, I would say I don't see why we wouldn't           2   that you saw a copy of --
 3   keep him. So yeah, there was discussions about               3   A. I believe there was at some point in time --
 4   keeping him.                                                 4   I don't know if it was the final draft or whatever.
 5   Q. And those discussions, were they just you and             5   But again, I would say that my understanding is we
 6   Mr. DiClemente?                                              6   were going to essentially mirror the WHX agreement,
 7   A. I know they were me and Mike. Were there                  7   investment management agreement and the guidelines,
 8   other people? I can't remember if there were other           8   and make some very cosmetic changes to keep it, you
 9   people at the time. But certainly me and Mike had            9   know, technically correct in terms of let's say
10   had discussions about retaining Ron subsequent to           10   committee name.
11   the breakup or to the transfer.                             11             So for me to see that -- again, I
12   Q. Got you. As far as the mechanics of and                  12   believe Sally King was involved in it, which was
13   drafting of an agreement, was there any discussion          13   ERISA counsel, Mike's background clearly is that.
14   about that before the separation or only afterwards?        14   So again, it's not like I would be -- some sort of a
15   A. His expectation was that we were essentially             15   value added to saying, hey, let me tell you guys you
16   going to take the WHX trust agreement, the WHX              16   got this wrong or you need to put this in.
17   guidelines, carbon copy them, change "WHX committee"        17             So again, my trust in Michael's
18   to "SWI committee." They were going to essentially          18   background, especially with McGuireWoods involved in
19   be a mirror image of each other. So we were going           19   it, I don't see the need to keep me copied and ask
20   to retain Ron. We were going to continue the same           20   for my comments. So long as I knew the
21   policies and plans in place. Just make the                  21   expectations; that the policies in place prior to
22   mechanical changes to make sure it was correct in           22   that were essentially going to mirror the policies
23   terms of the committee's name itself, et cetera.            23   in place effective the date of the transfer.
24   Q. So now subsequent to the transfer on November            24   Q. Okay.
25   3rd, 2008, were you involved in any of the drafting         25   A. So any copy would somewhat be a courtesy


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 1   copy. I do believe at one point in time I did get                 1            Again, Mr. Diccianni was with
 2   copied on something that was very close to final or               2   Neuberger Berman?
 3   final draft.                                                      3   A. Subsequently, yeah, I know that, that's true.
 4   Q. Anything copied to you is also informational,                  4   Q. Next sentence, "I laid into him because they
 5   too, not just courtesy?                                           5   have not managed our money (and maybe WHX's money)
 6   A. It would be. But if it's mirroring the old                     6   since the trustee transition at the beginning of
 7   one, it's a repeat of information that I've already               7   November." And that -- my understanding, if this is
 8   seen. In my mind, unless something was dramatically               8   dated the 12th and he's talking about a phone call
 9   changed, I think Mike will say, you need to look at               9   on the 10th and he says "I laid into him because
10   this because we're making a dramatic change here.                10   they have not managed our money," it sounds as if
11   Other than that, I would expect that the changes are             11   Mr. DiClemente had learned that Neuberger Berman was
12   somewhat cosmetic. Seeing SWI retirement committee               12   not managing the money at some point before the
13   versus WHX retirement committee, is that                         13   10th. But what is your understanding of what was
14   informational, I don't know. I'd say probably not.               14   going on at the time?
15   Q. All right. Let's go on to Exhibit 14.                         15   A. I can't recall ever seeing this.
16           (Halpin Deposition Exhibit No. 14 was                    16   Q. Oh, sure, yeah, you're not copied on it.
17   marked for identification.)                                      17   A. Yeah, but I don't remember seeing it. I
18   Q. This, to my understanding, is the final copy                  18   don't remember a conversation where he had -- with
19   signed by Mr. LaBow and Mr. DiClemente for the                   19   Neuberger Berman being upset, so I would say I
20   committee.                                                       20   don't -- I can't really -- I can't offer any comment
21   A. Okay.                                                         21   on --
22   Q. Is that your understanding?                                   22   Q. I got you.
23   A. I -- I'm going to assume yes. I see penciled                  23   A. You know, I don't know.
24   in, so I don't know -- but I would say that looks                24   Q. In the last sentence, "Ron LaBow returned my
25   like the final copy that I remember seeing.                      25   previous calls earlier in the week and left a voice


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 1   Q. When you say "penciled in," which page were                    1   message at work." It goes on from there. So I take
 2   you talking about?                                                2   it from your last answer that around the time, the
 3   A. Well, November 1st is not typed in, let's                      3   December 12th, 2008, you weren't aware that there
 4   say. So I would say to that point, but I believe it               4   was an issue with Neuberger Berman yet in terms of
 5   is the final copy, and I have seen that before.                   5   them not managing the assets in the account?
 6   Q. Okay. I guess keep that in order, but we may                   6   A. I would say before December 30th, I was not
 7   end up referring back to that then.                               7   aware -- I can't recall any activity with Neuberger
 8   A. I'll highlight like this so I won't have to                    8   Berman at all.
 9   go back rummaging for it.                                         9   Q. Okay. And with regard to Mr. LaBow, before
10   Q. Now we're up to Exhibit 15.                                   10   December 30th, 2008, were you aware of any issues
11           (Halpin Deposition Exhibit No. 15 was                    11   with Mr. LaBow not managing the assets of the plans?
12   marked for identification.)                                      12   A. I was not.
13   Q. Mr. Halpin, for the record, that's an e-mail                  13           (Discussion held off the record.)
14   from Mr. DiClemente. Actually I think yesterday it               14           (Halpin Deposition Exhibit No. 16 was
15   said memo to file as opposed to e-mail.                          15   marked for identification.)
16   A. I don't see a To.                                             16   Q. Mr. Halpin, what's in front of you now is
17   Q. Yeah, some of the exhibits in the e-mails are                 17   Exhibit 16, and it's looks like part of another
18   a little choppy. It's hard to figure out exactly                 18   e-mail chain. On top there's an e-mail from Kevin
19   what they were.                                                  19   Handwerker. I believe he's at Neuberger Berman. Is
20             But anyway, it's from Mr. DiClemente                   20   that your understanding?
21   dated December 12, 2008, and it says in here,                    21   A. It's such a unique name, I should remember
22   Charlie Diccianni called on December 10, 2008 --                 22   it. But I can't say I recall where he's from.
23   gives a phone number -- "to make sure we understand              23   Q. It's to Marvin Schwartz.
24   what is required to establish a relationship with                24   A. Yeah, I know him.
25   them."                                                           25   Q. He's at Neuberger. And it's -- underneath


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 1   the body there it says, "I spoke with the attorney           1   speculation, and also to the extent it seeks a legal
 2   for the Severstal Wheeling Pension Plan. We will be          2   or expert opinion.
 3   getting some comments on our agreement and they will         3           THE WITNESS: Does that mean -- can I
 4   provide us the standard documentation that we                4   answer?
 5   require. She requested that we begin managing the            5           MR. JOYCE: You can answer, yes.
 6   assets immediately and I agreed to accommodate their         6   A. I'm going to say that the people involved in
 7   request provided we get authorization from Mike              7   this, Mike DiClemente, again, from a technical
 8   DiClemente requesting that we do so."                        8   perspective, Sally King from an ERISA -- in my mind
 9            Again, you're not copied on this.                   9   expert level, I think the right two people on this
10   Below there's an e-mail from Sally King who I               10   are -- are on this. So if there was issues to be,
11   understand is your ERISA counsel?                           11   at that point, solved, I think they were probably
12   A. At that time, yes.                                       12   very proactive in solving those issues.
13   Q. To Mr. Handwerker, CCing Mr. DiClemente, and             13   Q. When you say on an expert level, you're
14   the body there, it's from Ms. King to Mr. Handwerker        14   referring to Ms. King?
15   is, "Kevin: Thank you for your time this afternoon          15   A. Yeah, yeah. I would say -- in my mind she
16   discussing the Severstal Wheeling issues. I am sure         16   was an expert ERISA counsel.
17   that we can now work out an arrangement that will be        17   Q. Yeah, I just want to make sure I heard you
18   satisfactory to both of our clients," which makes me        18   right.
19   think that maybe he's an attorney at Neuberger.             19   A. Yeah, yeah. I would say the two people that
20            "You should receive an e-mail from                 20   needed to be -- if there was something to be
21   Michael DiClemente early tomorrow that outlines the         21   resolved with Neuberger Berman, I would say the
22   issues that we would like to discuss relating to the        22   right two people are on the case.
23   Investment Advisory Agreement. Mike will also               23   Q. Okay.
24   verify on behalf of the Severstal Wheeling                  24           (Discussion held off the record.)
25   Retirement Committee their intent to have Neuberger         25           (A brief recess was taken.)


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 1   Berman manage the pension assets that have been              1     BY MR. STRAWN:
 2   transferred to Neuberger Berman (sic) and their              2   Q. Mr. Halpin, let me show you what's marked
 3   desire to have management begin immediately. Also,           3   as -- what will be marked as Exhibit 17.
 4   we intend to work with Neuberger Berman to formalize         4           (Halpin Deposition Exhibit No. 17 was
 5   the Agreement and provide supporting documentation           5   marked for identification.)
 6   as soon as possible.                                         6   Q. Now, I don't see your name on this. It's an
 7           "Please let me or Mike know if there                 7   e-mail sent December 30th from Mr. DiClemente to
 8   are other issues that need to be addressed at this           8   Mr. LaBow, but is this -- have you ever seen this
 9   time."                                                       9   before?
10           So at the time, this is December 17,                10           (Witness reviews document.)
11   2008, were you aware that this issue was going on           11   A. I have.
12   with Neuberger Berman about retaining them to manage        12   Q. Okay. And is this the first time you learned
13   the assets?                                                 13   about the issues, or did you speak about it
14   A. At that time I was not.                                  14   previously with Mr. DiClemente?
15   Q. Were you aware that there was an issue as to             15   A. Actually, I didn't learn of it from this one.
16   them -- or a discovery that they had not been               16   I believe that same day Michael made a phone call to
17   managing the assets since the trust was separated?          17   me. I was on vacation, so he made a phone call and
18   A. I was not aware of any activity with                     18   told me about it, and probably essentially what he
19   Neuberger at that time.                                     19   was saying in here, but I've learned of the transfer
20   Q. Do you think if there was an issue of                    20   from Mike on a phone call on December -- I want to
21   discovering the fact that the assets had not been           21   say it was December 30th.
22   being managed that that might have prompted somebody        22   Q. Okay. And what did Mr. DiClemente tell you?
23   to look to see what those assets were and how they          23   A. That he was very disturbed that the
24   were doing?                                                 24   allocation, the transfer that was made was
25          MR. JOYCE: Object to the form,                       25   inappropriate, that what was concentrated in a


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 1   certain group of stocks was not in line with our             1   below, it looks like there must have been an
 2   expectations or instructions, and we needed to               2   attachment. Oh, there you go. It's got an
 3   address it once I got back.                                  3   attachment at the top that says whx.pdf. Do you
 4   Q. And what did you say to Mr. DiClemente at                 4   recall any discussions at this time, as of January
 5   that time?                                                   5   5th, 2009, about the performance of the Severstal
 6   A. I said, if that's true, Mike, that's                      6   trust versus other assets?
 7   extremely disturbing, and the first day we're back           7   A. I don't recollect talking so much about the
 8   in the office, let's meet.                                   8   performance as opposed to the nature of the fund
 9   Q. Okay. So this e-mail on December 30th from                9   itself.
10   Mr. DiClemente to Mr. LaBow, Exhibit 17 in front of         10   Q. And could you just explain that a little
11   you, was that before you got back to the office?            11   further about the nature of the fund.
12   A. Yeah. I didn't get back to the office until              12   A. That it was concentrated in energy stocks,
13   probably the 2nd of January or 3rd of January.              13   that it was not in accordance with our investment
14   Q. Okay.                                                    14   guidelines, and that we needed to get some sort of
15   A. Of 2009.                                                 15   correction of that.
16   Q. Okay. My understanding from here and from                16   Q. All right. Again, you know why Mr. Bowness
17   Mr. DiClemente's testimony was that he learned from         17   is included on this e-mail?
18   a report from Mercer about the -- of the allocation         18   A. Again, the only thing I remember Rick did was
19   of the assets in the trust. Is that your                    19   try to value pensioners', you know, fund portfolio.
20   understanding?                                              20   So I don't know why he's copied on this particular
21   A. That is my understanding.                                21   one.
22   Q. All right. Keep an eye on this exhibit, too,             22   Q. When you're saying "portfolios," you mean
23   about coming back to it.                                    23   what sums they would be withdrawing for benefits?
24   A. Okay.                                                    24   A. Yeah. He would estimate or calculate what
25   Q. Make sure I'm not getting these all together.            25   their actual pension amount was when they decided


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 1   A. That happens even if you don't want it to.                1   they were going to retire and what was their
 2   Q. Now we're up to Exhibit 18.                               2   pension.
 3          (Discussion held off the record.)                     3   Q. Okay. Oh, that's right. Because this isn't
 4          (Halpin Deposition Exhibit No. 18 was                 4   a traditional 401(k) where they're making
 5   marked for identification.)                                  5   contributions. This is where the employer was
 6   Q. All right. So Exhibit 18 is an e-mail from                6   making the contributions in their name.
 7   Mr. DiClemente to you and Mr. Bowness, January 5th,          7   A. Yeah. Then so when someone says, I want a
 8   2009, and the e-mail there discusses the Neuberger           8   lump sum or I want to take an annuity, he would
 9   Berman account. Let me know when you're done                 9   calculate what their benefit would be.
10   looking at that.                                            10   Q. Right. The employer is directing the
11          (Witness reviews document.)                          11   investments, not the individuals?
12   A. Okay.                                                    12   A. Right.
13   Q. All right. It looks like from the e-mail                 13   Q. Let me show you Exhibit 19.
14   train there was some information that Mr. DiClemente        14           (Halpin Deposition Exhibit No. 19 was
15   was sending you from Neuberger Berman about the             15   marked for identification.)
16   performance of the stocks in the trust?                     16   Q. And this is an e-mail dated December 30th, so
17   A. Did he -- I don't think he attached them to              17   I'm going back a couple days on you there. It looks
18   here. I'm not sure if they were actually part of            18   like it's from Ms. King to Mr. LaBow, and I don't
19   this e-mail. He was discussing things that he               19   see you or Mr. DiClemente CCed on this. It's two
20   already received, yes.                                      20   pages. Did you -- have you ever seen this before?
21   Q. I was just referring to -- it looks like the             21   A. Have I seen it as of through today?
22   e-mail chain from Vincent Iovino, and it looks like         22   Q. Yeah.
23   a Neuberger Berman e-mail address.                          23   A. I've seen it. Did I see it at that time, no.
24   A. Yes.                                                     24   I think this was -- again, December 30th, so this is
25   Q. Here the balance is, looking at it from                  25   probably Sally and/or Michael working with Ron on


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 1   that date.                                                   1             My understanding is that the issues
 2   Q. Okay. So it looks as if it's a follow-up on               2   with the audit was just getting a final accounting
 3   a conference call. Well, I guess my first question           3   about what belonged to WHX and what belonged to
 4   to you: Did you participate on a call on December            4   Severstal so there was a final complete separation.
 5   30th with Ms. King and Mr. LaBow and Mr. DiClemente?         5   A. I believe that we probably thought the audit
 6   A. I did not.                                                6   report was a little more than that. I think that's
 7   Q. It looks like there are four bullet points                7   what it ended up being, but I think -- when I hear
 8   that Ms. King is talking about here. The first one           8   the word "audit," I think of a much deeper analysis
 9   is, Mr. LaBow "will negotiate the fee adjustment             9   that was done than a compilation of numbers.
10   with Neuberger Berman; once the fees are changed,           10   Q. What did you think the purpose of the audit
11   Mr. (sic) DiClemente will execute the agreement."           11   was then?
12            I guess as of December 30th, had you               12   A. I think the purpose of the audit was to make
13   discussed that -- those facts with Mr. DiClemente?          13   sure that the distribution that was being made
14   A. Prior to January, I was not aware of the                 14   between the two was a valid allocation.
15   Neuberger Berman fee issue.                                 15   Q. Do you believe that -- when you say "valid,"
16   Q. It was only after you came back to the office            16   could you explain that a little further?
17   then that you became aware of that?                         17   A. Well, I think, again, the difference, a
18   A. I would say I was not -- at that time the                18   compilation is somebody adding numbers up and
19   number one issue was to work with Ron and WHX to            19   saying, here's the value. An audit is more detailed
20   reset the portfolio as soon as possible. This may           20   and goes back and looks at the statements and makes
21   have been one of those items that was discussed, but        21   sure they're correct. There's a percentage that's
22   my recollection was focused on the reset.                   22   supposed to be assigned to both people. It's a much
23   Q. Got you. And when you say "reset," do you                23   more comprehensive effort. So we were -- when we
24   mean prospectively looking at what investments the          24   were getting this Cohn report, we expected it to be
25   trust has going forward, or going back in time to           25   a little deeper than it was, and sooner.


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 1   redo the transfer, the separation of the trust?              1   Q. Well, who commissioned the Cohn audit?
 2   A. I almost jumped out and answered it before                2   A. It's my understanding Ron -- Ron ordered the
 3   you finished, but it's to go back and do a                   3   audit.
 4   retroactive reallocation.                                    4   Q. Okay. Did you ever see any -- what the
 5   Q. The second bullet point here, Mr. LaBow "will             5   agreement was with Cohn to do the audit, what they
 6   request the most recent statement from Neuberger             6   were instructed to do?
 7   Berman."                                                     7   A. I don't recall seeing it.
 8             Do you know why you didn't -- when I               8   Q. And going, back as far as the assets in the
 9   say "you," meaning the committee -- did not have a           9   commingled trust, do you think Severstal -- the
10   statement from Neuberger Berman?                            10   Severstal trust -- was entitled to specific assets
11   A. I don't know. I don't know why.                          11   in the commingled trust?
12   Q. I think I was -- "brainstorming" is the right            12   A. I think we were entitled to our proportionate
13   word -- with Mr. DiClemente yesterday in that it            13   share to each item to the degree you could have
14   could be you didn't have a contract, an agreement           14   that.
15   with Neuberger Berman. You weren't receiving                15   Q. If Severstal were to get the dollar value of
16   statements, you weren't a client. I don't know if           16   what it was -- what its share of the value of the
17   that makes sense.                                           17   WHX trust, would you think that there was any
18   A. I would say at that time I didn't even know              18   problem in receiving that value?
19   about the Neuberger Berman fee issue.                       19           MR. JOYCE: Objection to form,
20   Q. Sure.                                                    20   speculation, and to the extent it's seeking a nonlay
21   A. So I would say anything that was attached to             21   opinion.
22   that, I didn't know about it.                               22            You can answer.
23   Q. The third bullet point there, Mr. DiClemente             23           THE WITNESS: That's it.
24   will contact Mr. Riposo from WHX about the status of        24           MR. JOYCE: You can answer unless I say
25   the audit report.                                           25   don't answer.


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 1          THE WITNESS: Yeah, yeah.                            1   2009, were there any discussions or any other
 2   A. I would say that we expected to get a certain           2   communications with Mr. DiClemente and Mr. Bowness
 3   value and an allocation that was in line with our          3   about the situation with how the plans were
 4   guidelines.                                                4   invested?
 5   Q. And again, I think I know the answer. You               5   A. I can't remember what specific days. I do
 6   weren't involved in any discussions beforehand --          6   remember that there were numerous conversations with
 7   before the transfer of two trusts -- the separation        7   WHX and/or Ron regarding a reallocation request.
 8   of two trusts as to the mechanics as to how that           8   Q. Was there any discussion about how the plans
 9   could be achieved?                                         9   were currently invested and what was the best move
10   A. My understanding would be that we have 10              10   to protect the plan's assets at that point, January
11   percent of the fund, we get 10 percent of every --        11   7th?
12   of every individual fund or every individual              12   A. I think the focus at this time was to, as
13   portfolio.                                                13   quickly as we could, do an acceptable reallocation
14   Q. Okay. The fourth bullet point here in                  14   of the initial transfer.
15   Exhibit 19 says, "Sally King will draft a memo            15   Q. Now, I know way back when we first talked in
16   outlining the guidelines to be implemented between        16   2014, you and me, before you had an attorney, you
17   Ron LaBow and Mike DiClemente relating to procedural      17   said that Mr. LaBow was looking for direction and
18   issues under the LaBow investment Management              18   you didn't want to give him direction because then
19   Agreement."                                               19   the onus would be on the committee for taking the
20            What's your understanding of what that           20   responsibility for directing him. Do you recall
21   means?                                                    21   that conversation?
22   A. As I read it now, I'm looking at that saying           22   A. I don't, but I would say that we were not
23   there must have been an issue or two. So there was        23   going to be coauthors of the investments. That's
24   some sort of -- she was going to draft a memo             24   his role, and I think every time that he looked for
25   regarding issues.                                         25   approval or guidance or whatever it may be, both


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 1   Q. And do you know what those issues were?                 1   myself and Michael were very clear and consistent
 2   A. At the time I certainly didn't, because I was           2   that that was his job. He never asked previously to
 3   not involved, as of 12/30, in this. So I would say,        3   do this in all those years.
 4   no, I did not know what the issues were.                   4            And every time he asked us -- whatever
 5   Q. Okay. Now, here's an e-mail with your actual            5   way he cushioned it, we made it very clear to him
 6   name on it. We can mark that as --                         6   that investments were his decision. He had the full
 7   A. Highlight that.                                         7   authority to do it, and that if he felt there was a
 8   Q. -- Exhibit 20.                                          8   better way to allocate or better way to manage, that
 9           (Halpin Deposition Exhibit No. 20 was              9   was his prerogative and that was his responsibility.
10   marked for identification.)                               10   Q. As far as the discussion about going back to,
11   Q. And for the record, that's an e-mail from              11   basically, do over the separation of the trusts,
12   Mr. DiClemente to Mr. Bowness and yourself, January       12   could that have been handled as a separate issue?
13   7th, 2009. So take a look at it and let me know           13   Like the current investment of the plans, one issue,
14   when you're done. It's just one page.                     14   and getting some recompense for how they were
15           (Witness reviews document.)                       15   allocated a separate issue?
16   A. Should I read the bottom, too? Is there a              16           MR. JOYCE: Object to the form of the
17   question on that?                                         17   question and also to the extent that it's asking
18   Q. Yeah, yeah, sure.                                      18   Mr. Halpin to render an expert or a legal opinion on
19   A. Okay.                                                  19   what could have been done.
20           (Witness reviews document.)                       20            You can answer. I will remind you --
21   A. Okay.                                                  21           THE WITNESS: That's okay.
22   Q. All right. So Mr. Halpin, have you seen this           22   A. I will say this: Ron had, always,
23   before?                                                   23   authority -- full authority, exclusive authority to
24   A. I have seen this before.                               24   make an investment. So while we were asking for a
25   Q. All right. At the time, back on January 7th,           25   reallocation to true this thing up to a transfer in


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 1   a portfolio that was within our guidelines, he had                1   when you've gone through it.
 2   the ability to, if he thought that there should have              2           (Witness reviews document.)
 3   been a better allocation, cash it out -- 80 --                    3   A. Okay.
 4   whatever it was, he never lost that authority.                    4   Q. All right. There's some -- I guess it's
 5            So could they have been separate? Ron                    5   the -- I guess the paragraph in the middle of the
 6   could have done whatever he wanted on any day in                  6   page, third from the bottom, the next-to-last line,
 7   terms of how to manage the investments. We did not                7   "He also stated" -- "he" being Mr. LaBow -- "how
 8   preclude him from that, and certainly the guidelines              8   'nimble' our (sic) portfolio was, and how readily we
 9   in the management agreement gave him that authority.              9   could convert it to cash if we desired."
10   Q. Just referring to the e-mail here where --                    10            Was that your understanding at the
11   seems to be some discussion -- Mr. DiClemente                    11   time, that the stocks in the Neuberger Berman
12   relating to you that Mr. LaBow said that not all of              12   account could have been liquidated easily?
13   the assets in the combined trusts were                           13   A. I mean, he made that assertion. So I assumed
14   necessarily -- could be separated 90/10. Is that a               14   he knew how nimble they were. I don't know how
15   fair statement? I don't want to mischaracterize it.              15   nimble they were at the time.
16   A. I would say that there couldn't have been a                   16   Q. The next paragraph down starts with, "Given
17   perfect -- in hindsight, there probably couldn't be              17   Ron could not reset the portfolio to original
18   a perfect allocation. I don't think we ever                      18   composition" -- was that your understanding, and did
19   required that from him. His reasoning changed                    19   you agree with that? Here, I might as well finish
20   hourly. It was fragmented. It was inconsistent.                  20   the sentence. "Mike and I both agreed that Ron
21   It was incomplete.                                               21   should liquidate the NB fund as he (Ron) deemed
22            All we looked for was a single piece                    22   prudent so as to preserve value, and to begin
23   of paper to tell us what could have been                         23   reconstructing a more balanced diversified
24   apportioned, what couldn't have been and why, and                24   portfolio."
25   then to do an allocation that was acceptable based               25            Am I accurate when I take from that


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 1   on that kind of analysis.                                         1   that you and Mr. DiClemente agreed with at least
 2            I -- I -- it always amazed me that he                    2   some of what Mr. LaBow was saying, that he could not
 3   never really completed and fulfilled that                         3   reset the Severstal trust to include a 10 percent
 4   requirement. Today it was a gate, tomorrow it's a                 4   portion off all the investments in the WHX trust?
 5   dollar amount. I mean, it changed every time.                     5   A. At that point in time Ron was making the
 6   Q. I know it was challenging. Okay. Let me                        6   argument that it could not be a perfect
 7   show you the next exhibit. We're up to 21.                        7   reallocation. So I mean -- and I say "perfect."
 8           (Halpin Deposition Exhibit No. 21 was                     8   That was his argument. It couldn't be perfectly
 9   marked for identification.)                                       9   done. But there could be -- other funds could have
10   Q. This is two pages. The first page is an                       10   been used other than just Neuberger Berman, but it
11   e-mail from you to Mr. DiClemente, January 8th,                  11   couldn't be perfect.
12   2009. So that's, I guess, the day after the last                 12   Q. Got you. So the part where "Mike and I both
13   exhibit.                                                         13   agreed that Ron should liquidate the NB fund," the
14           (Witness reviews document.)                              14   Neuberger Berman fund, as he "deemed prudent,"
15   Q. Have you seen this before?                                    15   again, that was putting it on Mr. LaBow as the
16   A. I have.                                                       16   investment manager to make the decision?
17   Q. And what is the -- what is it?                                17   A. I think we -- that comment is consistent with
18   A. It is a -- notes, takeaways from a                            18   every time we said, Ron, you do what you think is
19   conversation between myself, Michael and Ron and                 19   best. You're the expert. If you believe it should
20   Sally.                                                           20   be liquidated, then liquidate it, but as he felt it
21   Q. And Sally being Sally King, the attorney?                     21   needed to be done. If you need us to do something
22   A. I think at that time I didn't know her last                   22   to facilitate that, let us know.
23   name, so I put the question mark, but Sally was part             23   Q. And nothing in your notes here from the
24   of that.                                                         24   January 7th, 2009, call where Mr. LaBow said that he
25   Q. Okay. Take a look at that and let me know                     25   needed something from you, that Citibank or National


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 1   City wasn't recognizing his authority or there was                1   management person. If he wanted to hire them, he
 2   some other impediment?                                            2   could have hired them. We didn't have to hire them,
 3   A. I don't see anything in the notes saying                       3   he could have hired them. I realize that now,
 4   that. I can't recall today if there was something                 4   later, what he was saying.
 5   said on that or not, but I would say I'm a pretty                 5            Back then, I would have to say I don't
 6   good note taker. I probably drafted most of these.                6   know when I fully became aware of the impediment
 7   Then Mike probably reviewed them and edited them.                 7   that he was bringing up late in the game.
 8   If I don't see it in here, it probably wasn't                     8   Q. I got you. So the next-to-the-last paragraph
 9   discussed, but I can't say for sure.                              9   then in Exhibit 21, last sentence, "Mike replied
10   Q. Do you recall at any point in your                            10   when Ron deemed prudent and that, in each case, such
11   involvement with this, until you left the committee,             11   action was Ron's responsibility and that his
12   that Mr. LaBow said to you that there was some                   12   responsibilities had not changed."
13   impediment, that there was something that he needed              13            So that sounds as if the committee is
14   from the committee so he would be able to do his                 14   saying to Mr. LaBow it's up to him to make the
15   job?                                                             15   decision on the -- how the plan is invested going
16   A. I won't remember the dates, but I think at                    16   forward?
17   some point in time, well down the road, certainly                17   A. Any investment at any time was always his
18   not in January or early January, whatever, did he                18   decision. Whether it was -- he made them in the
19   ever say that I want to do this and I need you guys              19   past; he made them in the future. He had never
20   to do this so I can do my job. I do not recall him               20   sought guidance from us previous to once or twice
21   ever giving us an impediment to what he needed to                21   here when he's saying it. He always did what he
22   do.                                                              22   wanted to do, and I think he was very familiar with
23   Q. Do you recall what that was that he was                       23   what needed to get done if he wanted to do
24   asking you for?                                                  24   something.
25   A. He was at some point in time, probably in                     25            So any time he tried to make this


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 1   February, talking about this Neuberger Berman                     1   coauthored or, you know, ask for our guidance, I
 2   account.                                                          2   think we were very, very clear and emphatic that any
 3   Q. About getting a management agreement set up                    3   investment decision he needed to get done or he
 4   with them?                                                        4   thought was prudent, he should do it. He shouldn't
 5   A. About, I think, getting one signed. I think                    5   have to ask us.
 6   there may be a difference between having the ability              6   Q. Got you. Let me show you Exhibit 22.
 7   to do it -- I mean, he came from Neuberger.                       7          (Halpin Deposition Exhibit No. 22 was
 8   Q. Right.                                                         8   marked for identification.)
 9   A. I'm sure he knew everybody at Neuberger, and                   9   Q. Exhibit 22 has a heading of Minutes of
10   I'm sure they knew him.                                          10   Conference Call, Severstal Wheeling, Inc. Retirement
11   Q. Right.                                                        11   Committee. This is also January 7, 2009. Do you
12   A. So if he had a problem with it and he was                     12   know if Exhibit 21 was a draft of 22 or how they
13   managing it, I would have thought that he would have             13   relate?
14   asked for that way before February -- end of                     14   A. I'm going to say that they're the same,
15   February.                                                        15   because the meeting date and time are exact, January
16   Q. And you're referring to some sort of                          16   7th, 10 a.m. to 11 a.m.
17   agreement or contract with Neuberger?                            17   Q. The documents themselves aren't an exact
18   A. Yeah. And again, I have -- I'm going to have                  18   match.
19   to separate what did I know back in January, let's               19   A. No. Again, I would say it's the same
20   say, versus now.                                                 20   meeting, notes of the same meeting.
21   Q. Sure.                                                         21   Q. Sure. Do you know if one -- your notes,
22   A. I now realize there was an issue with the                     22   somebody -- Mr. DiClemente's or somebody else's, the
23   fee. I realize that the fee appeared to be                       23   other notes or whether there were different drafts
24   duplicative, so there was a question as to why we                24   or what the differences between them were?
25   needed them in the first place. He was the                       25   A. I don't know if this was a final draft of


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 1   that. I don't know if they were done separately. I          1   Q. Okay. Looking at -- it looks like there's a
 2   can't say. They're definitely from the same                 2   couple different issues being brought up. On top
 3   meeting.                                                    3   there, Mr. Bowness -- Amanda Pierce at Allegiant
 4   Q. Okay. It seems as if -- I should actually                4   Group, was that your trustee contact at National
 5   let you finish looking at it. It seems as if there          5   City, or what's your understanding?
 6   are a few other issues in this exhibit than the last        6   A. At that time I would have said I'm not sure
 7   one.                                                        7   who that was. In hindsight, I believe she is with
 8           (Witness reviews document.)                         8   Allegiant or National City. I don't know -- back
 9   A. There's a tail to it, yeah. There's a couple             9   then, I would say, this date, I don't know who she
10   paragraphs at the end of it.                               10   was.
11   Q. Okay.                                                   11   Q. Sure, sure. But just for making the record
12           (Witness reviews document.)                        12   clear, this is your new trustee who is involved in
13   A. Okay.                                                   13   these e-mails?
14   Q. On the second page there, next-to-last                  14   A. I believe that's true. I can't say with
15   paragraph, "Mike brought up the issue of fees."            15   certainty. I see Allegiant Group. I'm trying to
16   That's not in the first one.                               16   think Allegiant, National City, are they synonymous?
17   A. I don't see it in the first one.                        17   The name, I can't say. I can say that she was the
18   Q. Okay. It says, "Mike brought up the issue of            18   person we spoke to. On the trustee, I'm not sure.
19   fees." Again, the second-to-last paragraph on the          19   Q. Sure, if you're not sure.
20   second page.                                               20   A. Amanda Pierce. I remember the name, but it's
21            Just looking at that paragraph, are               21   a very vague name.
22   those fees -- is Mike bringing up the issue of the         22   Q. I'm just trying to make sense out of this
23   fees Mr. LaBow was charging or Neuberger Berman or         23   e-mail. The top e-mail from Mr. Bowness to Amanda
24   something else?                                            24   Pierce says, "Yes, Mike did call me. He is going to
25   A. Those are the fees that Ron was charging.               25   call Ron LaBow." Again, the date is January 8th.


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 1   Q. Okay. So it sounds, in that paragraph, that              1   "It seems as if the holdup with Neuberger was with
 2   Mr. LaBow was saying he would make up any losses by         2   the fees that they were going to charge us and Ron
 3   not charging fees and making better returns for the         3   was to talk with Neuberger to have the fees
 4   plans?                                                      4   reduced."
 5   A. The only thing I would say is I remember Ron             5              That seems consistent with one of the
 6   asking for his fees for November/December.                  6   previous exhibits we saw there that they were going
 7   Subsequently, he decided to waive those fees, but           7   to try to get the fees reduced from Neuberger. Is
 8   initially he had asked for them. So I don't know if         8   that a fair statement?
 9   that answers your question, but I would say -- he's         9   A. Yeah. And again, I would say at this time I
10   saying here or the notes say that he was giving some       10   would not really be able to fully appreciate what
11   concession to his fees based on feeling sorry or           11   that meant. Today, it's certainly my understanding
12   something, but -- I do remember him asking for them        12   that Ron charged a healthy fee. Ron now has an
13   and then in this meeting saying that he would waive        13   investment manager that he wants to now charge a
14   them.                                                      14   separate fee. They both do the same thing. What's
15   Q. Okay. Let me show you what we can mark as               15   with the repetitive fees. Somebody needs to cave a
16   Exhibit 23.                                                16   little bit on the fee structure here. So unless --
17           (Halpin Deposition Exhibit No. 23 was              17   if he wants to divvy up the fee between his own fee,
18   marked for identification.)                                18   why are we paying another guy to do what you're
19   Q. Just for the record, this is an e-mail -- the           19   supposed to do.
20   one on the top is from Mr. Bowness to                      20   Q. How were the fees handled when there was a
21   Amanda.Pierce@AllegiantGroup.com, January 8th, 2009.       21   commingled trust with Neuberger Berman and
22           (Witness reviews document.)                        22   Mr. LaBow?
23   A. Okay.                                                   23   A. I'm not sure how those fees were handled.
24   Q. Have you seen this before?                              24   Q. So it could be -- not that you know -- but it
25   A. I don't remember this one.                              25   could be that Neuberger Berman and Mr. LaBow were


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 1   charging the same fees for the commingled trust for           1   involved. Again, the only thing I knew that Rick
 2   November 3rd?                                                 2   did was these calculations for pensioners' benefits.
 3   A. I can't say I know what they did then. I                   3   Q. So I would assume if he was involved with
 4   just know in this particular case -- I now realize            4   paying out benefits from the trust, he would have to
 5   today that the problem was the redundant fee.                 5   have some contact with the new trustee or some
 6   Q. Right. I understand that. But it sounds as                 6   understanding or something like that?
 7   if you can't say today or at the time that that was           7   A. That sounds appropriate.
 8   a different situation, having duplicative -- I                8   Q. Let me show you what's Exhibit 24.
 9   shouldn't say duplicative -- anyway, a fee from               9          (Halpin Deposition Exhibit No. 24 was
10   Mr. LaBow and a fee from Neuberger from what the             10   marked for identification.)
11   situation was before the trusts were separated?              11          (Witness reviews document.)
12   A. I can't say I know -- I didn't know the                   12   Q. And this is just one page. It says
13   specifics of the fee structure of the WHX trust.             13   "Certificate As to Signatures." So the first -- so
14   Q. Were there any discussions with                           14   "Certificate As to Signatures, Severstal Wheeling,
15   Mr. DiClemente or anybody else that -- that the fee          15   Inc. Pension Plan Master Trust." So that was the
16   situation was different than it had been before?             16   name of the new trust that -- the new separate
17   A. I'm not aware of any -- I'm not aware of any              17   Severstal trust; right?
18   fee discussions, you know, when it was underneath            18   A. I believe so.
19   the WHX trust.                                               19   Q. "The undersigned, being a duly authorized
20   Q. Right. It seems to me if -- if the issue                  20   Officer of Severstal Wheeling, Inc. Pension Plan
21   came up that if we're being charged more fees than           21   Master Trust," and then I'm looking at the bottom.
22   we had been charged before when we were in the               22   Is that your signature?
23   combined trust, that that's something that should be         23   A. Yeah, that's my signature.
24   discussed. But it sounds as though --                        24   Q. Okay. So have you seen this document before?
25   A. I can't say either way on that one.                       25   A. I've seen it -- if I signed it, yeah, I


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 1   Q. Okay. The -- on the bottom of that page --                 1   definitely saw it.
 2   the only page, the first page there, it's from                2   Q. So it goes on to say, certifies -- I guess it
 3   Mr. Bowness to Amanda Pierce, and it says, "Amanda,           3   "certifies that the persons designated as follows
 4   Will you be sending Mike another form for him to              4   have authority to communicate written instructions
 5   have access? Rick."                                           5   on behalf of the Principal. The undersigned further
 6            That's sounds, to me -- and let me                   6   certifies that any instructions delivered by the
 7   know your understanding today -- again, you're not            7   Principal shall be signed by any 1 of these persons
 8   CCed on any of this -- that Mr. DiClemente was                8   and that the signatures set forth below are true and
 9   trying to make sure he had access to the new trust            9   genuine signatures of the person."
10   with the new trustee.                                        10            Did you know why -- and the date at
11   A. Yeah, I would have to tell you that it would              11   the bottom there is January 6th, 2009. Do you know
12   be difficult for me to tell you what I thought then.         12   why you would have been signing this as opposed to
13   Even as I read it now, I'm not going to say I know           13   Mr. DiClemente?
14   what that specifically means. It's kind of general,          14   A. I don't know if there would be a distinction
15   "have access."                                               15   between the two of us.
16   Q. Sure. Any tricky e-mails in the documents I               16   Q. And the signatures as to who can, I guess,
17   was going through --                                         17   communicate with the trustee, Mr. DiClemente is
18   A. Yeah, it's a vague -- it's a vague question,              18   listed there as, first vice president and treasurer,
19   so I don't know what Amanda was asking about Mike to         19   retirement committee member. Then it also goes on
20   get access. Or Rick. I'm not sure what access they           20   to Tim Rogers, Dave Bishof, Marsha Porter, Holly
21   were referring to.                                           21   Caseman and Rick Bowness. There are asterisks next
22   Q. And while we're at it, do you know why                    22   to Mr. Rogers, Mr. Bishof, Ms. Porter and
23   Mr. Bowness was involved in these conversations with         23   Ms. Caseman. And the legend there says, "Only have
24   Ms. Pierce?                                                  24   authority as it relates to benefit payments; no
25   A. I can't say I know why he's actually                      25   investment direction authority."


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 1            Is that a fair reading of the                            1   A. Yeah, yeah.
 2   document?                                                         2   Q. Now Mr. Bowness does not have two asterisks
 3           MR. JOYCE: I'll just object on                            3   next to his name, so that makes it sound, you know,
 4   speculation. I don't think we know or we haven't                  4   where it is two asterisk, "Only have authority as it
 5   established exactly what the document is. I know it               5   relates to benefit payments; no investment direction
 6   says master trust, but it doesn't say who's the                   6   authority," that makes it sound as if by being
 7   trust or who these people can give instructions to.               7   excluded that he does have investment direction
 8           MR. STRAWN: Well, sure, it says -- it                     8   authority. Is that a fair reading?
 9   says who the trust is in the first line -- the                    9           MR. JOYCE: Just object on the basis of
10   second line. And it -- it -- Mr. Halpin is signing,              10   speculation and form.
11   giving authority to these people to communicate with             11   A. I would say I would be adding some -- at this
12   the trust. It seems to be abundantly clear.                      12   point, I'm looking at it, I'd say I would be trying
13           MR. JOYCE: I think it says they have                     13   to give you some sort of insight that I would be --
14   authority to communicate on behalf of the principal.             14   I would be speculating as to what insight looking at
15   What I'm missing is the other party.                             15   that now, what that exactly means.
16           MR. STRAWN: Sure. Oh, right. This is                     16   Q. Okay. Do you know why you're not listed as
17   an attachment, I think, to the trust agreement.                  17   an authorized signer here?
18           MR. JOYCE: Probably, yeah.                               18           (Witness reviews document.)
19   Q. Okay. So anyway going back, Mr. Halpin, what                  19   A. I would be speculating what it would be. I
20   do you recall about this document?                               20   don't know why I'm not an authorized signer.
21   A. That I signed it.                                             21   Q. And do you know why Mr. LaBow wasn't listed
22   Q. Do you know why there are four individuals,                   22   as an authorized signer?
23   that I just read off, that have authority as it                  23           MR. JOYCE: Same objection on
24   relates to benefit payments, no investment direction             24   speculation.
25   authority?                                                       25   A. I mean, I'm going to say I don't know this to


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 1   A. Well, I don't -- I can't remember when Tim                     1   be all-inclusive. I don't know. I know when I
 2   joined. Obviously, Marsha, Holly and Dave are all                 2   signed it. I know these individuals. I would
 3   part of payroll, I believe, and benefits. They're                 3   probably know their signature, but I don't know if
 4   not part of the retirement committee.                             4   it's all-inclusive. I couldn't tell you if it is.
 5   Q. P/R is payroll?                                                5   Q. Got you.
 6   A. Yeah, payroll, payroll and payroll. So these                   6   A. -- it is -- this is it, and it's only this.
 7   three were part of a payroll. So I assume if there                7   Q. And it says there in the next-to-last
 8   was some kind of a payment being made, maybe they                 8   paragraph, "The persons designated above are the
 9   were involved for that reason, but I know they were               9   only persons entitled to act as authorized
10   not part of the committee. None of those four.                   10   representatives of the Principal." It sure sounds
11   Q. There wouldn't be deductions from employees                   11   exclusive. Anyway, if that's all you can recall
12   going into it. It would be contributions from the                12   about the document, that's fine.
13   employer going into the trust. Is that accurate?                 13   A. That's all I can recall about it.
14   A. Say that again.                                               14   Q. Okay. Now we're up to Exhibit 25.
15   Q. That there -- I'm just thinking about how                     15            (Halpin Deposition Exhibit No. 25 was
16   payroll might be connected to this. That there                   16   marked for identification.)
17   aren't going to be withholdings from the employees               17   Q. Take a look at that and let me know when
18   because it's not a traditional 401(k) plan where                 18   you've had a chance to look at it.
19   there are withholdings from people's paychecks that              19   A. Okay.
20   go into it.                                                      20            (Witness reviews document.)
21   A. They may be involved in the calculation, like                 21   A. I'll have to do a little reread again, but I
22   Rick was, into what the benefit payment may be. I                22   think that I've given it a cursory reading.
23   would only be speculating.                                       23   Q. Okay. It -- the document Exhibit 25 says,
24   Q. Sure. The payments going out as opposed                       24   "SWI Retirement Committee Discussion with Dave
25   to --                                                            25   Riposo, Corporate Treasurer, WHX Corporation,


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 1   Regarding Allocation of Assets in Conjunction With           1   Mr. LaBow?
 2   the Trustee Transition, January 14th, 2009."                 2   A. On January 14th, no.
 3            Have you seen this document before?                 3   Q. And you sound pretty sure of that. Why are
 4   A. I have.                                                   4   you saying that?
 5   Q. And was it in preparation for testimony, or               5   A. I would say in January, we were clearly under
 6   was it at the time, or is this your document or --           6   the impression that Ron could reset, to some degree.
 7   A. I would say, in general, every time we had a              7   We had WHX's concurrence with that. They were on
 8   meeting with WHX or Ron, we took notes of the                8   board with a reset. And I mean, Ron -- again, as a
 9   meeting. So I would say this was done at or near             9   20-year pensioner, I think Ron's performance was
10   January 14th.                                               10   stellar. The guy was a -- super performance in good
11   Q. So you -- if not the author, you contributed             11   and bad times.
12   or looked at it?                                            12            So if he's going to say he's willing
13   A. I would say, yeah, any of the meetings that              13   to reset in some degree and WHX is on board with
14   we had, I would have, at some point in time, been           14   that and I have a number one draft pick with a
15   involved in the note taking.                                15   2,000-yard season, I'm not getting rid of him. I
16   Q. All right. So it says in the first                       16   just want him to go back to the degree he committed
17   paragraph, "On January 14th, 2009, Mike DiClemente          17   to, say let's get -- if we can't get perfect, let's
18   and Dennis Halpin called Dave Riposo at WHX." Do            18   get a reset or a reallocation that's acceptable to
19   you recall that conversation?                               19   everybody.
20   A. I can't say I can affirm the date, but                   20            I don't think they fired him. I think
21   certainly we did have numerous calls in January with        21   he stayed there for quite a while. So if he's
22   Dave Riposo.                                                22   saying that, it's sort of ironic.
23   Q. Okay. The first numbered paragraph there is,             23   Q. The next-to-last paragraph there starts with,
24   "Confirm, and allow another SWI individual hear             24   "Dave asked us whether we understood the mechanical
25   directly from Dave, what Mike DiClemente heard from         25   considerations in doing so, specifically that we


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 1   him on December 31, 2008."                                   1   would have to enter into subscription agreements and
 2              That sounds as if Mr. DiClemente                  2   other documentation with each investment manager."
 3   wanted you on the phone to hear what Mr. Riposo was          3             Do you recall that?
 4   saying?                                                      4   A. I can't say I recall today, but again, if
 5   A. I would say that's fair.                                  5   it's in the notes, I would say it's -- there
 6   Q. Number two, "To advise him," being                        6   probably was some discussion on that. I don't think
 7   Mr. Riposo, "that our position on how the assets             7   we would have had a problem with it. If something
 8   were inequitably allocated between WHX and SWI as            8   needed to be done to get the allocation, we were
 9   part of the trustee transition has not changed."             9   more than willing to do it.
10              What did you take away from this                 10   Q. The next sentence, "We advised Dave that we
11   conversation with regard to Mr. Riposo and WHX's            11   are aware that Ron wants us to do that because we
12   attitude toward how the assets had been separated?          12   have already received documentation from two of the
13   A. I think that they were -- I think David was              13   existing managers that Ron wants us to use, once he
14   saying that they were fully in agreement with our           14   sells some of the holdings in the Neuberger Berman
15   intention to reallocate.                                    15   portfolio that Ron has (autonomously) assigned to
16   Q. Okay. When it says here, his immediate                   16   our pension plans. Dave asked and we confirmed that
17   reaction being, oh -- being Mr. Riposo -- his               17   we expect a portion of the Neuberger Berman account
18   immediate reaction was, "If I were you, I would fire        18   to be allocated to WHX."
19   Ron."                                                       19             Let me take that separately. So do
20              Do you recall him saying that?                   20   you recall who the two other existing managers were
21   A. I can't say I recall today he said that, but             21   that Mr. LaBow wanted you to use?
22   if it's in the notes, I'd say he probably said it.          22   A. I can't say -- I can't say today that I
23   Q. I got you. At this time, January 14th, 2009,             23   remember who they would be.
24   had you had any discussions with Mr. DiClemente or          24   Q. Okay. I assume they were managers from the
25   anybody else regarding getting rid of or firing             25   commingled trust?


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 1   A. I would say that's a fair assumption.                     1   go out to the -- you know, the employer sponsor?
 2   Q. And then the last sentence, "Dave asked and               2   A. I would say that I -- I can't speak to did it
 3   we confirmed that we expect a portion of the                 3   go out to them. I just know he sent it to the
 4   Neuberger Berman account to be allocated to WHX."            4   committee members in preparation for a meeting. Who
 5            So that goes to what you were                       5   else he may have sent it to, I don't know.
 6   testifying to about WHX -- I think you said being on         6   Q. All right. Getting back to before we took
 7   board to taking its share of the Neuberger Berman            7   that segue, the last paragraph on the third page
 8   account back?                                                8   there, "Transition to Severstal. Following up on
 9   A. I would say it's almost like a Catholic                   9   prior e-mails regarding the need for a transition to
10   annulment; right? Let's forget that one and go back         10   Severstal given the departure of most of the
11   and say we just want to reset to an -- they owned a         11   previous Committee members, Mel Baggett, Mike Clarke
12   share of it before it was separated, so they should         12   and I spoke in December about the need to
13   take their fair share of that asset.                        13   reconstitute the Retirement Committee. We currently
14   Q. Okay. Let me show you the next exhibit.                  14   have targeted mid-February 2009 for an orientation
15   Exhibit 26.                                                 15   meeting to provide an overview of the Committee
16           (Halpin Deposition Exhibit No. 26 was               16   responsibilities and assess the direction of various
17   marked for identification.)                                 17   outstanding projects."
18   Q. This is another e-mail that you're not on,               18            Are you familiar with that being an
19   from Mr. DiClemente, January 14th, 2009, to Drew            19   issue, reconstituting the retirement committee?
20   Landon. For the record, can you say who Drew Landon         20   A. We definitely had -- had lost some head count
21   was.                                                        21   on the retirement committee from where it typically
22   A. I want to say Drew was the assistant                     22   was. So I think we would like to have had, you
23   treasurer. He worked in the treasury department.            23   know, a certain number, but to that point -- I'm
24   I'm not sure if he was assistant treasurer. He              24   going to use a sports analogy, so forgive me -- if
25   was a Severstal Wheeling treasury department                25   I've got Sally King on board and I've got Mike


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 1   individual.                                                  1   DiClemente on board, I've got Steph Curry and Kevin
 2   Q. So let me refer you to the last paragraph on              2   Durant, I have a pretty good team of people. It
 3   the third page. You can finish taking a look at it.          3   would be healthy to have a couple more people
 4   A. I'm sorry.                                                4   representing us, but I've got -- I've got some, you
 5          (Witness reviews document.)                           5   know, MVPs representing the ERISA compliance side
 6   Q. Before you flip pages there --                            6   and the technical committee side. So I felt pretty
 7   A. Sure.                                                     7   good.
 8   Q. -- the subject line says, forward "SWI                    8   Q. So it says, "Mel Baggett, Mike Clarke and I
 9   Retirement Plans - Quarterly Investment Performance          9   spoke." Does that mean Mr. DiClemente spoke to
10   Reports for" third quarter 2008.                            10   Mr. Baggett and Mr. Clarke about joining the
11           Is that something that the committee                11   committee? Do you have an understanding of that?
12   did, sending out quarterly reports to other                 12   A. I don't know. I mean, Mel Baggett was the HR
13   individuals in Severstal?                                   13   guy out of Severstal in Dearborn, and Mike Clarke, I
14   A. I can -- I can only say that as a committee              14   want to say he was the HR VP out of Wheeling. So I
15   member, that the procedure we followed was Mercer           15   don't know if he was asking them to become members
16   would do an evaluation of the quarterly performance,        16   or just wanted to discuss with them because they
17   they would send that to Mike. Mike would then kind          17   were part of the HR department.
18   of add his input to their report. Typically, he             18   Q. Are you aware of any discussions from, I
19   would then send that to us, schedule a meeting, and         19   guess, going back to where we started back in June
20   then we would go through a discussion about the             20   of 2008 when the trusts were being separated, about
21   performance and the comments that he had on it. If          21   recruiting or asking other individuals to join the
22   there wasn't a meeting, then he would tell us all to        22   committee? To join you and Mr. DiClemente?
23   provide input to him.                                       23   A. I would think as members left, I think there
24   Q. Okay. And was that just within the                       24   was discussions about, you know, replacements that
25   committee, between you and Mr. DiClemente, or did it        25   could join the team.


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 1   Q. Do you recall any, specifically?                               1   looking back would be whether there were any losses,
 2   A. Mike would typically try to get a team that                    2   and the issue going forward would be we want to make
 3   was HR, legal, finance, what have you. So typically               3   sure we have a diversified portfolio that's right
 4   to build up a -- I would call a balanced team to                  4   for us. Is that a --
 5   represent the committee, that would typically be it               5   A. I would say that's wrong. I would say we
 6   versus a named person.                                            6   were always looking for, first, a diversified
 7   Q. So it wasn't a matter of getting people to                     7   portfolio. I mean, if Ron told me last night he bet
 8   share the work. It was a matter of getting people                 8   on the Jets minus three and doubled our money, I
 9   with different "disciplines," for lack of a better                9   would say that's great performance as a pensioner.
10   word?                                                            10   That's a horrible thing to do for a fiduciary.
11   A. I think he tried to put a team together with                  11            So performance was -- I'm not going
12   disciplines that could provide a certain value. You              12   say part of the equation, but clearly the question
13   didn't need six linebackers. I mean, at that point               13   here was that he had violated our guidelines in
14   in time, it's like let's get a running back, let's               14   terms of diversity, and so we wanted to make sure
15   get a quarterback, let's get a good complement.                  15   that, as a fiduciary, that that investment portfolio
16   Sorry for the sports analogy again.                              16   was an equitable diversified portfolio.
17   Q. Okay. Let me show you what's Exhibit 27.                      17            But the losses, I'd say, I mean, that
18           (Halpin Deposition Exhibit No. 27 was                    18   wasn't -- it wasn't like if he gained money we were
19   marked for identification.)                                      19   okay with the allocation.
20           (Discussion held off the record.)                        20   Q. I'll disagree with you to the extent that the
21   Q. Mr. Halpin, this is an e-mail that, for a                     21   conversations in the documents that we've seen
22   change, has your name on it, from Mr. DiClemente to              22   aren't what's your plan for a diversified portfolio;
23   you, January 15th, 2009. Take a look at that.                    23   it's we want what we had. Would you agree with
24   A. Okay.                                                         24   that?
25           (Witness reviews document.)                              25           MR. JOYCE: Object to form.


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 1   A. Okay.                                                          1   A. We always wanted a diversified portfolio. If
 2   Q. All right. So the body there says, "Dennis,                    2   we could get a perfect allocation, that's a
 3   If LaBow balks at the (modified) reset" -- I take                 3   diversified portfolio. If I could get -- if I could
 4   that part to mean modified reset as in it can't be a              4   play with 70 percent of the fund managers and 70
 5   perfect reset, a perfect 10 percent of the                        5   percent of the assets, I would say that's probably
 6   pre-November 3rd, 2008, asset mix?                                6   was acceptable, but tell us which ones -- and I need
 7   A. I was nodding my head. Sorry. I would say                      7   to know why I can't participate in some of the
 8   that's fair.                                                      8   others.
 9   Q. And then it goes on, "rather than advise him                   9             It's as important to find out why I
10   that he is accountable for the losses." Had you                  10   couldn't participate in them, as opposed to why
11   made a determination at that point, January 15th,                11   these ones I could participate in and to the degree
12   that there had been losses to the plans?                         12   that I could, which there clearly were more than
13           MR. JOYCE: I'll just object to the                       13   Neuberger Berman. Clearly. He even admits that
14   extent it's seeking legal opinion or an expert                   14   several times. I don't understand why you only gave
15   opinion on what losses were or were not incurred.                15   me one. That's clearly not acceptable. Is three
16   A. I -- I don't -- I'm not aware that we had                     16   acceptable? Let me see the detail, and then I can
17   actually tried to calculate the loss. I don't think              17   tell you.
18   that, even though I see that in there, that was                  18             So our thing was that you didn't give
19   never really the intent. The intent was to try to                19   us, you know, Neuberger Berman, and it's at 40
20   get that fair allocation, if we took a fair share of             20   percent today, this is great, keep going. It was,
21   the loss or the gain, whatever. Maybe it was a fair              21   what you gave me was unacceptable, and I need, as a
22   share of the allocation. I can't speak to why                    22   fiduciary, to have a diversified fund.
23   that's specifically in there.                                    23             So I mean, I'm not saying performance
24   Q. It seems to me if you broke it down looking                   24   isn't part of that. I wanted the same performance
25   forward versus looking back, that the issue of                   25   that I would have had if I had had the original


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 1   reset. That's what I wanted. I don't want more.               1   Q. So going down to the third full paragraph it
 2   I'm not trying to get more. I just want the same.             2   says that, "Mike then advised that the Committee had
 3   Q. It goes on to say, "I'm thinking that an                   3   decided that Ron needs to reset the portfolio using
 4   alternative would be to seek recourse with WHX by             4   those investments for which there are no transition
 5   convincing WHX that they are implicated in this               5   issues." I take it the ones he could easily split
 6   allocation by accepting assets that were inequitably          6   up 90/10. Is that your understanding?
 7   distributed."                                                 7   A. Yeah. Any one that could have been allocated
 8             I take that part of the sentence                    8   to us at the time, you know, besides Neuberger
 9   meaning that WHX got more than their fair share --            9   Berman, we were looking for him to use those as a
10   is probably a better way to say it -- of the assets          10   blend of how the allocation should have gone.
11   in a commingled trust?                                       11   Q. Got you. Then the sentence goes on, "and
12   A. I remember distinctly saying, I don't want                12   that Ron should present his recommended plan of
13   more than I should get or less than I should get. I          13   reallocation to the Committee for our review."
14   just want what I should get. So when they say -- I           14            This is, to my understanding, the
15   think the comment that that's making is, if we get           15   first time it comes up in the documents that the
16   them on board and both of us talk to Ron and we both         16   committee wanted a plan from Mr. LaBow. Do you know
17   agree that there needs to be a reallocation --               17   when you started to first ask Mr. LaBow for a plan?
18   Q. Right.                                                    18   A. I mean, it seems that gets more formal here.
19   A. -- that makes, I think, the resolution a much             19   I want to say the first time we had a meeting with
20   smoother resolution. WHX had told us numerous times          20   him, we clearly said we need to reallocate. I mean,
21   that they were fully on board. So our attitude was,          21   "plan" is may be a more formal word to use. But I
22   let's get them and us to join together to tell Ron           22   would say the first two minutes I spoke to him in
23   we both agree that there needs to be a reallocation          23   January, it was clear that we wanted a reallocation.
24   here. Now let's do it.                                       24   Q. Okay. What do you take it to mean here in
25   Q. Okay.                                                     25   this document, "that Ron should present his


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 1   A. I get a little -- it's the caffeine kicking                1   recommended plan of reallocation to the Committee
 2   in.                                                           2   for our review."
 3   Q. Let's mark Exhibit 28.                                     3   A. I believe that we were starting to get some
 4           (Halpin Deposition Exhibit No. 28 was                 4   confusion as to what items couldn't be allocated,
 5   marked for identification.)                                   5   what kind of restrictions there may be. And instead
 6   Q. Just for the record, Exhibit 28 is a two-page              6   of getting fragmented comments on each call, why
 7   document. It's titled the "Minutes of Conference              7   don't you put it in writing, and let's get a formal
 8   Call, Severstal Wheeling, Inc. Retirement Committee,          8   plan so we can understand this better.
 9   and it's dated January 16th, 2009. Take a look at             9   Q. Okay. It looks like it went on to discuss
10   that, Mr. Halpin.                                            10   individual plans that you could get into and you
11   A. Okay, yes.                                                11   could not get into. So you got into that level of
12           (Witness reviews document.)                          12   detail, speaking about the individual funds?
13   A. Okay.                                                     13   A. Again, I would say any time Ron spoke, it was
14   Q. All right. Have you seen this document                    14   never a complete thought. This happened to be
15   before, Mr. Halpin?                                          15   examples of where maybe we could have. I believe
16   A. I have.                                                   16   there were other ones that were also being -- but
17   Q. So it looks as if this is notes from a                    17   again, here's another one of his isolated, you know,
18   conference call on January 16th with you and                 18   pieces of the puzzle examples. So I don't think
19   Mr. Halpin and Mr. LaBow. Do you recall that --              19   that this in any way was, you know, all of them. It
20   that call?                                                   20   was just some of them.
21   A. I don't recall that specific date, but I                  21   Q. Sure, I got you. Going to the second page,
22   would say, again, it's one of the many conversations         22   the fourth paragraph from the bottom of the page
23   we had with Ron and/or Mike, Dave Riposo. So I               23   there. "He conveyed that he was puzzled as to 'why'
24   would say, yeah, that seems to represent what this           24   we continue down this (reset) path, citing that
25   is, January 16th meeting conference call.                    25   there would be costs and adding that he would


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 1   'prepare a writing' indicating that 'such action                  1   he thinks he can do it.
 2   would result in added fees and lower asset values,'               2            Once the redo is completed -- that's
 3   and that he would formally advise against such                    3   the whole purpose of the plan. Why don't you show
 4   action."                                                          4   us the plan, what you're going to do, and we can say
 5            Do you recall discussing that with                       5   that's acceptable. I'm just saying does it fit our
 6   him?                                                              6   guidelines? I'm not going to judge him. He could
 7   A. I can't say I remember that specific                           7   have gone out and done it. I think we were very
 8   discussion here today, but obviously if it's in the               8   clear about what we wanted that to be.
 9   notes here, I would say we did have that discussion.              9            So to that point, I would say -- if I
10   Q. Do you remember, if not this phone call, any                  10   can do it, I will. Yeah, he just told us he can do
11   other conversations with Mr. LaBow that doing a                  11   something because he just highlighted three things
12   reset would harm the plan or raise costs or                      12   he could do. To the point that he says once it's
13   something like that?                                             13   done, I don't know if that's he's trying to threaten
14   A. Again, I think our focus was compliance with                  14   us or caution us. Show us the plan before you do
15   the guidelines. So if that happened to cost                      15   it. We would appreciate that. He didn't have to.
16   additional amounts or if we participated in an                   16   He could do whatever he wanted at that time. We
17   acceptable allocation that the fund may lose a                   17   would appreciate seeing a plan so that we could all
18   value, again, I go back to the betting on the Jets.              18   agree it's proper.
19   It wasn't necessarily that performance dictated                  19   Q. Just moving a sentence or two ahead there,
20   acceptance. It clearly was we want our equitable                 20   next-to-the-last sentence in that paragraph, "Mike
21   share. We don't want to be injured or benefited,                 21   had to emphatically reply that he did not want Ron
22   nor do we want WHX injured or benefited. We just                 22   to take any action prior to providing us with his
23   want to have an acceptable split that as a fiduciary             23   formal allocation plan, specifically stating, "Don't
24   we could say follows our guideline. So if there                  24   act until you show us the allocation. Ron paused,
25   were additional fees, I would assume those fees                  25   seeming to then fully grasp what Mike was asking


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 1   would be borne by both sides.                                     1   for."
 2   Q. Now, along the lines of what you testified to                  2             It seems to me from reading that that
 3   earlier, the second-to-last paragraph there starts                3   you're clipping Mr. LaBow's wings. No, you don't
 4   with, "Ron then strongly reacted to our reset                     4   have authority to act. You've got to give us a plan
 5   request, stating, 'If I can do it, I will do                      5   before you act.
 6   it...once you tell me to do it, I'm going to do it,'              6   A. You know, we could say that. We could say,
 7   and that we would not have an opportunity to assess               7   we'd like to see this. He could have still done --
 8   it and ask him to re-do it once it's completed."                  8   he still had the full power to do whatever he
 9            Do you recall that part of the                           9   wanted. We can make it a strong, you know,
10   conversation?                                                    10   intention of ours to say don't do anything, but he
11   A. I'm going to say I don't recall here again                    11   still had the full authority to do prospectively
12   today. Sorry to be repetitive. I don't recall here               12   what he wanted to do, currently, back. I don't
13   again today, but I would say, if it's part of these              13   think -- I think by us saying that, it doesn't strip
14   notes, I would say that that discussion did happen.              14   him of his authority. We're strongly saying we
15   Q. Do you recall that, just in general, from any                 15   would like to see it.
16   of the conversations with Mr. LaBow?                             16   Q. So the retirement committee who is employing
17   A. Do I recall --                                                17   Mr. LaBow tells him don't act until you show us the
18   Q. Him saying that if I can do it, I will do it,                 18   allocation, and he can ignore that and say but the
19   but then you may not have the opportunity to undo it             19   agreement you signed says I can act, so I'm going to
20   once it's completed, or something along those lines?             20   do it despite what you told me?
21   A. Again, I'll go back. I can't say I knew back                  21   A. We would hope that he wouldn't do that. I
22   then, but clearly he said he would do it on December             22   don't think he ever was -- lost his full authority,
23   30th with Sally King and Michael. This isn't the                 23   stripped of his full authority. He always had full
24   first time he's saying I can do it and I will do it.             24   authority. I could fire him the next day if he did
25   Here we are on January 16th that he's still saying               25   it and didn't tell me. I have that ability to do


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 1   that. I would hope that if he didn't do it again,               1   and then provide you with any feedback in order to
 2   maybe I would think about, hey, maybe this guy is               2   assure that both parties are mutually satisfied with
 3   just not listening to what we're asking for. I                  3   the final allocation."
 4   certainly have that authority. I don't have the                 4            Did you ever get such a plan from
 5   investment authority. That's him.                               5   Mr. LaBow?
 6   Q. All right. Let me show you the next exhibit,                 6   A. I don't believe we ever got a formal plan
 7   29.                                                             7   from him. I believe he may have sent an e-mail
 8           (Halpin Deposition Exhibit No. 29 was                   8   with, again, some examples or reasons, but I don't
 9   marked for identification.)                                     9   believe we ever received a formal plan.
10   Q. This is two pages. The first page looks like                10   Q. Right. And then it goes on to, as to
11   the e-mail, and the second page looks look the                 11   "identify in writing those accounts that cannot or
12   attachment. Take a look at that, will you,                     12   should not be proportionately allocated," and the
13   Mr. Halpin.                                                    13   "reasons for such treatment," and "how you are
14           (Witness reviews document.)                            14   recommending equitable allocation of those assets
15   A. Okay.                                                       15   among the remaining (or substitute) investments."
16   Q. Okay. So the first -- first page there, the                 16            I guess that goes back to what you
17   e-mail is from Mr. DiClemente dated January 20th,              17   were saying about diversifying it and mimicking -- I
18   2009, and it's to Mr. LaBow, CCing Ms. King, you,              18   know that wasn't your word -- the original
19   Mr. Halpin, and Dave Riposo, and the subject line              19   commingled trust funds?
20   is, "Reallocation of Assets from the WHX Master                20   A. Yeah, I think -- again, I think this is --
21   Trust."                                                        21   you could almost take this and put it in I can't
22            "Ron, confirming our discussions on                   22   tell you how many places. I don't think we ever
23   January 16th" -- which is, I guess, the phone call             23   wavered on our instruction. I don't think it was
24   that we were just talking about on Exhibit 28?                 24   ever ambiguous what our instruction was.
25   A. Okay.                                                       25            While he seemed to have some very


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 1   Q. -- "attached is the letter outlining our                     1   granular detail why certain things couldn't happen,
 2   understanding of how we will proceed with the                   2   I don't know why a guy at his level couldn't figure
 3   reallocation of assets from the WHX Master Trust."              3   out exactly what all we were asking for. It's a
 4            Mr. Riposo wasn't included on the                      4   pretty simple request. I thought it was fairly
 5   phone call but you're including him on -- or                    5   clear what the request was. But it was very
 6   Mr. DiClemente included him on the letter, in the               6   difficult to pin him down to give that.
 7   e-mail here, I guess to include him on what the plan            7   Q. You don't have any idea as to why that was
 8   was that you wanted to have going forward?                      8   the case, that he wasn't more forthcoming to what
 9   A. I would only be guessing, but I assume since                 9   you were requesting?
10   we talked to David previously to that about what we            10   A. I would be speculating with Ron's
11   intended to do that it was probably a copy showing             11   personality. If you met Ron, you know his
12   David that we're making this request now from Ron,             12   personality. I sometimes equate him to Colonel
13   which he would have spoke to him previously.                   13   Jessup in "A Few Good Men." I think he just thought
14   Q. Okay. Looking on the second page there, the                 14   somehow that performance dictates anything,
15   letter January 20th, 2009, to Mr. LaBow from                   15   including incorrectness, and if I perform well, then
16   Mr. DiClemente and CCing you and Ms. King and                  16   what's the problem. And I think he, at some point
17   Mr. Riposo. Again, the first paragraph talks about             17   in time, must have, in hindsight, missed a key part
18   the Severstal trust getting its proportionate share            18   of our intention.
19   of the assets in the WHX trust.                                19            But I would sit here and tell you that
20            The second paragraph, "Please prepare                 20   this, to me, continues to be extremely clear,
21   a written plan to reallocate the assets                        21   extremely simple, extremely consistent, and yet we
22   retroactively as of the transition date and provide            22   never really got what I would call an acceptable
23   that plan to both the WHX Pension Investment                   23   product out of him. Complete product.
24   Committee and the SWI Retirement Committee for our             24   Q. I know I'm jumping ahead a little bit, but at
25   collective review. We will work together with WHX              25   what point did it get to the point where you thought


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 1   he wasn't being responsive and you had to replace              1   him. I think there's a guy, Louis Finney, and maybe
 2   him or do something else?                                      2   a couple other names that were Mercer that Mike
 3   A. I can't tell how late in the game that was.                 3   dealt with. So I'd say those roles were, probably
 4   Again, certainly when WHX was on board with us,                4   for some time best performed by Michael. When I
 5   which was for quite some time. And Ron said he                 5   came on board, those were items that he -- I'm not
 6   couldn't perfectly do it, and I'm going to give                6   saying was responsible for, but as a practice,
 7   him -- again, as a pensioner, I thought the guy was            7   that's what he did.
 8   fantastic. I mean, he did stellar in good times; he            8   Q. And just for the record, this came up before,
 9   did stellar in bad times.                                      9   do you know how to spell Mr. Finney's last name?
10             Who would I put in his place because                10   A. I'm -- this is like the spelling bee; right?
11   this guy can perform in any type of season and                11   I'm going to say F-I-N-N-E-Y, but I can't say for
12   environment. So I'm not going to lose this guy                12   sure. I think that's what it is.
13   because he fumbled the ball once, if he can recover           13           MR. JOYCE: That's my understanding.
14   the ball. And so to the degree that he had the                14           MR. STRAWN: Okay.
15   ability to reset, and to the degree that we had               15           THE WITNESS: I think that's it. That E
16   WHX's concurrence, I think there was never a time             16   I'm not a hundred percent sure. I think it's
17   where we thought about replacing him. Let's just --           17   F-I-N-N-E-Y. Louis, I know that one.
18   let's just reset this thing and move forward.                 18   Q. Let me show you Exhibit 30.
19             So I can't tell you when there became               19           (Halpin Deposition Exhibit No. 30 was
20   a time that we felt that Ron wasn't going to do it.           20   marked for identification.)
21   It was very late in the game. There was a time that           21   Q. For the record, this is an e-mail from
22   Glen Kassan, the WHX chairman of their committee,             22   Mr. DiClemente dated January 23rd, 2009, to
23   had kind of reversed their opinion, late in the               23   Jacquelyn Thomas, and you have a CC, and Mr. Bowness
24   game, which then kind of gave us a different                  24   has a CC. The subject is "Direction Letter to Ron
25   assessment of how that was going to work. Maybe you           25   LaBow Regarding Reallocation of WHX Trust Assets -


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 1   have something here.                                           1   Privileged and Confidential," and the attachment
 2   Q. That's coming up.                                           2   says 1-20-09. So it makes me think that the
 3   A. So I'd say -- but for a very long time, if he               3   previous exhibit, No. 29, is the one it's referring
 4   had said at the beginning, I'm not willing to do               4   to. Does that sound right to you?
 5   this, guys, and WHX would have said, we're unwilling           5   A. I can't say that it's, you know, a derivative
 6   to do this, go pound salt, I think we probably would           6   of that. I can only say that, again, I think
 7   have had a different strategy.                                 7   Michael knew that area better than I did. The fact
 8             Again, all this time, we are under                   8   that he's saying this, I think, is just giving a
 9   what I could call counsel, expert ERISA counsel. So            9   heads-up to the Allegiant Group that there may be --
10   it's not like we're, you know, every time we're not           10   if, in fact -- somebody made the assertion that
11   asking Sally, what do you think. I don't think I              11   you're going to have to sign these new investment
12   can get into what her comments were, but this wasn't          12   agreements, et cetera, I think he's just giving them
13   done in a vacuum. This was done with regular                  13   a heads-up that there may be some homework coming.
14   consultation of McGuireWoods. It wasn't two finance           14   Q. Okay. So the body of the e-mail reads,
15   guys sitting and saying what do you think we should           15   "Jacquie, Following our discussion (you, Rick, and
16   do.                                                           16   myself)" -- that would be Mr. Bowness; right? Rick.
17   Q. What about Mercer; did you have any                        17   A. Yeah.
18   discussions with Mercer along the way about                   18   Q. -- "today, attached is the letter we sent to
19   reallocation, up to this point January 20th, 2009?            19   Ron LaBow directing that the assets be reallocated
20   A. I -- again, I have to defer to Mike's --                   20   between WHX and SWI pension plans" -- and just to
21   Mike's background being what it was, he was -- he             21   interrupt there. WHX had a different trust at that
22   was the go-to guy for WHX, he was the go-to guy for           22   point. They weren't the same -- they didn't have
23   Ron LaBow, and he was the contact for Mercer. So he           23   the same trustee that you did; is that correct?
24   would get the information.                                    24   A. I would assume that's correct. I can't say I
25             When Mercer sent it, they sent to it                25   know for sure.


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 1   Q. Okay. Back to the sentence -- "that resulted                    1   marked for identification.)
 2   from the trustee transition that pre-dated your                    2   Q. Just for the record, it says "Minutes of
 3   involvement. Ron needs to present his plan, SWI and                3   Conference Call Severstal Wheeling, Inc. Retirement
 4   WHX need to agree, and we need to enter into direct                4   Committee" meeting, and it looks like it says,
 5   investment management agreements with each of the                  5   teleconference, January 26th, 2009. Have you seen
 6   managers that will permit execution of the                         6   this document before?
 7   reallocation. There is a lot of work ahead of us.                  7   A. I don't recall it, but again, if it's a
 8   Thank you for your patience as we work through this                8   meeting that happened in January, there were many of
 9   process.                                                           9   them. I see my name on it. I would say I was
10            "As discussed, we'll follow up with                      10   certainly involved in it.
11   another letter regarding the assets that currently                11   Q. Take a look at it just to be a little
12   reside in our account."                                           12   familiar with it.
13            What was the purpose of this letter?                     13           (Witness reviews document.)
14           MR. JOYCE: Objection just to                              14   A. Okay. I may need to reread a particular
15   speculation. It wasn't written by this witness.                   15   paragraph depending on what your question is.
16   A. I see I'm copied on it, but again, I wasn't                    16   Q. Sure, sure. The second paragraph on the
17   in the discussion. I would say I'm not a hundred                  17   first page says, "This meeting was held pursuant to
18   percent sure. It may be a result of a discussion                  18   Ron's request." That just seemed different than
19   that they had, but I was not in that discussion.                  19   some of the other conference call minutes that I've
20   Q. Did you have any discussions with -- you                       20   seen, that this one said specifically that it was
21   yourself -- Mr. DiClemente or anybody else about                  21   Mr. LaBow's request. Does that stand out to you at
22   directions given to the trustee, Ms. Thomas there?                22   all?
23   A. I can't recall if there -- if there was a                      23   A. I would -- I would say that we probably
24   need to or whatever. I'm not sure why he actually                 24   initiated most of them, so if it says Ron wanted to
25   wrote that. I would say I had discussions shortly                 25   have this one, probably it was Ron. But that


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 1   before that about the need to do this and who was                  1   probably wasn't the typical.
 2   going to be involved. But as to this particular                    2   Q. And the way I'm kind of reading the notes
 3   phone call and/or this follow-up discussion, I'm not               3   here, it seems like it's a slightly different issue
 4   sure.                                                              4   that's being brought up about lending out
 5   Q. While it's not saying it directly in this                       5   securities. So I don't know if that triggers any
 6   letter, the -- the inference that I'm making is that               6   recollections.
 7   don't accept any trade directions from Mr. LaBow.                  7   A. I mean, I remember there was something back
 8   A. Oh, I don't get that at all. I don't see                        8   in that time period where Ron was concerned that
 9   that.                                                              9   certain custodians may be lending securities out,
10   Q. So what do you think --                                        10   maybe he heard it, read it somewhere, and he wanted
11   A. I think it's a courtesy heads-up that there's                  11   to make sure that that wasn't happening in our
12   stuff that may be coming and don't take a vacation                12   place. So he had just brought up that issue. So
13   or something. I don't think there's any issue here                13   that was certainly one of the things that he talked
14   that's saying do not take any instructions from him.              14   about, just wanted to get confirmation that we were
15   I don't see -- where does it say that?                            15   not doing it.
16   Q. Sure, sure, it doesn't say that, but what --                   16   Q. Okay. But I guess the third paragraph is
17   what role would the trustee have in approving                     17   kind of long.
18   Mr. LaBow's plan?                                                 18   A. Yeah, it's a long one.
19   A. I can't say -- I don't know what that -- I'm                   19   Q. About midway down there, there's a sentence,
20   just thinking you're asking me what my opinion of                 20   "Mike expressed his surprise and confusion over this
21   this is. I believe this is a courtesy heads-up that               21   (i.e., that Morgan Stanley would have some issue as
22   there's work coming. That's all I can make out of                 22   to the level of any given custodial account based
23   it.                                                               23   solely on value), but Ron repeated that (sic) Morgan
24   Q. Okay. Let's go to Exhibit 31.                                  24   Stanley simply won't do it, adding that Morgan
25           (Halpin Deposition Exhibit No. 31 was                     25   Stanley wouldn't handle an account nowadays below


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 1   $50 million."                                                      1   Exhibit 32, a letter from Mr. LaBow. That's two
 2             Do you see that sentence?                                2   pages. Take a look at it and see if you recall it.
 3   A. I do.                                                           3           (Halpin Deposition Exhibit No. 32 was
 4   Q. Do you recall that being discussed?                             4   marked for identification.)
 5   A. I can't say today I recall that, but as I                       5           (Witness reviews document.)
 6   read it, to me that goes back to my confidence in                  6   A. I almost took my pen out and was going to
 7   what Mike knows about that business. I can't say                   7   start to highlight one or two things. I don't want
 8   that I could offer any value to both what they're                  8   to touch the exhibit.
 9   saying, but I think Mike knew well enough about it                 9   Q. Do you want one to write on? I have an
10   that he was confused and so he mentioned it. Ron                  10   extra.
11   responded. But again, if it's in the notes, I'm                   11   A. No, no, it's just instinct.
12   sure it was discussed, but the two of them were                   12           (Witness reviews document.)
13   talking a little bit foreign to me.                               13   A. Okay.
14   Q. Mr. LaBow said at his deposition something to                  14   Q. All right. On the first page there it says,
15   the effect that, I guess at this time period,                     15   February 4th, 2009. It's a letter from Mr. LaBow,
16   January 2009, that fund managers were -- didn't want              16   and it's addressed to Mr. DiClemente and you. Did
17   to open new accounts and were raising what minimums               17   you both have your office in Wheeling?
18   were. The import I took from it was that things                   18   A. Yeah.
19   weren't the same as they were November 3rd, 2008, in              19   Q. Okay. And on the second page, I see a CC
20   terms of being able to open the same accounts.                    20   goes to Glen Kassan. My understanding was he was at
21   That's not elaborated on here in these notes. Do                  21   WHX.
22   you recall that at all?                                           22   A. He had some big title at WHX, but I know he
23   A. I don't recall it, but -- if I can just --                     23   was the retirement -- the chairman of the retirement
24   I'm going to go back to a prior document and say we               24   committee at WHX.
25   asked him to specifically cite those exact items.                 25   Q. Okay. And another CC to Sally King, your


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 1   So if the climate has changed, just tell us that the               1   attorney. The next CC was to Jim McCabe. Was he
 2   climate has changed. I mean, again, here we give                   2   also at WHX?
 3   him a week before that, give us this, and now he's                 3   A. He was a retirement -- he had a WHX position,
 4   calling up, giving us examples and not fulfilling                  4   and he was a retirement committee member of WHX.
 5   what was asked for.                                                5   Q. The next name -- and I'm going to
 6             I mean, telling us, again, you're                        6   mispronounce it -- Manes Merrit, Esquire. Do you
 7   giving us a new piece of information. The next day                 7   know who that individual was?
 8   Morgan Stanley couldn't do this, the next day he'll                8   A. I don't.
 9   tell us that Procyon couldn't do this. I think it                  9   Q. I would speculate that that's WHX's attorney,
10   was very clear a week earlier what exactly we asked               10   but I'm not sure.
11   him to do. I think Mike says it here if I read it                 11   A. It wasn't ours, yeah.
12   right. He said, Ron, give it to us in writing                     12   Q. And the last one, David Riposo, and we
13   again. Ron, just write it down. I shouldn't have                  13   already covered that he was from WHX.
14   to write it in these notes. I guess I would have to               14   A. Yeah.
15   take this table up and put a puzzle together and                  15   Q. All right. So was this -- from looking at
16   say, all right, there's where he says Procyon. No,                16   the documents we've looked over today, Mr. LaBow's
17   we're just asking you as the investment manager just              17   written response to all the requests from you and
18   write it down in a complete, cohesive piece of paper              18   Mr. DiClemente?
19   that we could now see why we couldn't do. And to                  19   A. If it was, it's consistently incomplete. I
20   the degree we could, let's do that.                               20   think he's -- I don't see this as an acceptable
21             I mean, I just -- I just don't                          21   response to ours. Once again, to say several prime
22   understand why that was so difficult to do. He                    22   brokers. I mean, he doesn't identify who the prime
23   obviously knew things, but they come out -- they                  23   brokers are. He then admits that there were other
24   come out of the woodwork.                                         24   accounts that we could have divided up, but
25   Q. Okay. All right. That brings us to                             25   apparently he didn't do that. He then admits that


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 1   in the summer of 2008, he recognized that he had                   1   is a toxic transfer, you recognize that's not an
 2   roadblocks. I don't think he ever communicated                     2   equitable allocation and you do it anyway.
 3   those roadblocks to us. I mean, this thing's got                   3   Q. So you're referring to something in which
 4   problems all over it.                                              4   Mr. Kassan says that the Neuberger Berman account is
 5            I mean, I could -- I could probably                       5   toxic?
 6   spend a half hour telling you all the problems with                6   A. Yes. In a conversation he used that word.
 7   this. But to tell me you now realize in the summer                 7   So he recognized the fact that what he was
 8   of 2008 you came across roadblocks -- I mean, I                    8   transferring obviously was an awkward transfer for
 9   would suggest that he probably was discussing those                9   him to say as a retirement committee of theirs.
10   roadblocks with his buddies at WHX. But I don't                   10   Q. And when you say in a conversation, in a
11   know any conversations that told us about the                     11   conversation with you or in a document that you saw?
12   roadblocks.                                                       12   A. I was part of the conversation. I heard the
13            And to say that Mason and Capital --                     13   word.
14   and I think those were pretty decent sized funds                  14   Q. Oh, okay.
15   within the portfolio, now you tell me that you could              15   A. I don't know if it's written down. I think
16   have divided those up. I don't know why you didn't                16   it is somewhere in a note. I clearly remember him
17   do that, so how could you tell me that you had no                 17   saying -- personally Glen Kassan saying that it was
18   other choice. I mean, the thing is so                             18   a toxic transfer.
19   self-conflicting, you could get a headache.                       19   Q. Do you know any limitation on why the
20   Q. When you say he was talking to his buddies at                  20   Neuberger Berman stock couldn't have been sold and
21   WHX, that's referring to -- to what, just to say it               21   diversified on the day it was transferred to the
22   for the record?                                                   22   Severstal trust?
23   A. I would have to say -- again, back then I                      23   A. It could have been sold the day before. Ron
24   didn't know this, but seeing the documents that have              24   could have made it cash and just gave us the cash.
25   come out over the last time, the conversations that               25   Q. But on the date, November 3rd, do you know of


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 1   were going on between Dave Riposo, Ron LaBow, Glen                 1   any impediment to the assets in the Neuberger Berman
 2   Kassan, in my mind, my personal opinion is there was               2   account from being sold and diversified for the
 3   definitely some inappropriate conversations going on               3   Severstal trust?
 4   that were not shared with us.                                      4           MR. JOYCE: Object to form and
 5   Q. Inappropriate in what way?                                      5   speculation.
 6   A. He's telling them what he's going to do.                        6   A. Yeah, I mean, if there was -- if it was going
 7   He's not telling us what he's going do. He's                       7   to be moved to cash the day after and there was an
 8   instructing them -- there's a conversation in one of               8   impediment -- and Ron's smart enough to know if
 9   these things where I find it amazing that we tell                  9   there's an impediment or not -- I can't say right
10   him and Glen Kassan this is what we want. Glen                    10   now. But I can tell you if there could be an
11   Kassan is a -- let's say a family member to us.                   11   impediment, he could have liquidated it on the front
12   We're both in the same fund. So we tell Glen Kassan               12   side and just moved it over to cash. So if he
13   what we want; we want a proportional share. At some               13   thought he was going to liquidate on day one, why
14   point in time, Ron LaBow decides that he's just                   14   don't you liquidate it on day zero.
15   going to give us the Neuberger account.                           15   Q. I understand your answer. The next-to-last
16            Well, clearly the WHX retirement                         16   paragraph on the second page, Mr. LaBow says, "I
17   committee chairman knows that's not what we wanted,               17   plan on investing the cash and a substantial portion
18   but he did it anyways. So and then to later tell                  18   of the Neuberger Berman account with Proxima, Mason
19   us -- to admit to us in a conversation that he                    19   Capital, Capital Defense and the macro fund run by
20   realized that was a toxic transfer -- and that was                20   Wai Lee. Of course, none of this will be done
21   his word, "toxic."                                                21   without your approval. Because of the extremely
22            So you're telling me Mr. Kassan, you                     22   high transaction costs and fees the two fund of
23   knew our instruction, you received and you signed a               23   funds owned by WHX are going to be liquidated."
24   document that said you knew our instruction, Ron                  24            Do you know which two fund of funds
25   tells you to do this toxic transfer, you admit this               25   were going to be liquidated?


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 1   A. I can't say I know which ones those would be.                 1            "b) their combined performance during
 2   Q. It sounds as if what he's saying is that WHX                  2   the transition period align with combined WHX trust
 3   is being invested differently going forward. It's                3   performance, and.
 4   not at the same static assets that they had in the               4            "c) both WHX and SWI committees agree
 5   commingled trust before November 3rd, 2008.                      5   with tentative solution."
 6           MR. JOYCE: Objection to form.                            6   A. I was just trying to take the information
 7   Speculation.                                                     7   that I had at the time as examples and say, you
 8   A. I would say I don't know.                                     8   know, maybe this could be a solution so long as it
 9   Q. Would you think it was possible that in                       9   didn't -- you know, so long as it conformed to the
10   February 2009 there would have been a better asset              10   guidelines that were in there and WHX would agree.
11   mix for WHX and for Severstal than existed in                   11   It was a fairly simplistic one, based specifically
12   November 3rd, 2008?                                             12   on accounts he said could have been used.
13           MR. JOYCE: Objection to form.                           13   Q. I got you. So then was there any follow-up
14   Speculation. To the extent it's seeking an opinion              14   from this from Mr. DiClemente?
15   of an expert or a legal conclusion.                             15   A. I don't know if there was any follow-up. I
16   A. Yeah, again, I wouldn't know. At that time                   16   think it was an example that if Ron says I couldn't,
17   in that environment, I mean, he was our guy.                    17   I'm like, no, you could have. Based on what you've
18           MR. STRAWN: Off the record.                             18   told us, here is an example. It really wasn't
19           (Discussion held off the record.)                       19   saying that this was, you know, a strategy. It was
20           (A brief recess was taken.)                             20   to exemplify a possible strategy.
21     BY MR. STRAWN:                                                21   Q. Were you -- trying to think, were you poking
22   Q. Mr. Halpin, let me show you what's                           22   holes in what Mr. LaBow was saying, or were you
23   Exhibit 33.                                                     23   proposing a possible solution to the situation? I'm
24           (Halpin Deposition Exhibit No. 33 was                   24   trying to understand here.
25   marked for identification.)                                     25   A. I was trying to at least come up with an


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 1           (Witness reviews document.)                              1   example solution that maybe could work, maybe.
 2   Q. For the record, this is an e-mail and it's                    2   Again, I wouldn't say poking holes in what he said.
 3   from you, dated February 5th, to Michael DiClemente,             3   I was trying to validate that what he said wasn't
 4   and it looks as if you're talking about some of                  4   the only alternative, as he was suggesting. I had
 5   the -- some of the funds. Take a look at that and                5   no other choice.
 6   let me know when you're done. Two pages.                         6   Q. That makes more sense. Let me show you
 7           (Witness reviews document.)                              7   Exhibit 34. It's a one-page document e-mail from
 8   A. Okay.                                                         8   Mr. Riposo to Ron LaBow. And it's with reference to
 9   Q. So what was the purpose of this e-mail?                       9   a phone call between Mr. Riposo, you and
10   A. I'm trying to put it in date reference to the                10   Mr. DiClemente. So take a look at that.
11   other items. I think it was trying to provide an                11   A. Okay.
12   example of how we could've better diversified the               12           (Halpin Deposition Exhibit No. 34 was
13   original allocation. And I think that Mason and                 13   marked for identification.)
14   Capital were, at some point in time, some of the                14           (Witness reviews document.)
15   larger funds that Ron had admitted could have been              15   A. Okay.
16   used for the allocation. So this was just a                     16   Q. First question, the signature line down there
17   simplistic example of how it could have been better             17   for -- not signature line, but the address line for
18   than it was.                                                    18   Mr. Riposo, it says WHX/Handy & Harman. Do you know
19   Q. Okay. Just looking at the -- the bullet                      19   what that means?
20   points, for lack of a better word, there. Sorry. I              20   A. I believe Handy & Harman was a company
21   got you here. So that the introduction is, "can we              21   that -- I think that's probably where they worked.
22   satisfactorily 'reset' utilizing just these three               22   Handy & Harman was a company that WHX had acquired.
23   'funds'...so long as Mason and Capital:                         23   I think that was probably the only company. If it
24            "a) investment strategies and risk                     24   wasn't the only company, it was the largest element
25   profile align with combined WHX trust, and.                     25   of WHX.


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 1   Q. Okay. All right. So going back to the body                      1   e-mail to Mr. LaBow was that they were very
 2   of the e-mail. There's reference to a phone call                   2   concerned -- being you and Mr. DiClemente -- "that
 3   this afternoon -- I guess this is on February 6th --               3   accepting such a concentrated portfolio of energy
 4   that Mr. Riposo said he had with you and                           4   related assets exposes them should participants
 5   Mr. DiClemente. Do you recall this conversation?                   5   allege some sort of breach of fiduciary
 6   A. I'm going to say I don't recall it here at                      6   responsibility."
 7   this moment, but I would say that it was -- again,                 7            Did you ever indicate that to
 8   we had many conversations with David, so I would say               8   Mr. Riposo?
 9   that -- I would say it looks like legitimate notes                 9   A. I don't remember saying that. The only thing
10   from a meeting or a phone call.                                   10   I always remember personally myself saying is that
11   Q. Okay. And so Mr. Riposo is saying to                           11   he violated the investment guideline, which was a
12   Mr. LaBow, reviewed your letter of February 4th,                  12   diversified portfolio.
13   2009. That, presumably, is the same as Exhibit 32.                13   Q. Right.
14           MR. JOYCE: I'll just object generally                     14   A. And that's -- that's David's words. I
15   on speculation. I don't think Mr. Halpin is copied                15   don't -- I can't say I remember saying that.
16   on the e-mail or wrote it.                                        16   Q. Sure. Okay. Next exhibit, 35, two pages.
17           MR. STRAWN: Right, right.                                 17           (Halpin Deposition Exhibit No. 35 was
18   A. Yeah, I mean, I don't know if it's a direct                    18   marked for identification.)
19   link, but it's possible since the date matches up,                19           (Witness reviews document.)
20   but whatever, that's a letter, so --                              20   A. Okay.
21   Q. Sure. It says in here, "they," being you and                   21   Q. Okay. So the document says, "Minutes of
22   Mr. DiClemente -- "frustration centered around two                22   Conference Call, Severstal Wheeling, Inc. Retirement
23   main themes." First, that you, Mr. LaBow, verbally                23   Committee," February 6th, 2009. It's got the time
24   indicated "that you would be able to retroactively                24   for the call, 2:45 p.m. to 3:30. And I'll just say
25   provide a more diversified allocation and the letter              25   that that corresponds with Mr. Riposo's e-mail of


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 1   seems to be contrary" to that.                                     1   February 6th at -- looks like 4:45 to Mr. LaBow.
 2             Let me ask you about that. Did you                       2   A. Yeah.
 3   ever express that to Mr. Riposo, that idea about                   3   Q. But anyway, again, you weren't copied on
 4   Mr. LaBow going backward on the ability to                         4   Exhibit 34. So Exhibit 35, have you seen this
 5   retroactively provide a more diversified allocation?               5   before?
 6   A. Previous to this, I'm sorry, did I express                      6   A. I have.
 7   Dave Riposo previous to this that Ron couldn't do it               7   Q. And did you participate in drafting it or
 8   or -- I probably screwed that up.                                  8   putting input in it?
 9   Q. That you were frustrated that Mr. LaBow was                     9   A. I would say I probably had some involvement
10   walking back from saying, yes, he could                           10   in drafting all of them, so I would say that's
11   retroactively provide a more diversified allocation?              11   reasonable.
12   A. I think the frustration was that he was never                  12   Q. Got you. Okay. So it says conference
13   saying that he couldn't, that he was always saying                13   call -- sorry -- teleconference with Dave Riposo
14   that I -- that I can't fully reset, and here's some               14   with you and Mr. DiClemente, and the focus of the
15   examples why. But he never came out and said, I                   15   meeting was to confirm that Mr. Riposo received a
16   won't -- that I remember, certainly not in this time              16   copy of Mr. LaBow's letter and inquire as to his
17   frame -- or that I couldn't. He's just saying I                   17   opinion of the letter and inquire about the status
18   can't fully do it.                                                18   of the Cohn audit.
19             That was, I think, our frustration,                     19            I know you said earlier that you
20   that he never really said that I won't or I can't.                20   thought the Cohn audit was going to be more than
21   I can't do it perfectly. Here's reasons. So I                     21   just coming up with the -- the value each of the
22   think our frustration was the fact that we just                   22   trusts were entitled to and would go more into what
23   wanted to get to a closure on it to find out exactly              23   was an equitable allocation of it?
24   what it was so that we could move forward.                        24   A. Yes. Again, I'm using -- I think the word,
25   Q. And the second point Mr. Riposo says in this                   25   when I see "audit" takes a different connotation


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 1   than a compilation or a review.                                   1   A. Yeah. When he says after realizing -- the
 2   Q. Okay. So do you recall this conversation                       2   notes say, "After realizing our position, he stated
 3   with Mr. Riposo?                                                  3   that we may want to have a near term discussion."
 4   A. I sound like a parrot here, but I would say I                  4   In my mind, slightly different words, but there's
 5   don't recall it today, but I do remember we had a                 5   nothing new in this document except for the fact
 6   number of them, so I would say this seems to be a                 6   about the Cohn report where he said he was surprised
 7   conversation we did have.                                         7   to see our need for urgent. Which again, I don't
 8   Q. Okay. I guess the last paragraph on the                        8   see anything here that should have surprised him.
 9   first page there it says, "Michael reminded Dave of               9   Q. The next document, 36. For the record, I
10   their previous discussions (from the very start -                10   would just say these are also Minutes of Conference
11   which began on December 31, 2008 - and on multiple               11   Calls, Severstal Wheeling, Inc. Retirement
12   occasions since then), whereby WHX would have to be              12   Committee. It says February 10th, 2009. Take a
13   a part of the resolution of the misallocation of                 13   look at that.
14   assets, since the assets would have to be                        14          (Halpin Deposition Exhibit No. 36 was
15   retroactively reallocated in order to ensure that                15   marked for identification.)
16   the assets were equitably allocated."                            16          (Witness reviews document.)
17            Do you remember discussing that with                    17   A. Okay.
18   Mr. Riposo?                                                      18   Q. Can you tell me, this is the first time I see
19   A. I think by definition by us saying there has                  19   Mr. McCabe in these conversations with you and
20   to be a reallocation or a reset, by definition they              20   Mr. DiClemente and Mr. Riposo. Do you know the
21   would have to be part of that reset.                             21   purpose of Mr. McCabe being on this call? And first
22   Q. Right.                                                        22   question, who is Mr. McCabe?
23   A. I mean, that's just repeating something                       23   A. He is a WHX retirement committee member.
24   that's been said to him multiple times in different              24   Q. Did he have a position with the corporation,
25   words.                                                           25   too, WHX?


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 1   Q. Okay. And did Mr. Riposo's, I don't know,                      1   A. I believe he did.
 2   reaction to that change from any of the previous                  2   Q. Going back to my previous question. Do you
 3   conversations you had with him?                                   3   know what the purpose was of having Mr. McCabe on
 4   A. I mean, the notes suggest that he seemed to                    4   this phone call?
 5   grasp it a little more fully. I don't know why                    5   A. I don't know. I think he was invited by Dave
 6   there would be a change in his opinion. But again,                6   Riposo.
 7   if we were going to do a reset or reallocation of a               7   Q. Sure.
 8   single item by default, by binary default, there                  8   A. We didn't mention him, but I think that was a
 9   would also have to be an adjustment to theirs. So                 9   Dave Riposo invite.
10   for him in a number of the previous meetings or                  10   Q. Did Mr. McCabe bring up any issues that you
11   documents we've seen where he concurred, where he                11   hadn't already discussed with Mr. Riposo?
12   concurred, where he concurred, I would say there's               12   A. The only issue -- again, as I'm reading
13   nothing new in here that should change his opinion.              13   this --
14   But I think there was something at the end where I               14   Q. Right.
15   think there was --                                               15   A. -- that I would say the fact that he's
16           (Witness reviews document.)                              16   suggesting that we had accepted this alternative.
17   A. I'm not sure if this was the one. I thought                   17   Q. Do you recall this conversation or a
18   there was something in there like he had -- I think              18   conversation with Mr. McCabe?
19   he felt that -- or we had suggested, somebody                    19   A. I do recall a conference with Mr. McCabe.
20   suggested we should have a broader conversation.                 20   It's likely it's this February 10th one. There was
21   Q. The only thing I was going to point out was                   21   a conversation we had, a phone call with McCabe.
22   on the second page there, there's some discussion                22   Q. Okay. Was the takeaway from this
23   about having the same parties, plus their ERISA                  23   conversation that Mr. McCabe seemed to be less
24   counsel on a call. Is that what you're referring                 24   receptive than Mr. Riposo to a reallocation, or is
25   to?                                                              25   that reading too much into it?


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 1   A. Yeah, I'd say he was there, and I think there               1          (Halpin Deposition Exhibit No. 37 was
 2   was, all right, we'll have another thing. I don't              2   marked for identification.)
 3   really think he had a reaction either way. I'd say             3   Q. Take a look at that. It's, for the record,
 4   that if he was confused that SWI had already                   4   Minutes of Conference Call, Severstal Wheeling, Inc.
 5   accepted an alternative, I don't know how he would             5   Retirement Committee, February 11th, 2009, the next
 6   ever get that impression. It certainly can't come              6   day.
 7   from us, and I'm not sure why he would have that               7          (Witness reviews document.)
 8   impression.                                                    8   A. If I have to read that back, I'll see, but
 9            If he was talking to Dave Riposo,                     9   okay.
10   which I'm sure he was regularly, I don't know how he          10   Q. Okay. For the record here, Exhibit 37 is
11   could have that impression. Every time we talked to           11   February 11th, and it refers to Mr. DiClemente as a
12   Dave Riposo in all those other meetings, we clearly           12   consultant on this one. And the last exhibit, 36,
13   said we are looking for a reallocation. I would               13   February 10th, 2009, it refers to Mr. DiClemente as
14   assume he was talking to Jim about it.                        14   a member of the committee. Do you know when
15   Q. Oh, okay. When I read the first line of the                15   Mr. DiClemente left Severstal?
16   third paragraph on the first page, "Jim seemed a bit          16   A. I believe it was sometime in February.
17   confused as he thought we at SWI had already                  17   February 11th sounded a little bit early. I believe
18   'accepted' this alternative," I thought that was              18   it was sometime in February 2009.
19   referring to accepting the initial Neuberger Berman           19   Q. Okay. The fact that you were calling him at
20   account on November 3rd?                                      20   home, that doesn't mean that he was no longer
21   A. Yeah, that's what I'm thinking.                            21   working there at Severstal anymore, does it?
22   Q. Oh, okay.                                                  22   A. Did I call him at home?
23   A. He thought we had accepted the November 3rd                23   Q. Yeah. The third bullet point there says, "He
24   transfer. Why would he think that? Who told him we            24   said he had not reached Michael today so he was
25   would have accepted it? Dave Riposo is sitting                25   informing me. I replied I had spoken to Mike today


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 1   there every day talking to him, and we told him                1   and would be willing to conference him in (at home
 2   every time we didn't accept it. We're looking for a            2   on cell)."
 3   reallocation. I'm not sure how there's a disconnect            3   A. Again, I'm only saying, because this is at
 4   there.                                                         4   3 p.m., he could have already been on his way home.
 5   Q. Okay. Right. I was just thinking the letter                 5   I don't know.
 6   from Mr. DiClemente to Ms. Kronenberg that we saw              6   Q. I got you.
 7   earlier saying we accept this, but I don't know that           7   A. But regardless, I mean, I think this is
 8   that had Mr. McCabe CCed on it or anybody from WHX.            8   indicative of Ron. When Ron wants something, he's
 9   A. Again, I would say this: Even if it did, I                  9   going to call you, me, everybody, right how, I'm not
10   don't think we ever saw the contents. We never                10   waiting. I just need to get somebody to do what I
11   talked about what it was going to be in there. We             11   want to do. So he was shotgunning all his calls out
12   never -- it didn't say here's the Neuberger account.          12   because he obviously wanted something.
13   Here's the detail. This was never anything that was           13   Q. Do you remember this call?
14   delineated what was in there. I'm not sure what               14   A. I would say, again, I don't remember it as I
15   alternative -- that we would have just accepted               15   speak, but I believe the notes indicate that there
16   this -- I mean, I don't understand how their                  16   was a call with him. So I would say this -- the
17   committee guy, would you have accepted this? So I             17   call happened, and these notes are probably
18   don't understand why you think we would have.                 18   indicative of the call itself.
19   Q. Just for the record, that's Exhibit No. 7,                 19   Q. Again, most of the -- I know we mentioned
20   and the November 3rd letter from Mr. DiClemente to            20   this earlier. Most of the calls were at your
21   Ms. Kronenberg, and the CCs are Mr. Assetta,                  21   initiation, the committee calling Mr. LaBow, but
22   Mr. Bowness, Mr. Halpin, Mr. Rogers, Mr. Sullivan.            22   this is one of the few where he called you. And
23   Those are all Severstal people.                               23   what was the upshot? What did he want?
24   A. Yeah, Severstal.                                           24   A. I don't know if he was intending to once
25   Q. Okay. Now, let me refer you to Exhibit 37.                 25   again plead his case that he didn't know what more


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 1   he could do. But by his own admission, when he goes                1   standing on the Severstal retirement committee?
 2   through that paragraph, it's very clear what more he               2   A. I was -- yeah, the last official formal
 3   could have done. I mean, he's so conflicting within                3   committee member, yes.
 4   his own paragraphs. I don't know what else I could                 4   Q. How did your duties change, you know, as part
 5   have done. Oh, by the way, Mason and Capital                       5   with Mr. DiClemente not being an official committee
 6   Defense, yeah, they could have done something.                     6   member?
 7   Well, that's more diversified. So I mean, he's his                 7   A. I would say I may have signed one or two
 8   own worst enemy.                                                   8   items before that Mike would have typically signed
 9            And now we're talking February 11th.                      9   in his capacity, so I may have become more of a
10   I don't know what the date was with that other                    10   mechanical instrument for certain things to get
11   thing. But when was the date when we said give us                 11   done, whereas Mike would have probably known it
12   in writing a formal document. So here we are again,               12   better. I signed it, but certainly I'm getting
13   he continues to want to talk to us about it, but he               13   guidance from him and Sally, even though I may be
14   doesn't want to write it down. How long could that                14   the signator.
15   take?                                                             15   Q. I got you. The last paragraph on the first
16   Q. While we're on the subject, so February of                     16   page, seems to be a new element in the notes of
17   2009, Mr. DiClemente left Severstal, left the                     17   these conversations where the middle there says,
18   committee but was retained as a consultant?                       18   "Ron stated that, while he may not have directly
19   A. Yeah, I would say my proficiency was not in                    19   told Michael, Michael should have known much earlier
20   committee administration, if you will, not in,                    20   through correspondence from Neuberger and Berman in
21   necessarily, some of the details where Michael is                 21   early November" and -- and then it goes on, "Mike
22   very proficient. So, you know, if I was sitting                   22   replied that, while he did receive information from
23   there without a Sally King and a Mike DiClemente as               23   Neuberger and Berman (sic) at that time, it never
24   strong guidance, I probably would have said I don't               24   indicated that the entire fund was ours or that this
25   think this is something that I have proficiency to                25   fund was our settlement. Ron then stated, 'Maybe I


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 1   do. He stayed on because he had that background,                   1   did something wrong. I don't think so, but maybe I
 2   and he had been there for quite some time. So not                  2   did something wrong.'"
 3   only does he know that background, if you know, he                 3             So I've got two questions from that.
 4   also knows those people. And so he stayed on as a                  4   The first is, it seems to be the first indication
 5   consultant, as well as Sally was on there -- I can't               5   that Mr. LaBow was saying, well, you should have
 6   remember when Sally may have kind of moved off and                 6   known that you just got the Neuberger Berman
 7   Steve Kittrell came in -- but with those two people                7   account. Do you recall him saying anything like
 8   providing me regular guidance -- again, I know I'll                8   that?
 9   throw in the Crosby and Malkin -- I don't know -- I                9   A. I would say today I don't recall him saying
10   could have had more people, but I don't know if I                 10   that. Reading this as part of the notes, I would
11   could have had better people.                                     11   say that probably was something that was said on
12   Q. Let me -- let me ask you that. So at some                      12   this phone call.
13   point Sally King, you didn't continue to retain her               13   Q. Was there -- do you recall any upshot from
14   as your attorney for ERISA?                                       14   that? I guess it just goes on to say that, you
15   A. I don't know that she fell off. I think that                   15   know, what Mr. DiClemente said about not knowing
16   maybe she got involved in other items, and Steve                  16   that the entire fund was Severstal's. Do you recall
17   Kittrell would appear occasionally. So in her                     17   that statement?
18   absence, another individual from McGuireWoods would               18   A. I honestly don't like recall it. Again, if
19   be part of it.                                                    19   it's in the documents here, there are notes, so I
20   Q. I got you.                                                     20   would say that anything in these documents was
21   A. I don't know if she ever really, you know,                     21   probably said.
22   left the building, so to speak, in terms of our                   22   Q. And the last part there, the quote from
23   counsel.                                                          23   Mr. LaBow, "Maybe I did something wrong. I don't
24   Q. I got you. So after Mr. DiClemente left, I                     24   think so, but maybe I did something wrong"; do you
25   take it then you were the last committee member                   25   remember him saying that?


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 1   A. I can't recall that he said that, other than              1   A. Can I just add something?
 2   the fact that it's in quotes. So if it was in                2   Q. Yeah, sure.
 3   quotes, it's probably verbatim to what he said. It           3   A. If he did say it, I would believe Mike would
 4   wouldn't surprise me, as you know, in your documents         4   have said something to me. That's my opinion. I
 5   if we get to it, there's a transcript -- voice mail          5   don't think Mike would say, yeah, we're not keeping
 6   transcript.                                                  6   you in the loop on that type of stuff. If he made a
 7   Q. Right.                                                    7   comment that said we should sell, I think he would
 8   A. That, once again, like Colonel Jessup, he got             8   have called me and said, Dennis, do you know what
 9   the thing back to performance, I will now confess, I         9   Ron said today? Mike did not tell me, nor did Ron
10   should have done something, guess what, we're back          10   say, that he had intentions prior to December 30th.
11   to even, so let's move forward. I should have done          11   Q. That selling the Neuberger Berman account
12   this and I should have done that. So I believe he           12   before the 30th would have been something that you
13   said it, since it's in quotes, I believe that's             13   think Mr. DiClemente would have elevated to your
14   exactly what he said, but I can't say that I recall         14   attention?
15   that he said that. I can't say that today.                  15   A. Yes.
16   Q. The last paragraph on the second page there              16           (Discussion held off the record.)
17   midway down, "Ron then said he was going to                 17   Q. Mr. Halpin, I'm showing to you what's marked
18   liquidate some of the Neuberger Berman account into         18   as Halpin Exhibit 38, and it's an -- looks like an
19   Capital and Mason some time ago (November) but we           19   e-mail from Ron LaBow. It doesn't actually show who
20   never gave him the OK. Mike quickly replied,                20   it's to. It's dated February 11th, which is, I
21   "That's the first I'm hearing you say that Ron," to         21   guess, the same date as the last notes of a
22   which Ron read from his letter from a week ago dated        22   conference call, Exhibit 37. The subject line is,
23   February 4th."                                              23   "Re: Mike - I assume you are waiting to hear back
24             Do you recall that part of the                    24   from."
25   conversation?                                               25            So anyway, taking all that into


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 1   A. I can't say I do, but I find it to be another             1   account, the body there reads, "I am not sure what
 2   typical totally conflicting comment. I told you              2   you want me to do about Mason and Capital Defense
 3   some time ago, and then I tell you about a letter on         3   after our conversation this afternoon. I again urge
 4   February 4th, which was what, a week ago? So some            4   you to turn the whole thing into cash since this
 5   time ago and now he's referencing a letter that was          5   process seems to take forever."
 6   a week ago.                                                  6            Have you ever seen this or anything
 7   Q. I gather, again, what your testimony was                  7   like this from Mr. LaBow?
 8   earlier, that you weren't involved in the ins and            8   A. I can't say I remember seeing this one.
 9   outs of the Neuberger Berman account before December         9   Q. Do you recall any discussions with Mr. LaBow
10   30th. So you're not aware of any -- before December         10   or e-mails where he said you're taking too long --
11   30th -- discussions with Mr. LaBow where he was             11   you being the retirement committee?
12   saying sell the Neuberger Berman account, liquidate         12   A. I can't remember. Specifically, I can't
13   it?                                                         13   remember this one, like seeing this one before this,
14   A. Prior to December 30th?                                  14   and I can't say that I can recall him ever saying
15   Q. Right.                                                   15   that we're taking too long.
16   A. I had no conversations with Ron about selling            16   Q. When it says there -- and again, putting all
17   or not selling.                                             17   the caveats that you just testified to -- "I am not
18   Q. Right, but are you aware of any, or did                  18   sure what you want me to do about Mason and Capital
19   Mr. DiClemente say, boy, Ron called today and said          19   Defense after our conversation this afternoon," did
20   sell Neuberger?                                             20   you have any discussions with Mr. LaBow that would
21   A. No, he did not.                                          21   shed any light on that? Was he saying that you
22   Q. Okay. All right. Let me show you                         22   could get into them or that you --
23   Exhibit 38.                                                 23   A. I think he's going right back off what I said
24          (Halpin Deposition Exhibit No. 38 was                24   here. You have -- he told us we could have got into
25   marked for identification.)                                 25   them. I think I proposed something in the back,


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 1   right, where I said, hey, Ron, here's an example;                 1   says, "We are evaluating what we want to do," we
 2   you told us Capital Defense, 22 million, Mason                    2   spoke to WHX, we asked you for investment materials,
 3   Capital, 91 million, that's a significant amount of               3   and references Mason and Capital. Are they
 4   the fund. Throw that in with N&B, as an example,                  4   forthcoming? And then the last paragraph, "Also,
 5   and I think you showed me something a couple times                5   you forwarded e-mails earlier this week that you
 6   ago where I took those three as examples, and just                6   received from certain managers describing why you
 7   examples, and I say there hypothetical, you could                 7   could not allocate SWI assets to," and then it
 8   have done more. You had three funds to take from,                 8   rattles off a number of these funds.
 9   of which one of them was a fairly significant fund.               9            At this point, February 13th, had your
10   So how do you say you couldn't have done anything                10   attitude toward Mr. LaBow changed in terms of
11   more?                                                            11   retaining him as your investment manager?
12            So I'm assuming he's referencing Mason                  12   A. It had not.
13   and Capital because I specifically brought them up               13   Q. And the second paragraph there about wanting
14   in this conversation. He's writing to it Mike. He                14   to look at investment materials for Mason and
15   doesn't write to it me. He's trying to suggest,                  15   Capital, that sure sounds like Mr. DiClemente, and I
16   what more do you want me to do? What we're                       16   don't know if you too, the committee wanted to see
17   suggesting is, if we could have participated on                  17   information about the investments before giving any
18   November 3rd, then we should have participated with              18   opinion to Mr. LaBow, the investment manager, about
19   them. Go back, make some sort of a model that would              19   investing in them. What was your understanding of
20   say if we had gotten that cut to some proportion,                20   what the committee wanted at that time?
21   here's where you guys should be.                                 21   A. We were trying to assess that if they were
22            Again, it's not rocket science. I                       22   part of a reallocation effort, that they would
23   mean, these are very complicated algorithms to                   23   conform to the guidelines. So we were just trying
24   figure out what did you mean by that. You don't                  24   to see what was Mason and Capital in terms of their
25   need a Cray computer to figure out what that meant.              25   portfolio so that we could at least say that will


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 1   How many -- four hours later, what do you want me to              1   fit the guideline.
 2   do? I don't know.                                                 2   Q. But weren't these two funds being discussed
 3   Q. I guess that's shed enough light on that.                      3   because they were in the original WHX mix?
 4   A. I mean, I mean -- you don't need -- the thing                  4   A. They were in a larger mix.
 5   is just frustrating because, what do you want me to               5   Q. Right.
 6   do? Sorry. Frustrating.                                           6   A. If I now single the two of them out and
 7   Q. No, no. We're here to get your opinion on                      7   say -- they could have both been in some sort of
 8   everything and try to understand everything.                      8   arbitrage; right? But in the total package, they
 9             All right. Let me show you what we                      9   would fit the guideline. But if you're going to
10   can mark as Exhibit 39.                                          10   single the two of them out, now we have to say if
11           (Halpin Deposition Exhibit No. 39 was                    11   that's the ones we can participate in, would they
12   marked for identification.)                                      12   actually still conform to a guideline. Now we're
13   Q. For the record, this looks like an e-mail                     13   really slicing a narrow piece out and just wanted to
14   from Mr. DiClemente, February 13th, to Ron, and it               14   make sure, if we could see their profiles, that they
15   looks like it's responding to an e-mail further down             15   were still generally in conformance with the
16   the page, February 13th. Seems to be a similar but               16   guidelines.
17   not identical message from Mr. LaBow at the bottom.              17   Q. Right, going forward how they would fit the
18   "I would like to know what you want me to do with                18   Severstal's investment.
19   Mason and Capital Defense given our last                         19   A. Let's just say they were both energy stocks;
20   conversation? Please let me know."                               20   right? If I'm taking out the two Neuberger ones and
21           (Witness reviews document.)                              21   these two happen to be in energy stocks and I flip
22   A. Yeah, here he says, I don't know what you                     22   them, what's the difference?
23   want me to do; here he's saying let me know what you             23   Q. Okay. Let me show you Exhibit 40.
24   want me to do.                                                   24           (Halpin Deposition Exhibit No. 40 was
25   Q. It looks like Mr. DiClemente in his response                  25   marked for identification.)


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 1   Q. Take a look at that. For the record, this is              1   about cash being like an alternative to getting a
 2   from Glen@steelpartners, and the name at the bottom          2   proportional share. Were you a part of any
 3   here is Glen Kassan, WHX Corporation, CEO, and it's          3   discussions about what to -- how to do this
 4   to Mr. DiClemente and CC's Ms. King, Mr. Merrit,             4   retroactive reallocation?
 5   you, Dave Riposo, Jim McCabe, Peter Gelfman at               5   A. I believe that there was a cash element
 6   WHXcorp.com and Mr. LaBow. This looks like this is           6   that's -- I'm not sure if it transferred at this
 7   a three-page document, an e-mail chain.                      7   time, that there was a cash element that needed to
 8   A. Oh, wow, okay.                                            8   be held that needed to come to us. I don't know if
 9           (Witness reviews document.)                          9   it's talking about that cash.
10   Q. Okay. So going back to the bottom of the                 10   Q. Okay.
11   second page is the first e-mail in the chain, and           11   A. This is -- it will take me a half hour to go
12   it's from Mr. DiClemente to Mr. Kassan. It CCs              12   through this and try to break it down exactly what
13   Ms. King and you. It says, Glen, Pursuant to our            13   was being said by Michael in this item. I didn't
14   conference call on February 13th -- so let me               14   write it, so I'd have to really -- there's a lot in
15   interrupt it right there. Did you participate in a          15   there.
16   conference call with Mr. Kassan February 13th?              16             My takeaway from it is that Michael
17   A. I don't know if I participated in one on the             17   was saying, you know, after our discussion -- and I
18   13th. I definitely participated in at least one             18   believe the discussion is when you had referenced
19   where he was involved. I don't think there were too         19   toxic -- when we were on the phone with him -- but
20   many with him being involved. I can't say it was            20   after that discussion, we believed that he was
21   the 13th, but I know I did participate in one with          21   agreeable to a reset. So we were just saying, hey,
22   him on it.                                                  22   we're making a formal acknowledgment that we both
23   Q. Got you. Mr. DiClemente goes on in the                   23   now agree that a reallocation should happen.
24   e-mail to say, the retirement committee accepts a           24             How that's going to happen, the
25   proposal made by Glen Kassan on behalf of WHX               25   components of that, it would take me a while to sit


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 1   pension committee "to accept a proportional share of         1   here and try to tell you what -- I can do it if you
 2   the assets held as of this date in the Neuberger             2   want me to -- it's going to take me a while to
 3   Berman account" -- and I take that to be WHX taking          3   figure out exactly what Michael was saying on each
 4   back 90 percent or whatever their share would be of          4   piece. My overview is that we were saying, Glen, it
 5   the Neuberger Berman account -- "and further agrees          5   seems like you're in agreement with what we say.
 6   to liquidation of those assets, with the concurrence         6   Let's get the reset down as quickly as possible.
 7   of WPN Corp., and receipt of the proportional share          7   Q. I understand. The next e-mail further up the
 8   of proceeds as partial settlement of the transfer of         8   chain there is from Mr. Kassan, and it's not clear
 9   SWI pension assets."                                         9   who that's to. But it's from Mr. Kassan, and it
10            So that's not referring to the final               10   says, "I am in receipt of your e-mail as provided
11   trueing up payments, the final separation of the two        11   below and will review your comments with my group
12   trusts. That was still in the offing; right? This           12   and get back to you as quickly as possible. Please
13   is talking it about the retroactive reallocation.           13   note that I did not make the proposal cited in the
14   A. Yes, this is talking about the retroactive               14   first paragraph in your e-mail. However, we are
15   reallocation.                                               15   willing to work with your group to try to assist in
16   Q. "The SWI Retirement Committee further agrees             16   resolving your problem."
17   that the balance after assets attributable to SWI           17            Do you recall that Mr. Kassan like --
18   pension plans (based on the October 31th, 2008              18   responded that quickly saying, no, I didn't mean to
19   valuation, as adjusted for gains or losses) will be         19   make any proposal to --
20   transferred to National City Bank, as Trustee, as           20   A. I don't remember how quick he replied. I can
21   soon as practicable. This transfer will be made             21   say that I do remember him saying that he didn't
22   in-kind from existing transferrable assets and cash;        22   make that. But again, as I read this here and it
23   in the alternative, the transfer will be made               23   says we're willing to work with you, that doesn't
24   entirely in cash."                                          24   mean that he won't do it, it's just meaning that he
25            This is the first time I'm hearing                 25   didn't agree to that in the prior conversation.


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 1   We're willing to work with you and meet sounds like                1   says, unless it's in violation of ERISA.
 2   he's still willing to do some type of an allocation.               2   Q. Right.
 3   Q. The last few words there, "resolving your                       3   A. It's in violation of our guidelines.
 4   problem."                                                          4   Q. There was some reference to something like
 5   A. I got to tell you, Glen, he's a character. I                    5   the world is very difficult right now. Can we just
 6   mean, he's very, very -- I think he's seeing three                 6   leave this alone? And what Mr. LaBow told me last
 7   chess moves ahead. That's why I say I think there                  7   week was what he meant by that was that the market
 8   was something going on between him and Ron that they               8   valuations are fluctuating too much, can we put off
 9   sat there, we get the bad deal, and they're talking                9   the separation of the two trusts because it's very
10   about it. There's so much inequity about what was                 10   hard to value what these assets are worth since
11   going on, in my mine, personally, behind the scenes,              11   there's so much fluctuation. Did you ever get that
12   that he's starting to realize where this is going                 12   from Mr. LaBow or anybody else?
13   and he's -- he's queuing it up.                                   13   A. That it was a turbulent world?
14   Q. With regard to Mr. Kassan referring to the                     14   Q. That he didn't want to do the transfer on
15   Neuberger Berman account as toxic, can you give me                15   November 3rd because of the market conditions?
16   any more context about that, how he said it?                      16   A. You mean September 30th. He did the transfer
17   A. I just remember the word "toxic." I'm not                      17   on November 3rd.
18   going to get it exactly right. He recognized that                 18   Q. On November 3rd. Did you ever get any
19   the transfer was a toxic portfolio to some degree,                19   indication from Mr. LaBow that he did not want to do
20   which always, now in hindsight when he sits there                 20   it on the 3rd?
21   saying we had no involvement in the determination,                21   A. I never heard that. I've never heard that.
22   well, you clearly were the one that took the                      22   Q. In the letter --
23   instruction from Ron to give the instruction for the              23   A. And I don't believe that they had to do it;
24   rest of them. Recognizing it's a toxic asset, you                 24   right? I mean, Citibank said we want to be out by
25   can't jettison this toxic piece to your co-owner                  25   December 31st. I don't know why that was such a


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 1   without at least -- I mean, to sit there and say,                  1   critical date to do it on. We had missed the 30th
 2   Ron told us, Ron told us.                                          2   of September. What is the magic of November 3rd?
 3            You mean you didn't have the courtesy                     3   You still had some time to do something.
 4   when you know that you were going against our                      4   Q. And the letter that he, Mr. LaBow, sent on --
 5   instruction, you didn't have the obligation or the                 5   I think it was October 22nd, and that's Exhibit --
 6   courtesy to say I should call these guys and just                  6   Exhibit 6. No, it's not 6.
 7   confirm that they're okay with this, especially                    7   A. I don't know if this will help. Will it help
 8   since I recognize it's a toxic asset. How                          8   you because it's only single pieces here?
 9   convenient for him to say, well, Ron told us that.                 9   Q. No, I'll find it. Thanks, though. Here we
10   Really? You didn't place a call? That instruction                 10   go, 5. And on the second page of 5, it's an October
11   came on a Friday, October 31st. That transfer                     11   22nd, 2008, letter from Mr. LaBow to Mr. DiClemente.
12   didn't happen until the 3rd. You had all weekend to               12   It says, basically, that they missed the earlier
13   call us.                                                          13   transfer.
14   Q. When you say --                                                14   A. Oh, okay.
15   A. Sorry I'm getting a little loud.                               15   Q. "Please be advised that as a result of the
16   Q. That's okay.                                                   16   market volatility that has continued for the past
17   A. It's so frustrating.                                           17   several months, such transfer of assets of the Plans
18   Q. Yeah, I'm sure it is. But the point I was                      18   did not occur. On November 3rd, 2008, I intend to
19   trying to make was about him saying, Ron told us.                 19   direct the transfer of most of the assets of the
20   You mean Mr. Kassan said Ron told us to transfer                  20   plans to the WPSC Trust."
21   these assets to you?                                              21             Anyway, so aside from that letter, you
22   A. Ron told him to transfer the Neuberger                         22   never heard that Mr. LaBow did not want to go
23   account on October 31 in the afternoon, transfer the              23   through with the transfer on November 3rd, then
24   Neuberger account to SWI trust. There's an e-mail                 24   subsequently, because of market conditions?
25   or a text that specifically he says that, and he                  25   A. No.


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 1           (Discussion held off the record.)                          1   in a retroactive reallocation where they would have
 2   Q. So going back to where we left off on                           2   to take some assets back or make some sort of
 3   Exhibit 40. On the second page, Mr. Kassan had                     3   exchange with Severstal?
 4   replied that he did not make that proposal in                      4   A. I believe this e-mail changes probably the --
 5   Mr. DiClemente's previous.                                         5   our opinion as to their alignment. But again, I
 6            Okay. Going to the first page of the                      6   think when you take a look at this in context,
 7   exhibit, which is the February 17th, 2009, e-mail to               7   everything we're doing here is not just Mike with
 8   Mr. DiClemente and CCing you and --                                8   the mechanics but also with ERISA counsel. There's
 9   A. Host of others.                                                 9   no doubt in my mind as these things are going on,
10   Q. -- host of others. So have you had a chance                    10   we're turning to ERISA counsel saying, what's your
11   to look at that first page?                                       11   takeaway on this, all those kinds of steps.
12   A. I did. I have.                                                 12            It's not like me and Mike are doing
13   Q. And what -- what was the import of what                        13   and copying Sally. There's definitely, throughout
14   Mr. Kassan was saying?                                            14   those two months, I would say regular interaction
15           MR. JOYCE: Just object to the extent                      15   with counsel, and as actions were happening,
16   the witness didn't write the document.                            16   discussions with those actions and next steps. I
17           (Witness reviews document.)                               17   can't remember specifically, yeah, we did this when
18   A. I'm going to say it sounds like he's very                      18   we called Sally, here's what she said.
19   evasive. He's trying to distance himself from the                 19   Q. I don't recall seeing any documents after
20   actual transaction. But, again, not that that's the               20   this February 17th e-mail where there were
21   particular question. It's frustrating because he                  21   conversations with WHX to take back any of the
22   knew exactly what we asked for. So I don't know --                22   assets to participate in a retroactive reallocation
23   I don't understand how -- I just don't understand                 23   of the assets of the commingled trust. But there
24   how we asking for something and somebody tells you                24   may have been, from what you're saying?
25   something different, you don't call us. It's not                  25   A. Like you mean like documents for


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 1   like you had to do it in ten minutes. You had a                    1   conversations that happened with them?
 2   whole weekend to make a phone call.                                2   Q. Right. Because I was taking it that this
 3            There was clearly back and forth, all                     3   e-mail ended the discussion. The CEO said, no,
 4   kinds of good stuff going on with those groups. But                4   we're not taking any assets back, but that doesn't
 5   nobody -- nobody thought about making a phone call.                5   seem to be what you're saying?
 6   Especially when he calls it toxic, he doesn't think                6   A. No, no, I don't know. I don't know if there
 7   he's got an obligation to call us to confirm, are                  7   was -- I mean, there's no documents. I don't know
 8   you guys okay with this? We just want to make sure.                8   if there's any other documents that have notes from
 9   I don't know anybody that wouldn't do that as a                    9   meetings we had with them. But I would say this
10   fiduciary.                                                        10   document from Glen, clearly from my perspective as a
11   Q. Was Mr. Kassan referring to these Neuberger                    11   retirement committee chair, changed the -- changed
12   Berman accounts as toxic assets as of November 3rd                12   their -- our perceived alignment.
13   or February 17th?                                                 13   Q. When you say "alignment," what do you mean by
14   A. I think he was talking about them in general.                  14   that?
15   They're concentrated energy stocks. By definition,                15   A. Well, they -- McCabe didn't say anything like
16   that would have been -- not only is it a violation                16   this when he was retirement -- Riposo, he concurred
17   of the guidelines, he recognized the fact that                    17   that that needs to be done. We're in full agreement
18   probably having a concentration in anything at that               18   with you guys. We agree with the reset. There was
19   time, especially energy stocks, is probably toxic.                19   never a time where this kind of opinion says, you're
20            Whatever his definition is, he                           20   on your own or something that says, hey, guys, we'll
21   realizes how bad the portfolio in his mind is, yet                21   help you going forward, but we're not willing to
22   he opts not to call us. He takes it for granted                   22   necessarily do something going back.
23   that Ron told him, so he's okay with that.                        23             I think this document sort of shifts
24   Q. So were there any more attempts to get WHX to                  24   that direction now to say, okay, we're not perfectly
25   participate, after this e-mail, February 17th, 2009,              25   aligned with WHX anymore. What's the strategy from


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 1   there. That's my opinion. That kind of a shift                1   as a partial settlement.
 2   would clearly say, call Sally. Let's see her                  2   Q. In the separation of the two trusts?
 3   opinion on this. Let's get her guidance on this.              3   A. In what is -- yeah, in still what is
 4   Q. So as a result of this interaction with                    4   outstanding to us. We're still not saying we know
 5   Mr. Kassan, did the committee take a different tact           5   what this number is. We're still going back to the
 6   in terms of resolving the problems with the                   6   reset. We will take this amount because we know
 7   Neuberger Berman account?                                     7   we're owed at least this much.
 8   A. I'm sure we went back and spoke with Sally                 8   Q. You're still tying what you're owed to
 9   about what the next steps are, and I'm sure some of           9   wanting to have --
10   your documents may, going forward, some of the dates         10   A. A reallocation.
11   demonstrate what those next steps are. Looking at            11   Q. -- a retroactive reallocation, not just
12   this document, the only thing I can take away from           12   taking this as -- that the trueing up of the final
13   this is it's a change in WHX's alignment with us.            13   amounts of cash?
14   Q. Got you. Let me show you what is Exhibit 41.              14   A. Yeah, yeah. In my mind, looking at this
15            (Halpin Deposition Exhibit No. 41 was               15   date. I would say this is not us saying, okay, we
16   marked for identification.)                                  16   got what we're supposed to get, you owe us this
17            (Witness reviews document.)                         17   much, wait until -- no, that's not what this was.
18   A. Okay.                                                     18   This was, you know something, we should probably
19   Q. So I'm looking at this, and it says it was                19   take that money now and still argue the fair
20   sent by e-mail. It's from you to Mr. Riposo. I               20   settlement issue.
21   don't see the date on it. The dates in the body of           21            But I'm sure -- again, there's no
22   the letter itself, the second paragraph refers to a          22   doubt as I write this, this is not Dennis Halpin
23   proposal reiterated by Glen Kassan's February 17,            23   authoring something, sitting there in some dark room
24   2009, e-mail correspondence. And then at the bottom          24   by himself. This has clearly got fingerprints of
25   of the last paragraph it says, "Please make the              25   Michael and Sally as I did this and listened to


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 1   transfer on Monday, February 23rd, 2009." I would             1   their guidance in what's the next steps.
 2   assume at some point in the week in between there.            2   Q. Sure.
 3            Do you recall this letter?                           3   A. I think this is probably just us saying, hey,
 4   A. I can't say I recall at this time, but that's              4   here's the next step we should do. Dennis isn't
 5   my signature, so I'd say I signed it.                         5   saying, Sally, I disagree with that. No, you're
 6   Q. This is just about the final cash payment --               6   telling me something as ERISA counsel, I'm going to
 7   or I shouldn't say the final -- but a cash payment            7   follow what you say, unless I'm going straight to
 8   from the commingled trust to further finish the               8   hell or something else. I retained you as my expert
 9   separation of the two trusts, cash that the                   9   counsel. You tell me what you believe is the next
10   Severstal trust was owed?                                    10   step. Michael, you tell me the mechanics of it.
11   A. I would say, again, when I see -- I thought               11   You want me to draft something. Let's draft it.
12   it said partial or part. It agrees to a partial              12   I'll sign it. Why? I'm the last committee member.
13   settlement. I think there was an amount that was             13   So everything you're going to see from February 20th
14   owed us based on this Cohn report that was going to          14   to April 30th is going to have my signature on it if
15   say how much was still, in their mind, left to               15   it's a committee issue.
16   settle.                                                      16   Q. Right. And let me ask you, after that e-mail
17   Q. Right.                                                    17   from Mr. Kassan on February 17th, was there any
18   A. And so when we accepted 6 million, I think it             18   discussion that you were involved in of, we've got
19   was a rounded number, but I think it was not a               19   to sell Neuberger Berman now, they're not taking it
20   complete settlement. It wasn't a settlement. It              20   back?
21   was to sort of more completely settle the transfer.          21   A. I -- I can't recall if we had a discussion or
22   Q. Right. It's not settling the dispute. It's                22   not.
23   settling the --                                              23   Q. After Mr. Kassan's e-mail where he seems to
24   A. I don't even know it's settling -- it's                   24   say they're not -- he's not taking the Neuberger
25   partially settling what's owed us. We'll take this           25   Berman assets back, or any share thereof, was there


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 1   any change in what the committee's strategy was, the               1   what kind of a piece we could take. Here's a guy
 2   Severstal committee strategy in terms of resolving                 2   right off the bat, and he's going to sit there --
 3   the assets that the trust held?                                    3   again, going to performance dictates everything
 4           MR. JOYCE: Just object and remind the                      4   else. They're earning 12 percent; you guys are
 5   witness don't discuss attorney-client                              5   missing out. Mortgage-backed securities, March
 6   communications, but otherwise, you can answer that                 6   2009.
 7   question.                                                          7             Ron, I happen to have friends that
 8   A. I'm going to say that after that discussion                     8   live in Long Island, I think I know what's happened
 9   with Glen and/or his letter, what have you, there                  9   to the market on the East Coast. So that seems to
10   was clearly discussions with counsel. I mean,                     10   be a little risky. But go ahead, let the guy talk.
11   again, we go back to monitoring. At some point in                 11             So I'm going back to those comments
12   time, anybody can go back and say, during that                    12   that say the frequency and the depth of the
13   period of time, what should you have done?                        13   monitoring, in my mind, was almost overkill. This
14            When you take a look at the frequency                    14   consumed almost a full part of our jobs. And
15   of the letters, the frequency of the communications               15   somebody could sit there and say, here's what you
16   from December 31st on, I would say there is a                     16   should have done. Yeah, that's Monday-morning
17   plethora of documentation to show monitoring                      17   quarterback. But somebody can't say to me, wow, you
18   oversight. I mean, what did you do as -- somebody                 18   were pretty absent as fiduciaries. I don't know how
19   could go back and say, you know what you should have              19   anybody could say that.
20   done? That's a pretty easy thing to say in                        20   Q. When you're talking about what kind of duties
21   hindsight. But as you go through this and you're                  21   you have, is there any percentage you could put on,
22   working with expert ERISA counsel and somebody who                22   again, during this period, June of 2008 to April
23   did this as a practice for some point in time,                    23   2009, that you spent working on retirement committee
24   whether it was three, five, what have you, I think                24   duties as opposed to your corporate duties?
25   you look at this and you can see almost daily                     25   A. The monitoring role stepped up dramatically


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 1   conversations going on and reactions based on                      1   from December 30th on. I think it was scaleable.
 2   something else that came on.                                       2   To the degree there was -- I don't ever think we
 3             So as a fiduciary here, you know, with                   3   said, we just don't have time for that right now, we
 4   a monitoring responsibility, I think the question                  4   need to move forward. I think that when you take a
 5   is, were we monitoring it? Absolutely, in spades.                  5   look at what we were doing previous to that, I think
 6   Somebody could go back and say, you know what you                  6   these monitoring procedures were very sound. We had
 7   should have done. Yeah, well, that's easy for                      7   Mercer reviewing it. The report would come in.
 8   someone to say eight years later or five years later               8   Mike would have his input. We would have a
 9   or even a year later whenever the market kind of                   9   schedule. There was a practice. There was a
10   comes back, somebody could sit there and say, you                 10   process. It was followed religiously.
11   guys should have really invested in blank.                        11            As of December 30th, somebody fumbles
12             I mean, there's -- you probably have                    12   the ball. Okay. They're telling us they can
13   it in there. At some point we're going to get into                13   recover the fumble. The guy is a stellar performer.
14   I had a conversation with Marvin Schwartz from                    14   Let's work with that. At some point in time that
15   Neuberger. Ron sends me this guy. Forty-five                      15   comment of his is, I can't fully reset, I can only
16   minutes he's on the phone talking about real estate               16   partially reset, I'm not sure if I can reset, it
17   mortgages. In March of 2009? Do you think a                       17   erodes a bit.
18   pension committee is going to sit there and all of a              18            But the frequency of monitoring, the
19   sudden put itself in mortgages? I let him go                      19   depth of monitoring from January 1st took on a
20   because I'm letting him talk himself out. But                     20   scaleable -- a percentage because that's what was
21   here's Ron sending this guy saying, I want you guys               21   needed. Again, if you talk about pre-December 30th
22   to invest in this thing.                                          22   and post-December 30th, in both cases I would say
23             Now, again, we're not the size of WHX.                  23   that the monitoring of the activity and the process
24   So they could take a piece of that if they wanted to              24   in the funds was clearly sufficient, if not better
25   and still have a healthy distribution. I'm not sure               25   than that.


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 1   Q. Okay.                                                      1   waiting for the fees to get reduced?
 2   A. It's a long-winded answer, but --                          2   A. I can't say I'm that familiar with that
 3   Q. No, no. I'm glad to get your view on all of                3   subject. So if that -- if that's how it's stated
 4   that. I'm going to refer you to the next exhibit,             4   here, I can't dispute it. But I can't say I'm
 5   42.                                                           5   that -- not that involved. And I'm familiar with
 6           (Halpin Deposition Exhibit No. 42 was                 6   the fee adjustment issue but only from the fact that
 7   marked for identification.)                                   7   it was the issue -- the issue was a duplication of
 8   Q. That's a letter from Ms. King, CCing you and               8   fees for the same service.
 9   Mr. DiClemente and Mr. Kittrell. And this is the              9   Q. Okay. So the fourth bullet point there says,
10   Mr. Kittrell, the second page, who also is at                10   committee expressed concerns "on multiple occasions
11   McGuireWoods?                                                11   regarding the lack of diversification." And then
12   A. Yeah. He, at some point in time -- I'm not                12   "the Committee asked you for additional
13   sure how they played each other, but if she wasn't           13   information."
14   available, he was available. There was a time where          14            Then the first full paragraph on the
15   he did get involved.                                         15   second page says, "At this point, the Committee is
16   Q. Okay. Take a look at that just to let me                  16   taking several steps in an effort to move the
17   know when you've had a chance to peruse it.                  17   situation forward. First, the Committee will sign
18           (Witness reviews document.)                          18   the Neuberger Berman investment management agreement
19   A. Okay.                                                     19   even though" the fee issue hadn't been resolved and,
20   Q. Okay. So in Ms. King's letter here to                     20   you know, still reserves the issue that the
21   Mr. LaBow she mentions the Cohn audit. The third             21   committee doesn't think it should have been
22   paragraph she says, "The Committee believes that it          22   allocated the entire Neuberger Berman account.
23   is important to work toward a resolution of the              23            Then the next paragraph says, "The
24   investment of the previously transferred assets and          24   Committee will facilitate transfer of assets and
25   not to wait until the financial materials are                25   will provide direction for Neuberger Berman or


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 1   reviewed and analyzed by the Committee."                      1   National City (as trustee and custodian) to execute
 2              The next paragraph then says, the                  2   your instructions regarding investment management."
 3   committee wants to make sure that all actions are             3   So that sounds as if now the committee is saying
 4   taken -- "The Committee wants to ensure that it has           4   fine, you can go ahead and invest. And there's
 5   taken all actions to facilitate your fulfilling your          5   no -- no statement here about we need to get a plan
 6   duties as investment manager of the SWI pension               6   from you first before we let you exercise your
 7   assets." And then as underneath there she has some            7   investment management authority.
 8   bullet points. The first one is the investment                8             Is that what you take that paragraph
 9   management agreement with WPN -- with Mr. LaBow's             9   to mean?
10   company, that is -- gives him "complete authority to         10           MR. JOYCE: Objection to form. And also
11   select and designate other investment managers, for          11   speculation. Somebody else's document.
12   example, Neuberger Berman." And that "the Committee          12             You can answer.
13   agreed to work with Neuberger Berman to get an               13           THE WITNESS: Thanks.
14   agreement in place."                                         14   A. So yeah, I'm going to say -- Sally is writing
15              The second bullet point says, the                 15   this, so I'm not going to be able to precisely
16   committee "negotiated all provisions, except the fee         16   interpret what her understandings are. My takeaway
17   provisions, of the Neuberger Berman agreement," and          17   from reading this is that we are going -- if you
18   still wanted Mr. LaBow to get a better deal on the           18   bring up an issue, we are going to try our -- to
19   fees.                                                        19   facilitate that so you can do your job.
20              "The Committee has not signed the                 20             So I think she's saying, if these
21   agreement" and is waiting on the fees before it              21   things -- if you're telling us these things are
22   signs the agreement with Neuberger Berman.                   22   hurdles for you, we will take care of it.
23              So at this point as of February 24th,             23   Q. The next sentence where I left off, "The
24   it's still in the same position, haven't signed an           24   Committee will not approve or reject investment
25   agreement with Neuberger Berman and are still                25   actions made by you, since you are investment


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 1   manager and have full authority regarding investment         1   marked for identification.)
 2   decisions under the Agreement."                              2   Q. For the record, I'll say that's an e-mail
 3             This is the first communication with               3   from you dated February 20th to Mr. DiClemente.
 4   Mr. LaBow from the committee or the committee's              4   Take a look at that and --
 5   attorney that doesn't say we want a plan from you            5   A. Okay.
 6   before you do anything. That seems to me to be a             6            (Witness reviews document.)
 7   change.                                                      7   A. Okay.
 8           MR. JOYCE: Object to the form.                       8   Q. What did you mean to accomplish with this
 9   A. I don't think it's a change at all. I think               9   e-mail to Mr. DiClemente?
10   we've been telling him all along, since I was               10   A. As I look back and read it, it looks to me
11   actively involved in meetings with him, so I'll say         11   like I was trying to note all the conversations that
12   January 5th or whatever it was, we've always said           12   were had and the times we discussed the Cohn report.
13   you make the decisions. Here's the decision we              13   Q. Okay.
14   make. You're retained and you're fired. So we               14   A. I think we initially were told sometime early
15   don't make an investment decision.                          15   January it would be very soon. It looks like it's
16             I think when we talked to him before              16   still sitting out there.
17   about plans and everything else, that was our strong        17   Q. Got you. Do you know when you did receive
18   direction as to what we wanted. He still could have         18   the Cohn report?
19   done what he wanted. If there's was something               19   A. I want to say it was very late February.
20   blocking him, then he should have clearly said -- I         20   Q. Okay. Do you know what the date was of the
21   think even in the guidelines of the agreement it            21   Cohn audit?
22   says, the investment manager needs to tell us what          22   A. You mean the date that they signed off on it?
23   we need to facilitate him.                                  23   Q. Right.
24             And Ron's personality is, if something            24   A. I don't know.
25   is in his way, he's removing it, and he's removing          25   Q. Was there a lag between the audit being


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 1   it immediately. So if he had a hurdle, I don't know          1   finished and published and bound and you receiving
 2   whatever he told us before that there was a hurdle.          2   it?
 3   As I look at this thing, the first bullet says, the          3   A. I have to say I don't know because I don't
 4   investment management agreement says "your company           4   know the date it was signed. But I think it was
 5   has complete authority" of the conversations -- you          5   definitely a lag between when it was promised it
 6   know, let's go to the second one. Committee                  6   would be given to us and how many times we had to
 7   successfully negotiated -- except fee provision.             7   ask for it and when we got it. In terms of when it
 8   Ron, that's your job. You were supposed to do the            8   was signed and when it was provided to us, I don't
 9   fee provision; right? The committee is not signing           9   know the date it was actually signed off on.
10   this thing until you do your job.                           10   Q. I take it from what you were saying earlier
11            "The Committee expressed its concerns              11   that you were disappointed when you read the audit?
12   to you on multiple occasions regarding the lack of          12   A. I think it was a compilation. I think it
13   diversification." Ron, that's you that didn't fill          13   just tabulated items as opposed to a little more
14   it.                                                         14   substantive stuff. I think when we expected an
15            So every one of those ideas, Ron, you              15   audit, what we got was nothing more than somebody
16   didn't do your job; Ron, you didn't do your job;            16   validating end-of-month account balances or
17   Ron, you didn't do your job. Do your job.                   17   something. For something to take that long for that
18            This thing here, to me, is nothing                 18   was a little bit weak.
19   more than reiterating something that we said all            19   Q. Do you know of any -- what Cohn was
20   along. We don't reject or approve your investment           20   contracted to do?
21   decisions. That's your job. I think it's just a             21   A. I do not.
22   repeat and reminder. It's not saying we've changed          22   Q. And was that the WHX retirement committee
23   the direction. It's a repeat.                               23   that commissioned it or shared that between the two
24   Q. All right. Let me refer you to Exhibit 43.               24   committees?
25           (Halpin Deposition Exhibit No. 43 was               25   A. I remember somewhere that -- my understanding


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 1   was Ron -- Ron requested it. I don't -- I don't              1   Q. So the e-mail from Mr. DiClemente I guess
 2   know that to be certain, but I do remember something         2   goes through some of the history of the Severstal
 3   where it was Ron that requested it.                          3   plans or trust in Neuberger Berman, and then toward
 4   Q. Okay. Next document, Exhibit 44.                          4   the end of the e-mail it says, "His role with us is
 5          (Halpin Deposition Exhibit No. 44 was                 5   what contributed in part to our initial reluctance
 6   marked for identification.)                                  6   to enter into the agreement directly with you
 7          (Witness reviews document.)                           7   because we have felt that is Ron's responsibility.
 8   Q. For the record, this is an e-mail from                    8   As discussed, we are providing an accommodation to
 9   Mr. DiClemente dated February 27th, 2009, to Russell         9   Ron."
10   Khanuk at Neuberger Berman, and it CC's Jacquie             10            Do you know what this accommodation is
11   Thomas, you, Mr. Halpin, and Rick Bowness. Let me           11   that he's referring to?
12   know when you've had a chance to take a look at             12   A. Okay. I'm sorry.
13   that.                                                       13          (Witness reviews document.)
14   A. Okay.                                                    14   A. I would be speculating. I'm assuming he's
15   Q. In the last paragraph it says, "You'll also              15   meaning that we are going to sign an agreement with
16   note that I am copying Dennis Halpin, who I                 16   you as opposed to Ron signing with you. We hire
17   mentioned on the phone yesterday will be a party to         17   Ron. Ron hires investment managers. This seems to
18   these documents. Dennis is a senior member of the           18   be now we're going to be -- in my mind, this is a
19   team at Severstal Wheeling, Inc., as well as SWI            19   duplicative arrangement.
20   Retirement Committee member."                               20   Q. And there's a few documents back, Mr. Riposo
21           Is this your introduction to Neuberger              21   was explaining to you and Mr. DiClemente on the
22   Berman? Had you dealt with them before this?                22   phone that there was a lot of paperwork that you, as
23   A. I can't say I dealt with them before this.               23   the retirement committee, would have to do to have
24   Apparently it's an introduction of Russell and me,          24   relationships with each of the different funds
25   but I don't remember some -- any documentation prior        25   because that's what he was doing at WHX.


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 1   to that.                                                     1             Is that your understanding of how WHX
 2   Q. Prior to this, had you had any conversations              2   related to the fund managers?
 3   with Neuberger Berman?                                       3           MR. JOYCE: Objection to form.
 4   A. I can't be certain, but I don't -- I don't                4   Speculation.
 5   believe I had one, a direct conversation, prior to           5   A. I wouldn't know. I wouldn't know.
 6   Michael's leaving the company.                               6   Q. So you don't know necessarily that this
 7   Q. Okay. Leaving the company in February --                  7   accommodation, that signing an agreement with
 8   A. As an employee.                                           8   Neuberger Berman is anything different than what WHX
 9   Q. -- as an employee in February 2009?                       9   did with Neuberger Berman?
10   A. Yeah.                                                    10   A. I don't know what they did. I mean, my
11   Q. This looks similar but is not the same.                  11   understanding was clearly that Ron was the
12   Exhibit 45. Just for the record, that's another             12   investment manager, and I think the agreement said,
13   e-mail from Mr. DiClemente also on February 27,             13   Ron, you are authorized to hire other investment
14   2009. The last one was 2:42, and this one is at 3           14   managers as you deem fit. So I think that the
15   p.m.?                                                       15   concern or the question was, why do we have to get
16   A. Okay.                                                    16   into -- that's not what we asked you to do. Maybe
17   Q. Also to Mr. Khanuk at Neuberger Berman and               17   this was a cut of the pie. He didn't want to take
18   CCing you and Rick Bowness but not Ms. Thomas.              18   out his, so we're paying twice for the same effort.
19           (Halpin Deposition Exhibit No. 45 was               19             Ron, you're the investment manager.
20   marked for identification.)                                 20   If you want somebody else to be involved, bring them
21   Q. It refers to the investment management                   21   on, but we shouldn't have to sign additional
22   agreement with Mr. LaBow. Let me know when you've           22   investment agreements. So there was no real -- I
23   had a chance to take a look at that.                        23   would think that there was no real need to have to
24           (Witness reviews document.)                         24   sign an agreement with them. He could have -- he
25   A. Okay.                                                    25   could have set the agreement with Neuberger.


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 1   Q. Are you sure of that?                                           1   contract with Neuberger Berman.
 2   A. Under the authority of the investment                           2   A. Yeah.
 3   agreement, he had all authority to do that.                        3   Q. Okay. And going to the -- I guess the
 4   Q. But would Neuberger Berman have accepted an                     4   next-to-the-last page, is that your signature?
 5   agreement signed by Mr. LaBow as opposed to a member               5   A. That is my signature.
 6   of the retirement committee to Severstal?                          6   Q. Okay. And it says, February 25th, 2009.
 7          MR. JOYCE: Objection to the form.                           7   Does that relate to the date of Ms. King's letter?
 8   Speculation.                                                       8   Let me just go back to that exhibit. 42 was dated
 9   A. I'm sure they would have called him -- Ron                      9   February 24th where Ms. King said -- that the
10   came from Neuberger -- or called us, are you guys                 10   committee was going to go ahead and sign the
11   okay with this setup?                                             11   agreement with Neuberger Berman, except the fee
12   Q. My point was, would Neuberger Berman want the                  12   portion. So your signature would just be the day
13   retirement committee, you the retirement committee,               13   after, from looking at the dates on the two?
14   to sign off on any investment management agreement                14   A. Yeah.
15   and not Mr. LaBow?                                                15   Q. Okay. Then the last page has written in "Ron
16          MR. JOYCE: Objection to form.                              16   LaBow to discuss fees with NB." So did you have any
17   Speculation.                                                      17   discussions with Neuberger Berman before you signed
18   A. Yeah, I -- I -- I don't know. I don't know.                    18   this on February 25th?
19   Q. Up to this point, February 27th, 2009, had                     19   A. No. Again, let's go back to what I said
20   you had any conversations with Neuberger Berman yet               20   before. I'm now getting into a role of the single
21   as to how -- how you would go about retaining them                21   Severstal retirement committee member. I've got two
22   for the retirement committee?                                     22   people, one that knows the administrative and one
23   A. I think the only time I probably was part of                   23   that knows the ERISA counsel side. At this point in
24   them was this earlier one. I would say, no, this                  24   time I'm going to tell you that I become a vehicle
25   was the one that said by way of introduction.                     25   for signatures to get processes done. So if Sally


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 1   That's probably the first time I was in contact with               1   and Michael say, Dennis we need to move forward with
 2   them. Maybe that's two ago, right.                                 2   this Neuberger contract, will you sign it -- when
 3   Q. I think you're referring to Exhibit 44. I                       3   those two people are guiding me to do something, I'm
 4   don't know that either of them used the words "by                  4   going to say, let me -- I don't know what this
 5   way of introduction."                                              5   actually is, let me talk with them.
 6          (Witness reviews document.)                                 6             So again, I would say that if she said
 7   A. Well, I think when Mike says, I'm copying                       7   at the February 24th meeting she's saying to
 8   Dennis Halpin, who I mentioned on the phone will be                8   facilitate or to whatever, accommodate, we're going
 9   this person.                                                       9   to do this, and they come back and they say, Dennis,
10   Q. Right.                                                         10   you need to sign this, I'm saying, okay, based on
11   A. I would think indirectly that's saying, hey,                   11   your guidance or instructions, I will do that. I
12   let me introduce this guy to you. I'm now moving                  12   didn't call up Neuberger or talk to them and say
13   off. I'm a consultant, he's a SWI manager, shake                  13   let's talk about this contract. Because again,
14   hands. So I don't think at that point in time they                14   that's not my area.
15   probably knew who I was.                                          15   Q. Right.
16   Q. And the date of those two e-mails, last two                    16   A. So I'm deferring to their expertise when I'm
17   exhibits, 44 and 45, were February 27th. Now, let                 17   doing some of these activities or signatures.
18   me show you Exhibit 46.                                           18   Q. Sure, sure. And from looking at the document
19          (Discussion held off the record.)                          19   then as of the February 25th, 2009, there still
20          (Halpin Deposition Exhibit No. 46 was                      20   wasn't an agreement with Neuberger Berman in place?
21   marked for identification.)                                       21   A. I don't know if there was an agreement.
22   Q. Okay. So Mr. Halpin, Exhibit 46, as I've                       22   There may have been an understanding or an
23   been told --                                                      23   agreement. Was there one signed? Apparently not.
24   A. Yeah.                                                          24   But was there an agreement? That's a different
25   Q. -- is in front of you, and it looks like a                     25   question, and I can't answer that. I don't know.


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 1            I mean, there's definitely going to be                    1   A. Again, before December 30th, whatever you say
 2   situations here -- let's talk about the investment                 2   to me, I found out later as I'm reading the
 3   agreement; right? Was there a -- was there a                       3   documents. I was not party to any of those
 4   procedure? Was there a practice? Absolutely. When                  4   conversations.
 5   was it signed? That's a different question,                        5   Q. Got you.
 6   different answer. But was there always a policy in                 6   A. From my background.
 7   place and guidelines? Absolutely was.                              7   Q. Right. But you recognize that there were
 8            So sometimes you look at a signature                      8   documents dealing with Neuberger Berman going back
 9   and you say, what was this doing? This was                         9   to November 3rd?
10   formalizing an understanding that was already in                  10   A. I can't say that there were or there weren't
11   practice. It's just making it formal.                             11   document discussions.
12   Q. What was a practice that was being made                        12   Q. We just looked at them earlier this morning.
13   formal?                                                           13   A. If we looked at them -- now, again, you're
14   A. That before November 3rd there was a WHX                       14   asking me today do I know that. Today I know that.
15   trust agreement, there was a WHX trust guidelines                 15   Back then --
16   policy, and that was what Ron was to follow on                    16   Q. Right, that's what I'm asking.
17   November 1st. He was to follow a mirror image that                17   A. Today I know it, yeah.
18   was an understanding that you will do this same                   18   Q. Okay.
19   thing until we kind of change these words out --                  19   A. But we have to remember, I'm operating not --
20   change these names out, and that's what you're going              20   I don't have like some sort of time capsule to say,
21   to follow. So was there also a policy, practice in                21   hey, today, I should have known that. You have to
22   place? Yeah, there was. Was there an                              22   take the timeline that says at that time how were
23   understanding? Yeah. When was it signed? That's a                 23   you acting based on you what you knew. Some of that
24   different question, but the understanding was it was              24   stuff I wasn't aware of. If I know it today and it
25   always in place.                                                  25   doesn't all of a sudden retroactively say, well,


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 1   Q. I got you. With Neuberger Berman was there                      1   there you go, time capsule, you should have known
 2   any understanding or agreement in place?                           2   it. I did not know it.
 3   A. I -- I'm going to sound ignorant maybe a bit                    3             Neuberger Berman is a very, in my
 4   here. I'm not going to say that I was that familiar                4   mind, mechanical, administrative process. Again,
 5   with the mechanics of this Neuberger Berman fees and               5   that wasn't my area of expertise. Probably why Mike
 6   agreement or what have you. I think at this point                  6   didn't bring me in, because what benefit is he going
 7   in time being the sole representative of the                       7   is serve. There's no need to necessarily get his
 8   committee, I am deferring a heavy amount of                        8   input. That's his area. No need for two people.
 9   influence to what Mike and Sally are talking to me                 9   It's not like the more the merrier or something like
10   as a committee -- as a representative.                            10   that. If I could have added to it, I'm sure Mike
11   Q. Do you know what the purpose of getting                        11   would have included me.
12   Neuberger Berman retained was? February of 2009?                  12           MR. JOYCE: Can we take a quick break
13   A. The purpose of getting them on board, I                        13   before the next exhibit?
14   believe, was to -- again, I have to be careful. I                 14           MR. STRAWN: Sure, sure.
15   don't even know why they're there. My question is,                15           (A brief recess was taken.)
16   they don't have to be there.                                      16     BY MR. STRAWN:
17   Q. Right.                                                         17   Q. Mr. Halpin, let me show you what's marked as
18   A. Ron can do this. Ron can sign with them.                       18   Exhibit 47, and take a look at that and let me know
19   But to facilitate or to remove that excuse of his or              19   if you recognize it.
20   whatever he thinks he had, which didn't come up                   20           (Halpin Deposition Exhibit No. 47 was
21   until the tail end, we will sign the Neuberger                    21   marked for identification.)
22   agreement because he was asking for it.                           22           (Witness reviews document.)
23   Q. You say it only came up at the tail end, but                   23   A. Okay.
24   there were e-mails going back to November 3rd or                  24   Q. Okay, yeah. First question, do you recognize
25   November 4th.                                                     25   this?


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 1   A. I don't recall this document.                              1   at that.
 2   Q. Okay. The second page there it says, March                 2           (Witness reviews document.)
 3   9th, 2009. And it seems to go through a history of            3   A. Okay.
 4   the allocation of assets to the Severstal trust.              4   Q. So this is dated March 6th, 2009. Do you
 5   The title says, "Evaluation of WPN Corporation's              5   remember this, recognize this?
 6   Compliance with the WHX Pension Plan Investment               6   A. I can't say I remember it.
 7   Policy as of March 2004 and the Severstal Wheeling,           7   Q. Okay. It seems as if it's indicating that
 8   Inc. Pension Plan Investment Policy effective                 8   the agreement is still not final with Neuberger
 9   November 1, 2008. March 2009."                                9   Berman to trade the -- or I should say create the
10            See it references the Cohn report, the              10   account.
11   audit, in that second paragraph, February 11th,              11   A. I mean -- I mean, if he's saying something
12   2009. And it seems in the chart on the bottom of             12   that the attachment should be signed to open a new
13   page 1 of cash equivalents, that's an $8.4 million           13   account, I can't argue that. I don't remember -- I
14   entry.                                                       14   don't remember the e-mail.
15            Do you know, just looking at the                    15   Q. Do you remember any back and forth with
16   numbers, if that's the final true up or one of the           16   Neuberger Berman to get the account set up?
17   final true-up payments for the Severstal trust for           17   A. I do remember some period of time where there
18   the final separation from the commingled trust?              18   was some volume of interaction with Neuberger
19           MR. JOYCE: Objection to form.                        19   Berman.
20   Speculation.                                                 20   Q. Did you ever speak to Mr. Khanuk?
21   A. Yeah, I don't -- I don't recall, John.                    21   A. I don't remember ever speaking to him, no.
22   Q. Okay. Do you know if about this time, March               22   Q. Do you remember ever speaking to anybody from
23   9, 2009, there was any discussion among the                  23   Neuberger Berman?
24   committee or -- not the committee -- that you had            24   A. Marvin Schwartz. That's the only one I can
25   with anybody else about taking legal action with             25   remember speaking to.


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 1   regard to Mr. LaBow?                                          1   Q. The one you testified to.
 2           MR. JOYCE: Objection. Privileged.                     2   A. Yeah, I do remember him because it was such a
 3   Could reveal work product with McGuireWoods as well.          3   bizarre call, but I can't say I remember anybody
 4            So to the extent you can answer                      4   else.
 5   without going into what you discussed with counsel,           5   Q. Do you remember when that call took place?
 6   you can do that.                                              6   A. Sometime in March, I believe. 2009.
 7           MR. STRAWN: The counsel for the                       7   Q. Between February and March of 2009, was
 8   retirement committee?                                         8   Mr. DiClemente spending less time or more time with
 9           MR. JOYCE: Yeah, the retirement                       9   committee work with you?
10   committee or if you had personal counsel or anything         10   A. I would say he was spending an appropriate
11   like that.                                                   11   amount of time. If something needed to happen, he
12           MR. STRAWN: Those are two separate                   12   was available. So I don't think there was a
13   issues, but --                                               13   lightness of it. I think he was as available as we
14   A. Yeah, I can't recall.                                     14   needed him.
15   Q. Okay. And let me show you Exhibit 49 (sic).               15   Q. Okay. Show you Exhibit 49.
16           (Halpin Deposition Exhibit No. 48 was                16          (Halpin Deposition Exhibit No. 49 was
17   marked for identification.)                                  17   marked for identification.)
18   Q. For the record, that's an e-mail from                     18   Q. So for the record, that's an e-mail from
19   Mr. Khanuk to Mr. DiClemente and to you with a CC to         19   Mr. DiClemente dated March 11th, 2009, to you and
20   Mr. -- Diccianni?                                            20   Mr. Khanuk and a CC to Mr. Diccianni. Let me know
21   A. I want to say Diccianni.                                  21   when you had a chance to take a look at that. It's
22   Q. Diccianni.                                                22   just the one page.
23   A. That's my Irish background. I don't get                   23          (Witness reviews document.)
24   these Italian names too good.                                24   A. Okay.
25   Q. Let me know when you've had a chance to look              25   Q. It seems as if they're still waiting for


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 1   documentation. It says here in the Mr. Khanuk's              1   A. I can't say I know exactly what that is.
 2   e-mail, "I am still waiting to receive the SWI               2   Q. Okay. Do you recall any of these
 3   Retirement Committee document designating Dennis             3   interactions with Mr. Khanuk?
 4   Halpin as the proper control person."                        4   A. There were a number of them. Again, it seems
 5   A. I'm sorry, where does it say that?                        5   weird that -- over here he doesn't mention these
 6   Q. Oh, I'm sorry. It's in --                                 6   documents. It just seems like every time -- I have
 7   A. Oh, okay.                                                 7   a couple more. But again, my thing is, you asked,
 8   Q. -- Mr. Khanuk's e-mail to you.                            8   you got. You asked for this, we gave it to you. So
 9   A. The only thing I, as I'm looking at it here,              9   every time you asked for something, I think we're
10   saying I'm still waiting. I don't know if I've even         10   trying to accommodate as quickly as we can.
11   seen where he said he needed that before that. If           11   Q. I see that Mr. Khanuk's title is client
12   he was looking for something, I think I attended to         12   associate, so I don't know if that --
13   it.                                                         13   A. Yeah, I don't know what that is. Everybody
14   Q. There seem to be a lot of back and forth with            14   is a vice president right now. Vice president of a
15   Neuberger Berman. Do you recall anything about              15   bank. If you're not a vice president, you're in
16   this, about the signature page or anything in               16   trouble.
17   particular, what Mr. Khanuk was asking you for?             17   Q. All right. And next Exhibit 51.
18   A. I don't. Again, just looking at it, I see                18           (Halpin Deposition Exhibit No. 51 was
19   that he sent something on 3/10 at 10:17, and it             19   marked for identification.)
20   looks like it was pretty quickly provided.                  20   Q. That's a two-page exhibit.
21   Q. On March 11th?                                           21           (Witness reviews document.)
22   A. Yes, he asked for it, he got it. If he's                 22   A. Okay.
23   asking for something new -- I'm a little surprised          23   Q. All right. It's from you, and it's to
24   he's still waiting. I'm not sure how that was               24   Neuberger Berman, dated March 12th, and the second
25   exactly phrased.                                            25   page it says Acknowledgement and Consent Form. Do


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 1   Q. Right. Just the sentence after that in his                1   you know if this is one of the documents that they
 2   e-mail says, "I spoke to Sally King on Friday and            2   were asking you for, or is this something new?
 3   was told that the document had been sent over to SWI         3   A. I don't know. Obviously it is a document
 4   for signature."                                              4   they were asking for, but --
 5            Anyway --                                           5   Q. Yeah, this doesn't seem to be the W-9 or an
 6   A. Yeah, I don't know.                                       6   ERISA objectivity letter. Looking at the first page
 7   Q. All right. I'll show you the next exhibit,                7   then, you say, "Gentlemen: I hereby instruct you to
 8   No. 50.                                                      8   manage the assets of the above named account for
 9           (Halpin Deposition Exhibit No. 50 was                9   capital appreciation and income." When you say
10   marked for identification.)                                 10   "capital appreciation and income," is that a
11   Q. And take a look at that. It's an e-mail                  11   particular fund, or is that the goal or --
12   dated March 12, 2009, from Mr. Khanuk to you with           12   A. I see I didn't sign it. There's probably one
13   the CC to Mr. DiClemente.                                   13   out there that's signed by me. I can't say I wrote
14           (Witness reviews document.)                         14   these particular words. I don't know why they're
15   A. Okay.                                                    15   written that way.
16   Q. And he says in there, "I realized that we are            16   Q. The second page at least has your signature
17   still missing two set of docs. Please find attached         17   on it on the form dated March 12th of 2009.
18   a copy of the W-9 and ERISA objectivity letter."            18   A. Yeah, that's me.
19            Do you recall this e-mail?                         19   Q. It also says, "Attached is a copy of our
20   A. I don't recall it.                                       20   current investment guidelines policy that pertains
21   Q. Do you know what a W-9 is?                               21   to these assets."
22   A. It's an information document, a tax                      22            While we're at it, let me show you
23   documentation, I believe, that has to be provided.          23   what we can mark as Exhibit 52 and Exhibit 53.
24   Q. An ERISA objectivity letter, do you know what            24          (Halpin Deposition Exhibit Nos. 52 and
25   that is?                                                    25   53 were marked for identification.)


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 1           (Witness reviews document.)                                1   signed around December 5th, 2008.
 2   Q. Let me know when you've had a chance to take                    2           MR. JOYCE: Just object to the form.
 3   a look at those two.                                               3             If you understand, go ahead.
 4   A. I'll kind of give them a brief thing. If                        4   A. Again, I would say, were our funds under the
 5   there's a question you have, I may just reread that                5   management of guidelines, policies and agreement?
 6   specific section.                                                  6   Yeah, it was, because we were part of a fund that
 7   Q. Sure, sure.                                                     7   had an agreement with him. So maybe I'm not getting
 8           (Witness reviews document.)                                8   it right, but I'm saying we had -- we had a
 9   A. Rather than hold it up, I'll let you ask a                      9   derivative relationship with him because we were
10   question, and I'll try to focus on that section.                  10   part of a fund that he was managing and had policies
11   Q. Start peppering you with questions. So                         11   associated with it.
12   Exhibit 52 says it's a draft dated February 2009 for              12   Q. Right. The relationship between Severstal
13   the two plans, Statement of Investment Policy,                    13   Wheeling-Pitt and WHX goes back a while and changes
14   Mercer Investment Consulting. Do you recognize that               14   form, just the fact that all the retirement plans
15   at all? Have you ever seen that before?                           15   were commingled even after the employers were
16   A. I can't say that I have or I haven't. I                        16   separated, that it -- it just gets a little
17   don't recall.                                                     17   complicated. I was just asking if -- to confirm my
18   Q. Okay. And 53, that says, effective November                    18   understanding that there wasn't a contract between
19   1st, 2008, "Severstal Wheeling, Inc. Pension Plan                 19   Severstal and -- and Mr. LaBow in writing, a written
20   Investment Policy." Do you recognize that document?               20   physical document before November -- before November
21   A. That looks familiar, yeah, that looks -- that                  21   1st 2008?
22   one looks familiar.                                               22           MR. JOYCE: Same objection to form.
23   Q. Is this Exhibit 53 based on the WHX                            23   Legal conclusion.
24   investment policy, or is this something that you had              24             If you understand, you can answer.
25   created for Severstal?                                            25   A. Yeah, I'm going to say that you're wrong,


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 1   A. I want to say this policy is a -- emanated                      1   because there was an agreement and there were policy
 2   from the WHX policy. So is it exact? I don't know                  2   guidelines, and we were a part of that WHX. I'm
 3   if it's exact, but it's probably very similar.                     3   probably not specifically answering. But there
 4   Q. Okay. It references the Severstal Wheeling,                     4   was -- there definitely was -- we were part of the
 5   Inc. and WPN, so it's at least personalized up until               5   WHX trust. There was an agreement with that. So
 6   November 1st, I guess.                                             6   I'm not understanding why you keep saying there
 7   A. Correct.                                                        7   isn't a contract. There is a contract. We're part
 8   Q. It says, effective November 1st. Do you know                    8   of that contract.
 9   when it was actually created?                                      9   Q. Right. That's my understanding.
10   A. I'm not sure where that date is on there, but                  10   A. So we're -- we're -- do we have a contract?
11   I would say that if -- effective November 1st versus              11   Yeah, we do.
12   pre that. If it wasn't this one, he was working                   12   Q. And I guess it's going into deeper background
13   under the understanding of the WHX one, so I'm not                13   than we need to at this point. So Exhibit 53 looks
14   sure exactly the significance of that date on this                14   familiar. Exhibit 52 you haven't seen before.
15   particular item.                                                  15   A. I can't say -- I can't say with certainty I
16   Q. And prior to the trust being separated, prior                  16   have seen or I haven't seen. I know this one looks
17   to November 3rd, 2008, to your understanding,                     17   familiar because I remember this policy and where it
18   Severstal didn't have a direct relationship with                  18   sort of emanated from. This one here (indicating)
19   Mr. LaBow? A contract, I should say.                              19   today, I can't sit here and say, yeah, I remember
20   A. We -- we had a contract with him. It was                       20   that one. I don't know. Either way I can't say I
21   underneath -- we were part of that WHX so that we                 21   know it or don't know it.
22   were under a contract with him at that time based on              22   Q. Going back to your letter, Exhibit 51 here,
23   being part of the WHX trust.                                      23   it says, "Attached is a copy of our current
24   Q. But there's no written contract with                           24   investment guidelines policy that pertains to these
25   Mr. LaBow that existed before the one that was                    25   assets."


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 1             Do you know which policy it was? I                   1            Did you have a phone call with
 2   didn't see that.                                               2   Mr. LaBow and Mr. Schwartz?
 3   A. I can't say I would be able to tell you what                3   A. No. No. I had one phone call with Marvin
 4   policy, with certainty, it was.                                4   Schwartz, and it was just me and him.
 5   Q. And this is the first reference I've seen in                5   Q. The message from Lorraine Greco. "Dear Ron -
 6   the documents to here's our investment guidelines.             6   Please don't be upset but I too placed a call to
 7   And I know what you're saying about, well, we had              7   Dennis Halpin and left a please return my call on
 8   guidelines as far as the WHX trust, but, that aside,           8   his voice mail." I don't know how that would
 9   I don't remember any reference to a document from              9   generate a don't be upset as of this writing. "All
10   Severstal that said this is Severstal's investment            10   of our petroleum sales look good as of this
11   guidelines.                                                   11   writing." It sounds like they're thinking about
12   A. Yeah, and I -- I don't know how to answer                  12   selling the Neuberger Berman assets. "I just want
13   that. I don't know. I probably don't understand               13   Dennis to participate on the liquidation
14   the question, but I will just say I don't                     14   instructions in the highly unlikely event that Exxon
15   understand.                                                   15   decides to buy Anadarko at a huge premium price
16            MR. JOYCE: I'll just object to the                   16   today." It sounds as if they're talking about
17   form. I don't know if there was a question.                   17   selling the assets and the last-minute timing of it.
18            THE WITNESS: Oh, okay.                               18            Do you have any understanding of any
19   Q. Do you know -- all right. My assumption                    19   of these discussions going on about the sale of any
20   is -- let me know if you believe this is correct --           20   of the Neuberger Berman assets around this date?
21   that on March 12, 2009, when you sent this letter to          21          MR. JOYCE: Object to form.
22   Neuberger Berman, you had attached a copy of the              22   A. I don't. I don't remember ever talking to a
23   current investment guidelines that pertain to these           23   Lorraine Greco.
24   assets. That was a Severstal investment guideline             24   Q. My understanding is that the sale went
25   policy as opposed to a previous WHX policy?                   25   through, the Neuberger Berman assets, on March 24th,


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 1   A. I can't -- I can't tell you today what                      1   2009. A lot of different stocks in there. I don't
 2   guideline was attached to that.                                2   know that each one was sold that day, but my
 3   Q. And 52 says it was a -- the Mercer investment               3   understanding is that the account was liquidated on
 4   policy says it was a draft in February of 2009, and            4   March 24th, 2009. Do you have any recollection as
 5   53 says effective November 1st, Severstal Wheeling             5   to when the Neuberger Berman account was liquidated?
 6   Pension Plan Investment Policy, but you don't know             6   A. I honestly -- I can't tell you what date it
 7   what was sent out on March 12th?                               7   was. I don't remember what date that was actually
 8   A. I couldn't tell you which one that was                      8   liquidated.
 9   attached to that. I can't -- I can't tell you which            9   Q. Okay. Anything in here sound familiar
10   one it is.                                                    10   about -- about the selling of petroleum stocks,
11   Q. Okay. Let me show you what's Exhibit 54.                   11   Exxon, Anadarko?
12           (Halpin Deposition Exhibit No. 54 was                 12   A. It doesn't.
13   marked for identification.)                                   13   Q. All right. I took that one just out of order
14   Q. When you see it, it's going to be an                       14   date-wise. Let me show you Exhibit 55. This is
15   e-mail -- it looks like an e-mail from Ron LaBow,             15   dated March 20th, so that's back a few days.
16   but it doesn't say to whom. It has an original                16          (Halpin Deposition Exhibit No. 55 was
17   message from Lorraine Greco, and it's got an nb.com,          17   marked for identification.)
18   so I assume she's from Neuberger.                             18          (Witness reviews document.)
19   A. I can't say I remember her.                                19   A. Okay.
20   Q. Sure. This is just the one page. At the                    20   Q. All right. So Exhibit 55 is just one page.
21   bottom it looks that there's an original message              21   It looks like an e-mail chain, and the one at the
22   from Ron LaBow to Lorraine Greco. It says, Re line,           22   bottom is from you March 20th, 2009, to Russell
23   "Please call Marvin Schwartz." The body says,                 23   Khanuk with a CC to Mr. DiClemente and Ms. King. It
24   "Trying to locate Dennis Halpin to be on call with            24   says, "Russell, Just doing a final check...can you
25   me."                                                          25   confirm that you now have everything that you


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 1   needed?"                                                    1   need my assistance tomorrow to complete NB trades."
 2             There's an e-mail before that from                2   You don't have any recollection of that?
 3   March 16th from Mr. Khanuk, presumably to you,              3   A. Today, as I sit here, I don't recollect that.
 4   although that's not clear from the document. The            4   Q. Do you recall any communications back and
 5   last paragraph in the e-mail from Mr. Khanuk still          5   forth with Mr. LaBow to get the Neuberger Berman
 6   brings up again that they're waiting for Mr. LaBow          6   account liquidated at any time?
 7   and Mr. Schwartz to agree on the fee schedule prior         7   A. No. As I read this, I think what I'm
 8   to any trading.                                             8   continuing to say is if you need something done --
 9             And you asked him on the 20th about               9   sort of a general statement each time.
10   whether he needed anything else, and then he               10   Q. Right.
11   responded to you the e-mail on the top of the              11   A. Same thing with Neuberger. If you need
12   document, "Hi Dennis, We're all set with the               12   something, let us know. Give us some insight, and
13   paperwork and the account has been opened and linked       13   we will work on that. So I think this is just more
14   to NatCity. We are waiting for the fee schedule to         14   of a continuing, is there something else we need to
15   be worked out prior to any trading."                       15   do, is this something else you need help on. But in
16             It sounds as though it's still in the            16   terms of specifics, in terms of his obligations or
17   same place it was before everything was agreed to          17   dates, I'd say I wouldn't know today exactly when
18   but the fee schedule.                                      18   those dates were.
19           MR. JOYCE: Objection to form.                      19   Q. Got you. Let me refer you to the next
20   A. Yeah, I'm going to say when I read this                 20   exhibit then. Might shed a little more light on it
21   that -- that seems to be how it reads, looking -- I        21   or not. Exhibit 57.
22   mean, I don't -- I don't have anything to dispute          22           (Halpin Deposition Exhibit No. 57 was
23   that, but I don't know.                                    23   marked for identification.)
24   Q. Do you recall the e-mail, I guess should have           24   Q. Have you seen this document before,
25   been the first question I asked you.                       25   Mr. Halpin?


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 1   A. I don't.                                                 1   A. I don't believe I have.
 2   Q. Okay. Let me go to Exhibit 56.                           2           (Witness reviews document.)
 3           (Halpin Deposition Exhibit No. 56 was               3   A. I don't believe I have, John.
 4   marked for identification.)                                 4   Q. Okay. It says, "Transcription of Voice Mail
 5   Q. That's also a one-page document, for the                 5   Message," and it looks like it's a message that
 6   record. It's an e-mail, looks like it's sent on             6   Mr. LaBow left Sally King. And in it, third --
 7   March 23rd, 2009 -- sorry for taking it out of              7   second or third line, "I have been speaking with
 8   order -- from you to -- doesn't seem like there's a         8   Dennis Halpin. I have tried to call Mike a couple
 9   To, but there's a BCC LaBow, and I don't see anybody        9   times."
10   else. The body says, "Ron, Sounds like you made            10            Again, do you recall any conversations
11   contact with Nat City late today (Jacquie Thomas).         11   with Mr. LaBow at this point in March of 2009 to
12   If somehow you need my assistance tomorrow to              12   sell the Neuberger Berman account?
13   complete NB trades...call my cell." Then underneath        13   A. An actual contact, no. He left me a voice
14   that there's an e-mail, and it looks like it's from        14   mail around that same time. And so maybe that's
15   Mr. LaBow to you dated March 19th. That's                  15   what he's thinking when he said speaking with me,
16   referring -- I guess it's easy enough just to say          16   but I don't remember actual direct conversations
17   it, including 400,000 "due you we are at roughly $32       17   with Ron.
18   million so we have to gain 25% from here to get back       18   Q. What do you recall from the voice mail that
19   to $40 million -- will keep you posted."                   19   he left you?
20            Do you recall these e-mails?                      20   A. It looks very similar to this. That he
21   A. As I sit here today, John, I do not.                    21   was -- but he didn't catch me. He didn't reach me
22   Q. It sounds as if the -- the e-mail that you              22   on the phone.
23   sent there on the top of the page, March 23rd, that        23   Q. And what do you recall that he -- that he
24   there were plans to -- to sell the Neuberger Berman        24   said on the voice mail message to you?
25   account, just based on what it says, "if somehow you       25   A. I'm paraphrasing but it's very similar to


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 1   this (indicating). I have -- it's my                               1   if this is a previous e-mail, it says, Michael
 2   responsibility. You know, I realize maybe I had                    2   DiClemente, March 25th, 2009, if that indicates that
 3   done some things wrong. Again, this goes back to                   3   he was part of some previous trail, not quite clear
 4   the concept of I've almost recovered all the money,                4   from the document.
 5   so now I'm going to confess my sins. It's my fault,                5             Anyway, do you recognize this
 6   I will make the trades, I will do this. It's my                    6   Exhibit 58?
 7   responsibility. It's not yours. We're almost back                  7   A. I can't as I sit here today, John, tell you
 8   to where we need to be. I'm not looking for your                   8   that I do remember it.
 9   guidance. I'm just advising you of what I'm going                  9   Q. The subject forward Re: Allegiant Money
10   to do. Something along those lines.                               10   Market Funds. Is Allegiant part of National City or
11   Q. A little past midway in the transcription                      11   part of the trustee, or is that something different?
12   here, it says -- let me back up just above the                    12   A. I believe Allegiant and National City were
13   midway point. "I am going to liquidate the account                13   related.
14   when I think it's appropriate turning the whole                   14   Q. Oh, okay. And the e-mail here says, "Ron:
15   thing into cash and go to diversification...and go                15   Believe this should provide you with all you need.
16   to the more normal diversification."                              16   Let me know your decision. If OK with this (govt)
17            I guess he's not giving a particular                     17   fund, I will process the needed paperwork today so
18   day that he's going to make the trade. Do you have                18   that the settlement funds can go directly into this
19   any recollection whether the voice mail message you               19   account. Dennis."
20   got from Mr. LaBow was about the time he liquidated               20             Doesn't refresh your recollection of
21   the Neuberger Berman account?                                     21   any event or what you were doing or communicating
22   A. I don't know if -- I wouldn't be able to tell                  22   with Mr. LaBow about?
23   you here --                                                       23   A. I think it goes to the heart of it. If he
24   Q. Sure.                                                          24   needed something for me to do to facilitate his
25   A. -- when that was in relation, because I don't                  25   actions, I was willing to accommodate it. So --


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 1   remember when he actually liquidated it. I know the                1   Q. Okay. All right. We're up to Exhibit 59.
 2   voice mail I got from him was around that same time,               2   A. That's my age.
 3   end of March, but as to when he did it, I don't                    3          (Halpin Deposition Exhibit No. 59 was
 4   know.                                                              4   marked for identification.)
 5   Q. And you have a transcription that looks                         5   Q. Do you recognize that document, Mr. Halpin?
 6   somewhat similar to this?                                          6   A. I can't say I recognize it today, no.
 7   A. Yeah, when I first looked at it, I thought it                   7          (Witness reviews document.)
 8   was it. This says Sally. But the contents of it                    8   A. Okay.
 9   are very similar.                                                  9   Q. Okay. Let me refer you to the second
10   Q. Right.                                                         10   paragraph there in the first page, "Reconstitute the
11   A. My responsibility. I screwed up. We're                         11   SWI Retirement Committee." It reads, "Given this
12   almost back to where we were. I take                              12   critical point in the WHX Master Trust bifurcation
13   responsibility. I'm not looking for your approval.                13   process, and the possibility of litigation, coupled
14   I'm just telling you what I'm doing. Something like               14   with the recent departure of Michael DiClemente,
15   that.                                                             15   leaving myself as the sole committee member, I
16   Q. Okay. Let me show you Exhibit 58.                              16   restate the urgent need to reconstitute this
17          (Halpin Deposition Exhibit No. 58 was                      17   committee."
18   marked for identification.)                                       18            So that makes me think that you had a
19   Q. For the record, that's an e-mail sent March                    19   hand in drafting this.
20   25, 2009, from you to Mr. LaBow. The last few                     20   A. I would say that's fair.
21   e-mails haven't had a CC to Ms. King or                           21   Q. Okay. And the title of this document it
22   Mr. DiClemente. Were they still in the mix?                       22   says, "Severstal Wheeling, Inc. Defined Contribution
23   A. I believe that Sally was in the mix at all                     23   Pension Plan - Status Update: April 1, 2009."
24   times.                                                            24   Just, I guess, the date April 1, is that some sort
25   Q. Okay. And underneath, actually, I don't know                   25   of quarterly report that you would do?


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 1   A. I don't think -- I don't think it related to                   1   A. -- and people charging us fees, I would
 2   a specific periodic report.                                       2   think. I think it was time to probably get -- with
 3   Q. The date April 1, 2009, did you know that you                  3   his departure, I think it was, that strengthened my
 4   were going to be leaving by the end of April?                     4   concern of sitting there as a single person.
 5   A. No. No. I was told I was leaving.                              5   Q. Right. It goes on, I guess, along the lines
 6   Q. Okay.                                                          6   you were just testifying. "If this fund/plan is to
 7   A. I did not leave. I was severed or whatever                     7   remain at the 'local' level for the foreseeable
 8   you want to call it. I found out at 4:30 on April                 8   future" -- and I take that to mean former
 9   30th, give or take ten minutes.                                   9   Wheeling-Pitt individuals running the plans?
10   Q. So I was going to say -- so you probably                      10   A. Right. If the team, the committee -- if that
11   didn't give a resignation letter to the retirement               11   plan was going to stay down at the Wheeling area,
12   committee at that point?                                         12   then we should have had representatives from that
13   A. I don't believe I had the opportunity to do                   13   area.
14   so. I was called up to the chairman's office and                 14   Q. And then it goes on -- "then I believe its
15   was let go and escorted out that day.                            15   committee staffing should remain 'local,' to include
16   Q. Wow. Was there a reason for the -- that they                  16   human resources and finance with possible
17   gave you for your separation?                                    17   involvement by SNA" -- what is SNA?
18   A. I think at that point in time, it was a                       18   A. Severstal North America.
19   unique situation where a lot of people were getting              19   Q. Was that the parent group of all the
20   what I'll say termination letters. John, you're                  20   Severstal --
21   going to be let go in three months. You know,                    21   A. That was the parent group of the U.S.
22   there's your date. I was not given a date. I                     22   ownership.
23   was -- I mean, you could have a number of reasons                23   Q. Got you.
24   why you think it would be, but I was unaware that                24   A. Yeah.
25   that action was coming that day. It was a surprise.              25   Q. And then "(Dearborn) legal." Is that where


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 1   Q. Yeah, it sounds like a hell of a surprise.                     1   their headquarters was?
 2   A. Yeah.                                                          2   A. I don't believe there was a local legal at
 3   Q. Did anybody else get the same separation                       3   that point. I can't remember, but -- most of the
 4   treatment that you got?                                           4   corporate Severstal North America facilities were
 5   A. I don't know how many people were maybe at my                  5   there.
 6   level, let's say, or the roles that I did, but I                  6   Q. Okay.
 7   would say I didn't even have time to think about it.              7   A. So there may have been some local like HR,
 8   Because at that point in time when I got called up                8   but I think the legal was based out of Dearborn.
 9   on a Friday, by the time the meeting was over,                    9   Q. And then it goes on, "If it is to be combined
10   Friday afternoon, nobody was back -- left, so I was              10   into a larger, more corporate plan/account, then I
11   escorted back to my office, got to pack up and left.             11   believe its oversight staffing should reflect such."
12   So I don't think I had time to really digest any of              12            Was there any discussion at that point
13   it.                                                              13   about combining or merging plans?
14   Q. Right. I can imagine. So going back to                        14   A. That was probably me projecting like, hey,
15   Paragraph 2, it -- when you say, "I restate the                  15   guys, we need to do something. That was my personal
16   urgent need to reconstitute this committee," had you             16   opinion. I don't think there was any detail behind
17   indicated to individuals before April 1, 2009, that              17   it. That was just me saying we need to do
18   the committee needed to be reconstituted?                        18   something. Dearborn wants to get involved local,
19   A. I think there were a couple of times that we                  19   but we need to do something with Mike's departure.
20   reached out to the Severstal group locally and in                20   Q. And going back up to the first numbered
21   Dearborn. I think that this was a little stronger                21   paragraph that says, "Neuberger Fund Performance."
22   because Mike had recently left and now he was a                  22   It references monthly AON reports from November 2008
23   consultant and so sitting there as a sole                        23   through February 2009 suggests, and it looks as if
24   employee --                                                      24   it goes on to comparing the performance of Neuberger
25   Q. Right.                                                        25   Berman versus other asset groups.


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 1            Do you recall looking at any of these               1   A. I can't say I recall any specific
 2   documents?                                                   2   discussion -- you mean me talking to Ron, you mean?
 3   A. I can't say I remember actually looking at                3   Q. Yeah, talking to Ron or anybody about how to
 4   those documents. I can't say that here today.                4   invest it going forward. Guys, now we've got this
 5   Q. Do you remember in or around April 2009 you               5   all liquidated, it's all in cash, we're ready to
 6   looking or speaking with people about what the, I            6   roll, ready to invest in this, that and the other?
 7   guess, losses, for lack of a better word, that the           7   A. I would say Ron was still on board, and so he
 8   plan had suffered by being invested in the Neuberger         8   still had the full authority to invest as he saw
 9   Berman account?                                              9   fit.
10          MR. JOYCE: Just object, speculation and              10   Q. Was there any discussion at this point of
11   legal conclusion, expert conclusion.                        11   taking legal action against Mr. LaBow?
12   A. Again, I think when you see that the -- the              12           MR. JOYCE: Objection to the extent it
13   ingredients of this, this is again a very simple            13   would reveal any privileged or otherwise protected
14   analysis that said, here are funds that we could            14   information that went back and forth with the
15   have participated in. I received a document that            15   committee's attorneys.
16   shows me the performance of those funds. So I was           16            To the extent you can speak outside of
17   simply comparing what we believe at minimum we could        17   that --
18   have participated in compared to maybe where we were        18   A. Yeah, I mean I thought I had seen something
19   and benchmarking that. It was not a very, you know,         19   where there was something about legal something, but
20   elaborate analysis. It was just trying to compare           20   sitting here today, I can't remember that.
21   funds that we were told that we could have                  21   Q. I think --
22   participated in.                                            22   A. Something I thought I saw a reference to.
23   Q. Got you. On the second page there, the                   23   There was something. Yeah, I think I saw something
24   number 6 paragraph, it refers to Consulting                 24   about the possibility, but I don't remember that
25   Services/ National Economic Research Associates,            25   specifically. It wasn't that long ago.


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 1   Inc. Do you recall anything about that?                      1   Q. How about Exhibit 47?
 2   A. I don't. I don't. That's probably my --                   2   A. Maybe it was.
 3   Mike had dealt a lot with them, and I'm sure that he         3   Q. 47.
 4   probably was authoring that. I just added to it.             4   A. This thing?
 5   Q. The number one underneath paragraph 6 there               5   Q. Yeah, yeah.
 6   says, "Validate the amount of SWI plans' interest in         6   A. I don't think.
 7   the WHX Master Trust as of 10/31/08." Was there any          7   Q. Okay. Maybe I've got the wrong one. I don't
 8   discussion that you had around that time to make             8   see it.
 9   sure what the Cohn report said was accurate in terms         9            Okay. Let me refer you to Exhibit 60.
10   of what the Severstal trusts were due?                      10           (Halpin Deposition Exhibit No. 60 was
11   A. I can't say. I see that on there, but I                  11   marked for identification.)
12   can't tell you why that's there.                            12   Q. Now, I take it you haven't seen this document
13   Q. Just scanning this quickly, and I don't see a            13   because it's dated May 5th, 2009?
14   reference to Mr. LaBow or WPN. You don't see one,           14   A. I was unemployed at that time.
15   do you?                                                     15   Q. And yeah, they weren't copying you on this.
16   A. In terms of?                                             16   A. Yeah.
17   Q. Just a reference to -- I don't see a -- there            17   Q. From Mr. Assetta to Mr. LaBow. It did CC
18   you go, WPN in the sixth paragraph. Okay. At this           18   Mr. DiClemente and Mr. Kittrell.
19   point Mr. LaBow was still working for the retirement        19           (Witness reviews document.)
20   committee; right?                                           20   A. Okay.
21   A. I believe Ron was there through my tenure.               21   Q. Now, Mr. Assetta says he had been briefed
22   Q. Do you know if by this point there had been              22   on -- that second paragraph -- "The new members of
23   any, you know, the Neuberger Berman account had been        23   the Committee have been briefed on the history since
24   liquidated, that there were any discussions about           24   November 2008 of the investment of assets" of the
25   how to invest going forward?                                25   two plans. Let me ask you this: Did you brief any


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 1   of the new members of the committee?                          1   A. I mean, I know the names, but I wouldn't know
 2   A. I did not.                                                 2   if they were part of the committee.
 3   Q. Since this is dated May 5th of 2009, and you               3   Q. Got you.
 4   say April 30th, 2009, is when you were let go, then           4   A. It's nice to know I'm being talked about
 5   a committee was either put together between April             5   after I left; I'm still there. My name is still
 6   30th and May 5th of 2009, or this was in the works            6   there.
 7   already?                                                      7   Q. In that e-mail, the attached letter says,
 8   A. Well, I would have to think that when I was                8   "Prior to sending, I received a call from him," Mr.
 9   gone, there was nobody left. I think at that point            9   LaBow, "as a result of him trying to reach Dennis
10   in time there was probably an immediacy to do                10   Halpin." So at least Mr. LaBow hadn't forgotten
11   something with now no committee members. As long as          11   you. "During a callback discussion, he suggested
12   one is left, they probably -- now that there's none,         12   that he has been attempting to provide an
13   I think they recognized how they had to do                   13   'investment plan' by presenting a particular
14   something.                                                   14   mortgage-type investment to Dennis and Mike."
15   Q. Okay.                                                     15             From your previous testimony, you
16   A. Who knows. They could have known that I was               16   never spoke to Mr. LaBow about this investment. It
17   leaving on April 30th and had other things that they         17   was just Mr. Schwartz from Neuberger?
18   were discussing.                                             18   A. Correct.
19   Q. Right, right. All right. But other than                   19   Q. Did you get any e-mail from Mr. LaBow about
20   that, you're not familiar with the contents in that          20   this mortgage-type investment?
21   letter; right?                                               21   A. I never got a follow-up from him. I know
22   A. No, I feel like this is post death, like                  22   that there was an e-mail that Marvin spoke to Ron
23   after -- this is the stuff that was going on.                23   about thinking that we had a great conversation, but
24   Q. All right. Let me refer you then to some                  24   I think I was just, you know, a passive participant
25   other new life documents.                                    25   to that. I did not speak to Ron subsequent to that


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 1          (Halpin Deposition Exhibit No. 61 was                  1   Marvin Schwartz call.
 2   marked for identification.)                                   2   Q. Okay. It goes on further, "He asked" --
 3   Q. So Exhibit 61 is an e-mail from Mel Baggett                3   Mr. LaBow, that is -- "to present it to me and
 4   to Vince Assetta dated May 6th, again, while you              4   discuss. We agreed on 3pm today. After considering
 5   were enjoying starting your new life?                         5   what he presents, I am expecting to inform him that
 6   A. Yeah.                                                      6   this is not a 'complete investment plan' as we are
 7   Q. The e-mail from Mel to Vince said, "We need                7   requesting but at best a specific component of an
 8   an 'investment policy' to guide the work of the               8   investment plan, and to emphasize the details of the
 9   Committee and to protect us fiduciarily. This                 9   attached letter."
10   policy should be developed by Mercer or an                   10            Going back to the -- the e-mail at the
11   independent asset consultant. I will call you to             11   top of the page that I read out before, from
12   discuss."                                                    12   Mr. Baggett to Mr. Assetta about an investment
13           Just as far as background, it's a                    13   policy, to your knowledge, was there an investment
14   one-page document. The e-mail at the bottom of the           14   policy existing at May 6th, 2009?
15   page there is from Mr. Assetta to Drew Landon, James         15           MR. JOYCE: Objection to form.
16   Sullivan, Kathy Bartek, Mel Baggett, Michael Clarke,         16   Speculation. I'd just like to put in a standing
17   Michael DiClemente, Michelle Ivey, Rick Bowness, Tim         17   objection to all documents after May 1st. It's
18   Rogers; CC Steve Kittrell.                                   18   after Mr. Halpin left his employment, the retirement
19           Mr. Kittrell, that's another                         19   committee, and with Severstal, and also after the
20   McGuireWoods attorney that you referenced before?            20   representative dates for liability in this case due
21   A. Yeah, Steve is part of McGuireWoods.                      21   to the Secretary's settlement with the new
22   Q. Do you know if the To line, all those                     22   retirement committee.
23   individuals, if they were the new committee, or              23            But you can answer if you understand.
24   you're not familiar with who is on the new                   24   A. I'm looking at the word "policy." Were there
25   committee?                                                   25   investment guidelines? Yes. Was there a management


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 1   agreement? Yes. When I see someone say "policy," I                 1            I mean, it goes to the Ron LaBow
 2   don't know what Mel was suggesting in that regard.                 2   style. I had one conversation with Marvin Schwartz
 3   But as long as I was there, were there investment                  3   on mortgage- backed securities or mortgages, and
 4   guidelines? Absolutely. Were there investment                      4   that was the extent of discussions with him or Ron.
 5   agreements? Yes.                                                   5   Ron passed me to him.
 6   Q. The way I take, it's the investment                             6   Q. Do you know any reason why Mr. LaBow or
 7   guidelines policy that we talked before that you                   7   Mr. Schwartz were particularly interested in getting
 8   said were, I guess, using the holdover WHX policy?                 8   in mortgage-backed securities?
 9   A. Yes.                                                            9          MR. JOYCE: Objection to form.
10   Q. See if I have the exhibit number here. Here                    10   Speculation.
11   we go. It was -- 52 was the draft from Mercer.                    11   A. I have no clue. But obviously they both
12   Exhibit 53 was the pension plan investment policy.                12   seemed to be interested in it.
13   So your understanding, that was in effect on May                  13   Q. Okay.
14   6th, 2009?                                                        14   A. But if he thought it was that good, he
15   A. I don't know what was in effect May 6th. In                    15   probably could have made the investment. He said he
16   April, it was in effect when I was there. May 6th,                16   could.
17   I can't speak to what was in effect and/or what Mel               17   Q. All right. Let me show you Exhibit 63.
18   was referencing.                                                  18          (Halpin Deposition Exhibit No. 63 was
19   Q. Okay. Exhibit 62, another new life document.                   19   marked for identification.)
20   A. Really.                                                        20          (Discussion held off the record.)
21           (Halpin Deposition Exhibit No. 62 was                     21   Q. So for the record, it looks like an e-mail
22   marked for identification.)                                       22   from Tim Rogers, although it says Posted At --
23   Q. For the record, that's dated May 20, 2009,                     23   Posted To: Inbox, Posted At: Friday, June 5th,
24   from Mr. LaBow to Vince Assetta. Have you ever seen               24   2009. Subject: Neuberger Berman. And it says, To
25   that before?                                                      25   the retirement committee, and it references a call


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 1   A. I have not.                                                     1   from Charlie Monday, and it attaches an e-mail
 2   Q. Take a look at it and let me know when you're                   2   that's a little fuzzy down below from Charlie
 3   done. Just the one page.                                           3   Diccianni, who is at Neuberger. And in the body of
 4           (Witness reviews document.)                                4   that e-mail, it says, "Hi Tim, Thank you very much
 5   A. Okay.                                                           5   for talking to me today. As I mentioned, Neuberger
 6   Q. All right. In the second paragraph,                             6   Berman was an investment manager for WHX. We had
 7   Mr. LaBow says, "For the past 60-90 days I have                    7   begun working with Dennis Halpin to restart as
 8   attempted to convince Dennis Halpin to invest the                  8   investment manager for Severstal with Plan
 9   cash residing at City National into pass-through                   9   documents, IA agreement, etc, when he had departed,
10   mortgages yielding between 12-16% annually."                      10   and I believe there is very little paperwork left to
11            Aside from the conversation with                         11   open the account."
12   Mr. Schwartz, do you recall any other discussions                 12            Do you know today whether the
13   with Mr. LaBow or anybody else about these                        13   agreement with Neuberger Berman to open up the
14   mortgages?                                                        14   account was ever finalized?
15   A. I do not. And I find it interesting that                       15           MR. JOYCE: Object to form.
16   this is dated May 20th and for the past 60 to 90                  16   Speculation. And renew my objection regarding
17   days, so when did he write the thing -- the                       17   post-May 1st documents.
18   transcript? So the transcript was at the end of                   18   A. And can I just make a personal comment? I
19   March.                                                            19   find it offensive to look at something after I was
20   Q. March 23rd.                                                    20   fired. So I would rather not comment on anything
21   A. So at that point in time he's telling me, I'm                  21   that was done after April 30th, unless I have an
22   going to do things, this is what I'm going to do.                 22   obligation to do so. My attitude is they let me go.
23   So I find it odd that he's referencing 60 to 90 days              23   I would rather not comment as a personal feeling on
24   when clearly inside of that window of time he said                24   anything they did.
25   he knew what he was going to do.                                  25   Q. Yeah, that wasn't the question. The question


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 1   is: Do you know whether an agreement with Neuberger        1   I have to answer it, I will, reluctantly. But other
 2   Berman was ever finalized?                                 2   than that, I'm going to make a formal record that I
 3   A. I don't know.                                           3   would rather not talk to anything about somebody who
 4   Q. And I'm doing that with reference to this               4   let me go. Period. Unless you tell me or he tells
 5   document because it appears, as of June 1, 2009, the       5   me.
 6   date of this e-mail, they're saying that they had          6           MR. JOYCE: I'll be the one telling you.
 7   never finalized it with you.                               7   A. It's a very irritating thing to me to talk
 8   A. Do they say that?                                       8   about something -- 20 years with the place. I would
 9   Q. Yeah. As I read, the body says -- and this              9   rather not talk about it.
10   is from Mr. Diccianni to Mr. Rogers -- "As I              10   Q. Let me refer you to Exhibit 64. This one is
11   mentioned, Neuberger Berman was an investment             11   dated, on the second page, January 16th, 2009.
12   manager for WHX. We had begun working with Dennis         12   A. Okay, Old Testament.
13   Halpin to restart" an investment manager -- "as an        13   Q. Take a look at that and let me know if you
14   investment manager for Severstal with Plan                14   recognize this.
15   documents, IA agreement, etc., when he had departed,      15           (Halpin Deposition Exhibit No. 64 was
16   and I believe there is very little paperwork left to      16   marked for identification.)
17   open the account."                                        17   A. I do not.
18   A. Wasn't there like two months ago we asked --           18   Q. The bottom of the first page there under the
19   three months ago -- anything left to do and there         19   heading "Investment Management," number 1 says,
20   was nothing left to do, as my understanding? Two          20   "Address serious breach of fiduciary responsibility
21   months later they're coming back and saying there's       21   by the investment manager of SWI's two defined
22   very little left to do?                                   22   contribution plans."
23   Q. Right.                                                 23            Do you have any -- any recollection of
24   A. I don't even know how to answer that                   24   discussions of that nature about addressing a
25   question.                                                 25   serious breach of fiduciary responsibility by


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 1   Q. I think you did when you say you don't know             1   Mr. LaBow?
 2   whether an agreement with Neuberger Berman was ever        2           MR. JOYCE: Objection. To the extent
 3   finalized while you were there. And let me know if         3   that it would reveal attorney-client privilege or
 4   that's accurate.                                           4   work product information.
 5   A. I don't recall if it was finalized or not.              5            But you can answer --
 6   Having said that, one of those last correspondences        6   A. I'm not even sure who wrote it. It says,
 7   I thought we had several times reached out and said        7   "Selected Outstanding Treasury Projects," so I'm
 8   is there anything left that you need? I don't think        8   assuming somebody from treasury wrote it. It's
 9   it was Diccianni. It was somebody from Neuberger           9   difficult for me to say who wrote that comment.
10   saying, we need a W-9 and something else, okay, got       10   Q. Top of the second page it says, "b.
11   it; well, there's one other thing we forgot. That's       11   Litigation possible; advised Marty in a 40-minute
12   the last correspondence I had seen. So to my              12   conference call in January 15, 2009."
13   knowledge, there was nothing else needed several          13            Do you know who Marty is?
14   months or a couple months before this. I don't get        14   A. Yeah, Marty Szymanski is probably who it is.
15   this.                                                     15   He's a legal counsel up at Dearborn.
16   Q. It seems to me from looking at the documents           16   Q. Okay.
17   that we have today that you never signed -- and let       17   A. But I don't know what that is. I was not in
18   me know if that's accurate -- a fee schedule with         18   the conversation with Marty.
19   Neuberger Berman.                                         19   Q. Paragraph 2 says, "Conduct orientation
20   A. I did not sign a fee schedule with Neuberger           20   meeting with newly constituted Retirement Committee
21   Berman.                                                   21   (once appointed) to advise them of their
22   Q. Okay.                                                  22   responsibilities and inform them of multiple
23   A. And I apologize in advance, everything that            23   outstanding projects outlined below."
24   you bring after April 30th I'm going to take an           24   A. I mean, I don't even know how to respond to
25   extreme opposition to talking about. If he tells me       25   that one.


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 1   Q. Okay. It says, "Meeting targeted for mid-                  1   been assistant treasurer. I don't know what Drew's
 2   February, based on conference call MPD" -- I'm                2   title was. He definitely was in that department.
 3   assuming you?                                                 3   So I would say Michael was certainly in that
 4   A. Not me, Mike DiClemente. I'm assuming, if                  4   department, but he was corporate treasurer. So
 5   Mike's middle name is P.                                      5   there were a number of people in the treasury
 6   Q. I'm starting to get my initials backed --                  6   department.
 7   A. That's okay.                                               7   Q. Okay.
 8          (Witness reviews document.)                            8   A. I mean, I don't know -- I don't know who
 9   Q. Under the Projects, 401(k) Plans, it                       9   would have actually authored this. It doesn't have
10   mentions, "Conduct competitive bid process for new           10   anything on it. I've never seen it before.
11   401(k) service provider. Should we replace Wachovia          11   Q. Okay.
12   for performance?"                                            12           THE WITNESS: Are we down to the last
13            What was Wachovia doing with the                    13   couple?
14   plans?                                                       14           MR. STRAWN: 65 and 66. The last two.
15   A. I'm not sure -- I'm not sure if Wachovia was              15           (Halpin Deposition Exhibit No. 65 was
16   one of the -- there was a couple of our meetings             16   marked for identification.)
17   where we had put some people on a watch, or Mercer           17           (Witness reviews document.)
18   had put them on a watch and we were looking to see           18   Q. So have you ever seen Exhibit 65 before?
19   possible replacements. Wachovia doesn't ring a bell          19   A. I don't recall seeing this, no.
20   to me. But I know we had, as part of our, you know,          20   Q. Okay. It's titled, "Chronology of Key
21   quarterly oversight process that if Mercer had put           21   Activities Separation of Assets from the WHX Trust
22   somebody on a watch or Michael thought there had             22   to Separate Successor Trusts for WHX and SWI."
23   been some performance question based on some sort of         23   A. Yeah, I can't say I remember seeing this.
24   a trend, that he would put them on a watch, and then         24   Q. Okay.
25   there would be some discussions and benchmark off of         25           (Witness reviews document.)


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 1   Mercer and say why don't you have them on a watch.            1   Q. Looking like the last entry there is January
 2   We think that their performance has been                      2   26, 2009.
 3   substandard, and discussions would go on.                     3   A. Yeah, I see that.
 4             But Wachovia doesn't sound familiar to              4   Q. Just looking at the second page, the entry
 5   me. There was a John Hancock fund. There was a                5   for December 17th, '08, to December 24th, 2008. It
 6   couple other funds, but I don't remember that name.           6   says people, and the second column there, Mercer.
 7   It's possible. Again, I don't even know who wrote             7   "MPD asked Mercer for assistance on 12-17-08. They
 8   this.                                                         8   estimated that our proportionate share of the NB
 9   Q. Right, right. Little further down, b.,                     9   account was valued at about $5 million; and
10   Defined Contribution Plans, II says, "Develop                10   indicated that the median fee for that size account
11   Investment Policy." Do you know whether there was            11   was about 73 bp."
12   work on an investment policy at that time?                   12           Do you know what "73 bp" is?
13   A. Again, some of this stuff that's written here             13   A. Basis points.
14   I'm a little bit confused at, so I'm going to say as         14   Q. Oh, right.
15   they're writing in stuff, I'm not even sure what it          15   A. I don't know if that's high or low, but I
16   means.                                                       16   know BP is probably basis points.
17   Q. Just looking for your help to understand it.              17   Q. I got you. So MPD was Mr. DiClemente?
18   When it says on the first page "treasury projects,"          18          MR. JOYCE: Just object to form.
19   who -- Mr. DiClemente was a treasurer. Is that               19   Speculation. I think he testified he's never seen
20   correct? That was his title?                                 20   this document.
21   A. He was the treasurer. There was Drew Landon.              21   A. Yeah, I've never seen it, and I don't know
22   He was in the treasury department.                           22   what Mike's middle initial is.
23   Q. Treasurer and treasury are two separate                   23   Q. It sounds like somebody is talking to Mercer
24   departments?                                                 24   about having a disproportionate share of the
25   A. Mike's treasurer. I mean, Drew could have                 25   Neuberger Berman account before December 30th.


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 1   A. We would certainly agree that we had a                    1   Q. All right. Were you part of any discussions
 2   disproportionate share of that account.                      2   that involved what's on this document? It's got
 3   Q. Right. Further down it says, "MPD received                3   Capital Defense, Mason Capital Management, Neuberger
 4   an e-mail from Mercer advising that she spoke with           4   Berman and something else, contribution/distribution
 5   LaBow." So is that not the appropriate pronoun for           5   (cash), if I'm getting those abbreviations right.
 6   Mr. DiClemente?                                              6   A. I mean, again, I can't say I know anything
 7           MR. JOYCE: Objection to form.                        7   about this particular thing other than the fact that
 8   Speculation. Again, he hasn't seen it. He doesn't            8   they continued to reference two large accounts, I
 9   know Mike's middle initial.                                  9   would think, that were always in the mix of
10            To the extent you can answer without               10   potential allocation opportunities. So when I see
11   speculating.                                                11   those three accounts, I'm assuming that it's some
12   A. You mean "she" is Mike? She would be                     12   analysis of accounts that we could have participated
13   Michael? Is that what you're saying?                        13   in. Based on his own words.
14   Q. I'm saying the pronoun doesn't seem to go                14   Q. Got you. "His" being Mr. LaBow?
15   along with the initials for MPD if it's Michael.            15   A. Yeah. But I don't know what -- I don't know
16   A. Yeah, I didn't pick up on that. I see what               16   what their specific intention of this thing was.
17   you're saying. It's odd if it was MPD, then it              17   Q. Toward the bottom of the first page, I see in
18   would have said something different. But she, you           18   the block there, "this % thru 2/17." I'm just
19   think they would identify who she was. I don't              19   guessing that that would have been around 2/17/2009,
20   know.                                                       20   but I don't know.
21   Q. Yeah. The mystery deepens.                               21   A. Yeah, I don't know what that is.
22   A. It's an odd reference, she.                              22   Q. Okay. All right. Let me just do a few
23   Q. All right. Let me show you what we can mark              23   questions cleaning up.
24   as the last document, 66. That's double sided.              24   A. Sure.
25           (Halpin Deposition Exhibit No. 66 was               25   Q. Do you know if Mr. LaBow was investigated by


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 1   marked for identification.)                                  1   any governmental organization?
 2   Q. Take a look at it and let me know if you've               2   A. I would not know that. I don't know if he
 3   ever seen this before.                                       3   was investigated.
 4          (Witness reviews document.)                           4           THE WITNESS: Can I leave that with you?
 5   A. I can't say I recall the document.                        5   Q. In this period of time between June 2008
 6   Q. It says at the top on the first page, "Delta              6   through the end of April 2009, were there any things
 7   Analysis: SWI Proposed vs. WPN." What's a delta              7   going on with regard to the corporation, merger,
 8   analysis?                                                    8   spinoff, anything else that was going on for the
 9          MR. JOYCE: Objection. Form.                           9   employer sponsor of the plans?
10   Speculation. To the extent it's asking for his              10   A. Threw me off with that last piece. Can you
11   expert opinion. I think he also testified he's              11   ask that again.
12   never seen the document.                                    12   Q. Yeah, from June 2008 when there was first
13   A. I don't remember. I wouldn't -- delta, I'm               13   discussion about separating the trusts, until you
14   not sure exactly what that means. Change, I don't           14   left April 30th, 2009?
15   know.                                                       15   A. 30th.
16   Q. Underneath that it's got a little, I don't               16   Q. Was there a merger going on with regard to
17   know, document identification. It says                      17   Severstal Wheeling-Pitt?
18   C:\Retirement                                               18   A. There was a merger in 2008 sometime -- I
19   Committee\Reset_analysis_Sally.xls]$due.                    19   can't remember exactly when it was -- where
20   A. Yeah, that's weird. I don't know how that                20   Severstal had acquired us. But I don't know when in
21   works outside of XLS.                                       21   2008. It wasn't the fourth quarter, it was sometime
22   Q. I guess it doesn't have something identifying            22   before that, but I don't know what month it was.
23   McGuireWoods, but when I saw Sally, I was just              23   Q. Okay. Just ask you about what service
24   wondering if that had nothing do with Ms. King.             24   providers you had at the retirement committee. You
25   A. I don't know.                                            25   testified to McGuireWoods, your attorneys; you


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September 27, 2017                                                                                  WPN Corporation, and et al.
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 1   mentioned Mercer; Mr. LaBow; I guess the trustees,            1   Q. What did he tell you?
 2   Citibank and National City or Allegiant. Any other            2   A. I don't remember specifically what they were.
 3   service providers you retained at the -- as the               3   I do remember him making a comment about that. My
 4   retirement committee?                                         4   thing is, you tell us what the hurdle is, we'll
 5   A. I'm not aware of any. To the degree that                   5   solve the hurdle. If you don't tell us what it is,
 6   Michael DiClemente as a consultant would be one, I            6   we don't believe there is a hurdle.
 7   would say that's possible, but I don't know of any            7   Q. So you don't recall any conversations with
 8   other names or firms.                                         8   Mr. LaBow where he says, you've got to the tell the
 9   Q. Okay. At any point in this process, did you                9   trustee I've got authority to make trades?
10   ask Mr. LaBow whether he had fiduciary liability             10   A. I don't remember a conversation with him on
11   insurance?                                                   11   that.
12   A. I don't -- I don't specifically remember or               12   Q. Okay. Did Mr. LaBow ever complain that it
13   recall asking him that question.                             13   took too long to get a decision from the committee
14   Q. Do you know if that was ever discussed at any             14   on anything in particular?
15   point in this whole process from June of 2008                15   A. I'm not sure what decision he would have
16   through April of 2009?                                       16   looked for us to give. I mean, if it was an
17   A. I can't say that I recall that conversation.              17   investment decision -- I mean, he had asked us
18           THE WITNESS: He's better than he                     18   several times for guidance. Every time he asked us
19   thought.                                                     19   that, we went back to him and said that's your
20           (Discussion held off the record.)                    20   bailiwick, that's what you do. So I don't remember
21   Q. Just a couple quickies, Mr. Halpin. Did the               21   him ever saying that he -- we were taking too long
22   trustee at Citibank or National City ever ask you            22   on something.
23   for a copy of the investment management agreement            23   Q. Your drafting the investment management
24   with Mr. LaBow?                                              24   agreement, did that ever come up, or you weren't
25   A. Did who ask me?                                           25   intimately involved in that?


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 1   Q. The trustee, Citibank or their successor,                  1   A. I wasn't intimately involved with it before
 2   National City, Allegiant, did they ever ask you for           2   December 30th. Again, I think that the
 3   a copy of the investment management agreement with            3   understanding was that there was an investment
 4   Mr. LaBow? You know, what was --                              4   management agreement, signing it at that point in
 5   A. I don't recall either one asking. They                     5   time was more of a formality of the understanding of
 6   didn't ask me.                                                6   the practice that we had. I don't remember him ever
 7   Q. There was never any discussion about what                  7   complaining about the date or the signing of it.
 8   authorities Mr. LaBow had, from the trustee?                  8   Q. Okay.
 9   A. I don't recall any discussion about that.                  9           MR. STRAWN: Mr. Halpin, I've run out of
10   Q. Did Mr. DiClemente ever discuss that with                 10   questions. Hopefully, Mr. Joyce has a few questions
11   you, the trustee?                                            11   for you.
12   A. I don't recall him discussing that issue with             12           THE WITNESS: Does he really?
13   me, no.                                                      13           MR. JOYCE: I have no questions.
14   Q. And I think you made some reference earlier               14           (Discussion held off the record.)
15   about did Mr. LaBow ever say that he didn't have the         15           THE WITNESS: I hope I didn't get too
16   authority to carry out what he needed under the              16   intense there, anything after April 30th, it's an
17   agreement?                                                   17   issue for me.
18   A. I don't remember saying that specifically.                18           MR. STRAWN: Okay. Thank you very much
19   Q. Just tell me what your understanding is.                  19   for your patience, Mr. Halpin, both before and after
20   A. I think at some point in time Ron said that,              20   April 30th, 2009.
21   you know, there were some sort of hurdles that               21            I assume you want to read and sign.
22   didn't allow him to do what he thought he could do.          22           MR. JOYCE: We'll read, and mini e-mail
23   I'm like, what are they, Ron? Tell me what they              23   is perfect.
24   are. You tell me what they are and we'll solve               24           MR. STRAWN: I'll find out from my
25   them.                                                        25   procurement officer what I do about the transcript.


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R. Alexander Acosta, et al. vs.                                                                           Dennis Halpin
WPN Corporation, and et al.                                                                          September 27, 2017
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                                                                 1               DEPOSITION ERRATA SHEET
 1         (Signature not waived.)
                                                                 2   Page No.___ Line No.___ Change___________________
 2         (Whereupon, the above-entitled matter                                             To ______________________
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 3   was concluded at 4:44 p.m.)
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                                                                     SIGNATURE:___________________________DATE:_______
23                                                              23                 DENNIS HALPIN
24                                                              24   NOTARY SIGNATURE:____________________DATE:_______
                                                                     My Commission Expires:_______________
25                                                              25

                                                     Page 242                                                  Page 244
 1                   DEPOSITION ERRATA SHEET               1         COMMONWEALTH OF PENNSYLVANIA)
                                                                     COUNTY OF ALLEGHENY         )
 2     Case Caption:                                       2
       ACOSTA
 3              vs.                                        3                   I, Constance Lee, Registered
       WPN CORPORATION, et al.                                       Professional Reporter and Notary Public in and for
 4                                                         4         the Commonwealth of Pennsylvania, do hereby
       Case No. 2:14-cv-01494-NBF                                    certify that the witness was by me first duly
 5                                                         5         sworn to testify the truth, the whole truth, and
                                                                     nothing but the truth; that the foregoing
 6              DECLARATION UNDER PENALTY OF PERJURY       6         deposition was taken at the time and place stated
                                                                     herein; and that the said deposition was recorded
 7                I declare under penalty of perjury       7         stenographically by me and then reduced to
       that I have read the entire transcript of my                  typewriting under my direction, and constitutes a
 8     deposition taken in the above-captioned matter or   8         true record of the testimony given by said
       the same has been read to me, and the same is true            witness, all to the best of my skill and ability.
 9     and accurate, save and except for changes and/or    9
       corrections, if any, as indicated by me on the                          I further certify that the inspection,
10     DEPOSITION ERRATA SHEET hereof, with the           10         reading and signing of said deposition were not
       understanding that I offer these changes as if                waived by counsel for the respective parties and
11     still under oath.                                  11         by the witness and if after 30 days the transcript
                                                                     has not been signed by said witness that the
12                                                        12         witness received notification and has failed to
       Signed on the _____ day of _______________, 2017.             respond and the deposition may then be used as
13                                                        13         though signed.
14                   _____________________________        14                   I further certify that I am not a
                          DENNIS HALPIN                              relative, or employee of either counsel, and that
15                                                        15         I am in no way interested, directly or indirectly,
                                                                     in this action.
16                                                        16
                                                                              IN WITNESS WHEREOF, I have hereunto set
17                                                        17         my hand and affixed my seal of office this 13th
                                                                     day of October, 2017.
18                                                        18
19                                                        19
20                                                        20
21                                                        21                  _____________________________
22                                                        22                  Constance Lee, RPR, CSR(IL)
                                                                              NCRA Realtime Systems Administrator
23                                                        23
24                                                        24
25                                                        25


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